3:21-cv-03302-MGL-TJH-RMG   Date Filed 04/29/22   Entry Number 249-1   Page 1 of 271




               Exhibit A
3:21-cv-03302-MGL-TJH-RMG   Date Filed 04/29/22   Entry Number 249-1   Page 2 of 271




                                                                       Page 1

  1                         UNITED STATES DISTRICT COURT

  2                     FOR THE DISTRICT OF SOUTH CAROLINA

  3                              COLUMBIA DIVISION

  4      - - - - - - - - - - - - - - - +

  5      THE SOUTH CAROLINA STATE CONFERENCE

  6      OF THE NAACP, et al.

  7                   Plaintiffs                           Case No.

  8      V.                                                3:21-CV-03302-JMC-

  9      THOMAS C. ALEXANDER       et al.                  TJH-RMG

 10                   Defendants

 11      - - - - - - - - - - - - - - - +

 12

 13              VIDEOCONFERENCE DEPOSITION OF WALLACE H. JORDAN

 14                           Columbia, South Carolina

 15                           Wednesday, April 13, 2022

 16                                     10:03 a.m.

 17

 18

 19

 20

 21      Reported by:    Danielle E. Lawrence




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                                                                        Page 2

  1                  The videoconference deposition of

  2      WALLACE H. JORDAN, was held in:

  3

  4                  Columbia, South Carolina

  5

  6

  7

  8

  9

 10

 11

 12

 13             Pursuant to notice, telephonically before

 14      Danielle Lawrence, Shorthand Reporter and Notary Public

 15      in and for the State of Maryland.

 16

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3:21-cv-03302-MGL-TJH-RMG    Date Filed 04/29/22   Entry Number 249-1   Page 4 of 271




                                                                        Page 3

  1                               A P P E A R A N C E S

  2            ON BEHALF OF PLAINTIFFS:

  3                  JOHN S. CUSICK, ESQUIRE (via video)

  4                  ANTONIO INGRAM, ESQUIRE (via audio)

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  7                  New York, New York

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 10

 11          ON BEHALF OF DEFENDANTS:

 12              JENNIFER HOLLINGSWORTH, ESQUIRE (via video)

 13              ERICA WELLS, ESQUIRE (via audio)

 14              Nexsen Pruett, LLC

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 16              Columbia, South Carolina 29201

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 18              jhollingsworth@nexsenpruet.com

 19

 20

 21




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                                                                       Page 4

  1                           A P P E A R A N C E S (cont.)

  2            ON BEHALF OF DEFENDANTS:

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 10            ON BEHALF OF DEFENDANTS:

 11                  ROB TYSON, ESQUIRE (via audio)

 12                  Robinson Gray Stepp & Laffitte, LLC

 13                  1310 Gadsden Street

 14                  Columbia, South Carolina 29201

 15                  Telephone: (803) 231-7838

 16                  rtyson@robinsongray.com

 17

 18          VIDEOGRAPHER:       Eliza Spikes

 19

 20          ALSO PRESENT:       J. Lucas

 21




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3:21-cv-03302-MGL-TJH-RMG    Date Filed 04/29/22   Entry Number 249-1   Page 6 of 271




                                                                        Page 5

  1                                 C O N T E N T S

  2        EXAMINATION OF WALLACE H. JORDAN                             PAGE

  3          By Mr. Cusick                                               7

  4

  5                                E X H I B I T S

  6                        (Attached to the transcript.)

  7        WALLACE H. JORDAN                                             PAGE

  8          Exhibit 1       House Defendants Responses to                   47

  9                      Plaintiffs 1st Request for Documents

 10          Exhibit 2        House Defendants Responses to                  48

 11                           Plaintiffs Interrogatories

 12          Exhibit 3        8-3-21 Meeting Proceedings                     72

 13          Exhibit 4        8-3-21 Guideline & Criteria                    82

 14          Exhibit 5        Duty to Comply in                              124

 15                           S.C. Redistricting Process

 16          Exhibit 6        8-30-21 Follow-up Recommendations              124

 17                           In S.C. Redistricting Process

 18          Exhibit 7        9-27-21 Follow-up Recommendations              125

 19                           In S.C. Redistricting Process

 20          Exhibit 8        10-8-21 Submitting Proposed                    126

 21                           Congressional and House Maps




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3:21-cv-03302-MGL-TJH-RMG   Date Filed 04/29/22   Entry Number 249-1   Page 7 of 271




                                                                       Page 6

  1                          E X H I B I T S (cont.)

  2                      (Attached to the transcript.)

  3         WALLACE H. JORDAN                                                PAGE

  4         Exhibit 9       2021 Redistricting Map Room                      138

  5                         Policies and Procedures

  6         Exhibit 10      2021 Working Draft Website Page                  152

  7         Exhibit 11      11-10-21 Hearing Transcript                      154

  8         Exhibit 12      11-16-21 Transcript of                           194

  9                         Ad Hoc Committee

 10         Exhibit 13      11-16-21 Transcript of                           198

 11                         House Judiciary Committee

 12         Exhibit 14      12-2-21 House of Representatives                 205

 13                         Hearing

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3:21-cv-03302-MGL-TJH-RMG     Date Filed 04/29/22      Entry Number 249-1    Page 8 of 271




                                                                            Page 7

  1                             P R O C E E D I N G S

  2                  VIDEOGRAPHER:     Good morning.            We're going on the

  3      video record at 10:03 a.m. on Wednesday,

  4      April 13, 2022.      This is media unit number 1 in the

  5      video-recorded deposition of Mr. Wallace H. Jordan,

  6      taken by counsel for Plaintiffs in the matter of the

  7      South Carolina State Conference of the NAACP, et al.,

  8      versus Alexander C. Thomas, et al., filed in the United

  9      States District Court for the District of South

 10      Carolina, Columbia Division.             Case number 3:21-CV-03302.

 11                  This deposition is being held via Zoom.                My

 12      name's Eliza Spikes from the firm Veritext, and I'm the

 13      videographer.      The court reporter today is

 14      Ms. Danielle Lawrence, also from Veritext.                   I am not

 15      authorized to administer the oath.                I am not related to

 16      any party in this action, nor am I financially

 17      interested in the outcome.            Counsel and all present in

 18      the room and anyone attending remotely will now state

 19      their appearances and affiliations for the record.                      If

 20      there are any objections to this proceeding, please

 21      state them at the time of your appearance, beginning




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3:21-cv-03302-MGL-TJH-RMG     Date Filed 04/29/22      Entry Number 249-1   Page 9 of 271




                                                                            Page 8

  1      with the noticing attorney.

  2                  MR. CUSICK:     Good morning, my name is

  3      John Cusick.      I am with the NAACP Legal Defense and

  4      Educational Fund on behalf of Plaintiffs, and I'm joined

  5      by my colleague at LDF, Antonio Ingram, who also is on

  6      behalf of Plaintiffs.

  7                  MR. TYSON:    Good morning, I'm Rob Tyson.             I'm

  8      here today on behalf of the Senate, Defendants.

  9                  MR. BURCHSTEAD:      Michael Burchstead on behalf of

 10      the State Election Commission.

 11                  MS. HOLLINGSWORTH:        This is Jennifer

 12      Hollingsworth and with me is Erica Wells.                 We're here on

 13      behalf of the House Defendants representing -- this

 14      morning here in this deposition -- Representative

 15      Jordan.      And also with us appearing and defending is

 16      Speaker Jay Lucas, a party in this case.

 17                  VIDEOGRAPHER:     Thank you.         Will the court

 18      reporter please swear in the witness.

 19                  Having been duly sworn, WALLACE H. JORDAN,

 20      testifies as follows:

 21                  EXAMINATION BY COUNSEL FOR PLAINTIFFS




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                                                                              Page 9

   1      BY MR. CUSICK:

   2      Q.          Good morning, Representative Jordan.               As we just

   3      went around the room, my name is John Cusick, and I'm

   4      one of the Plaintiffs' attorneys in this action.                     For

   5      today's deposition, we'll begin by going over a few

   6      basic ground rules so that you and I are on the same

   7      page, and if you have any questions we can talk about

   8      those before we begin.           As you've just heard, you're

   9      testifying under oath, which means you're testifying

  10      with the same duty to answer questions truthfully as

  11      though you were before a judge in a courtroom.                     Do you

  12      understand?

  13      A.          I do.

  14      Q.          A court reporter, Ms. Lawrence, is transcribing

  15      this deposition, and with that in mind, if you could

  16      please answer questions audibly or clearly and try to

  17      refrain from head nodding or shaking.                   Let me know if

  18      you don't understand a question or need me to repeat

  19      part of it.         As Mr. Tyson knows, I've been known in

  20      these depositions -- I might not phrase something

  21      clearly, so feel free to ask me for clarification, but




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3:21-cv-03302-MGL-TJH-RMG         Date Filed 04/29/22   Entry Number 249-1   Page 11 of 271




                                                                             Page 10

   1      if I ask a question and you begin answering it, I'll

   2      assume that you understood that question.                 Does that

   3      work for you, Representative Jordan?

   4      A.          Yes, sir.

   5      Q.          And you might hear -- the primary people talking

   6      today will be you and me, potentially the court reporter

   7      and the videographer, who may ask questions.                  And you

   8      might hear your counsel, Ms. Hollingsworth, object to a

   9      question.      If so, the objection will be noted by the

  10      court reporter, Ms. Lawrence, but you must still provide

  11      an answer unless Ms. Hollingsworth instructs you not to.

  12      Do you understand?

  13      A.          I do.

  14      Q.          Is there any reason why you're unable to

  15      understand or answer any questions today?

  16      A.          I don't believe so.

  17      Q.          If at any time you'd like to take a break, just

  18      let us know.        The only thing I'd ask is that if we're in

  19      the middle of a question or you're answering, if we

  20      could just finish that question before going on break,

  21      if that works?




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3:21-cv-03302-MGL-TJH-RMG       Date Filed 04/29/22    Entry Number 249-1   Page 12 of 271




                                                                            Page 11

   1      A.           That's fine.

   2      Q.           Who are you represented by today,

   3      Representative Jordan?

   4      A.           Jennifer Hollingsworth of Nexsen Pruet.

   5                   COURT REPORTER:     I'm sorry, there's maybe a

   6      little echo.       I didn't understood what you said after

   7      her name, I apologize.

   8                   THE WITNESS:    Of Nexsen Pruet.

   9                   COURT REPORTER:     Thanks.

  10      BY MR. CUSICK:

  11      Q.           And in addition to Nexsen Pruet, and without

  12      going into any content of the discussions, have you

  13      sought legal advice from any other attorneys about this

  14      case?

  15      A.           I suppose I would put House attorneys, attorneys

  16      for the South Carolina House of Representatives, on that

  17      list.       Actually, Dennis and Ms. Dean -- is technically

  18      attorney for the -- attorney of the House.                I would at

  19      least list those two individuals as counsel.

  20                   COURT REPORTER:     I apologize again.         Is there

  21      any way we could put the speaker closer to him, because




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3:21-cv-03302-MGL-TJH-RMG      Date Filed 04/29/22   Entry Number 249-1    Page 13 of 271




                                                                          Page 12

   1      I'm having a hard time understanding him?

   2                  MS. HOLLINGSWORTH:      Not at the moment, but let

   3      me just try to turn things up a little and see if that

   4      helps, and if it doesn't, I'll get someone in here to

   5      get us an additional speaker.

   6                  COURT REPORTER:    You can continue.

   7      BY MR. CUSICK:

   8      Q.          Just so I think I heard you right, you said

   9      Mr. Dennis and Ms. Dean were the other two counsel that

  10      you have received advice from regarding this case?

  11      A.          Yes, I believe that's correct.

  12      Q.          And do you remember when you retained

  13      Nexsen Pruet for purposes of this litigation?

  14      A.          My first meeting with Nexsen Pruet was, if I

  15      remember correctly, in the spring or summer of 2021.                  I

  16      wasn't responsible for retaining Nexsen Pruet.                  That was

  17      just my first interaction.

  18      Q.          And without going into the content of any of

  19      those discussions, were they retained for the purpose of

  20      redistricting or, I guess, what was the purpose of the

  21      retention for that?




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3:21-cv-03302-MGL-TJH-RMG      Date Filed 04/29/22   Entry Number 249-1   Page 14 of 271




                                                                          Page 13

   1      A.          To assist in the process of redistricting.

   2      Q.          And this might be some repeat answers, but in

   3      addition to Nexsen Pruet, before the scope of this

   4      litigation and without going into the content, did you

   5      seek any legal advice from attorneys about redistricting

   6      in South Carolina?

   7      A.          I did not.

   8      Q.          I don't see anything in front of you,

   9      Representative Jordan, but I just have to ask the

  10      question, did you bring any materials with you today?

  11      A.          I did not.

  12      Q.          And now I want to talk just a little bit about

  13      how you prepared for today's deposition, what did you

  14      do?

  15      A.          I believe I had at least a couple of meetings

  16      with counsel.

  17      Q.          Do you remember when those meetings were?

  18      A.          One was earlier this week, and one was within

  19      the last several weeks.        I also tried to refresh my

  20      memory by looking back at various pleadings related to

  21      the case just so I could hopefully be -- provide the




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3:21-cv-03302-MGL-TJH-RMG       Date Filed 04/29/22   Entry Number 249-1   Page 15 of 271




                                                                           Page 14

   1      information you're asking.

   2      Q.          And, again, without going into the substance of

   3      any conversations, who was in the room with you for

   4      those conversations?

   5      A.          The first time, I believe, it was

   6      Ms. Hollingsworth.        The second time, I believe it was

   7      Ms. Hollingsworth, Mr. Moore.             I believe Mr. Dennis was

   8      in and out of the room.

   9      Q.          And aside from those three, were there any

  10      non-attorneys in the room?

  11      A.          I don't believe so.

  12      Q.          And did you discuss today's deposition with

  13      anyone else besides your counsel in this case?

  14      A.          I let my office know I was having my deposition

  15      taken, but I did not discuss the nuts and bolts of it.

  16      Q.          Yep.   I know you mentioned you reviewed some of

  17      those documents in preparation for today.               Do you recall

  18      generally what those might have been for pleadings in

  19      this case?

  20      A.          Various pleadings.       I think the complaint and

  21      the answer, some discovery documents, things of that




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3:21-cv-03302-MGL-TJH-RMG      Date Filed 04/29/22   Entry Number 249-1   Page 16 of 271




                                                                          Page 15

   1      nature.

   2      Q.          Are you aware that Representative Brawley has

   3      been deposed in this case?

   4      A.          I am.

   5      Q.          Did you review any portion of her transcript,

   6      her deposition transcript?

   7      A.          I did not.

   8      Q.          Outside of your conversations with counsel and

   9      the pleadings and documents reviewed, is there anything

  10      else you did to prepare for today's deposition?

  11      A.          I don't believe so.

  12      Q.          And now I want to turn a little bit to preview

  13      just the lawsuit itself.         Representative Jordan, what's

  14      your understanding of this lawsuit?

  15      A.          The lawsuit was brought disputing the underlying

  16      action of redistricting.

  17      Q.          Do you understand what types of claims are being

  18      brought by Plaintiffs?

  19      A.          Yes -- well, I've read the claims, yes.

  20      Understand is a moving target sometimes.

  21      Q.          And how would you describe your understanding of




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                                                                          Page 16

   1      the claims brought?

   2      A.          I think the broadest term would be to say I

   3      dispute the legality and the process as well as the

   4      product.

   5      Q.          Are you aware -- my apologies.           Go ahead.

   6      A.          I was just going to say how we arrived, I

   7      believe, in the process of the lawsuit disputes, the --

   8      again, the underlying process by which we arrived at the

   9      necessary legislation and then the lividity or legality

  10      of the legislation itself.

  11      Q.          Is it your understanding that the lawsuit

  12      challenges all of the House districts or certain

  13      portions that were adopted in House Bill 4493?

  14      A.          I believe it's just a portion of the districts.

  15      Q.          And have you interacted at all with the South

  16      Carolina State Conference of the NAACP?

  17      A.          When you say interacted, what do you mean by

  18      that?

  19      Q.          Have you interacted with any members before in

  20      any of your work as a legislator?

  21      A.          Various members have attended different




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3:21-cv-03302-MGL-TJH-RMG         Date Filed 04/29/22   Entry Number 249-1   Page 18 of 271




                                                                             Page 17

   1      subcommittee hearings that I've been in attendance at,

   2      is all.      I would consider that interaction, I suppose.

   3      Q.          And, I guess, outside of the redistricting

   4      hearings, any other interactions with either local

   5      chapters or state conference members in your work as a

   6      legislator?

   7      A.          I can't tell you the specific bill numbers, but

   8      I believe there have been pieces of legislation over my

   9      time in the House in which some representatives from the

  10      organization have come to a hearing and testified or

  11      offered testimony, I believe.               I believe that's

  12      occurred.

  13      Q.          Now, I just have a few more questions before I

  14      get into the meat of today's deposition.                 Have you been

  15      deposed before, Representative Jordan?

  16      A.          One time.

  17      Q.          And was that in your personal or professional

  18      capacity?

  19      A.          Sort of a mix.       It was a -- it dealt with a

  20      business that myself and my father at one time had

  21      invested in that ultimately -- we didn't participate in




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3:21-cv-03302-MGL-TJH-RMG      Date Filed 04/29/22   Entry Number 249-1   Page 19 of 271




                                                                          Page 18

   1      the business.      We were one of many, many, many

   2      investors, and that business, I believe, went into

   3      bankruptcy, and then I testified and I testified on

   4      behalf of the trust.       My father had passed away, and so

   5      it's holding in the trust, and I testified on behalf of

   6      myself as well as that trust in regards to that business

   7      lawsuit.

   8      Q.          I stayed far away from trust and estate and

   9      bankruptcy law, but is that a fair characterization of

  10      what the lawsuit entailed, bankruptcy or trust and

  11      estate?

  12      A.          Well, we were investors in a business that went

  13      into bankruptcy.      Again, we were probably one of, I'm

  14      guessing, 50 to 100 investors that -- that business went

  15      into bankruptcy and then there were many, many, many

  16      depositions, to my understanding, connected to how you

  17      became an investor to what you knew about the business,

  18      et cetera.      That's been several years ago.

  19      Q.          Did you -- did that case go to trial?

  20      A.          No, it did not.

  21      Q.          Have you ever been a party to any lawsuit?




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                                                                         Page 19

   1      A.          I don't believe so.

   2      Q.          And have you ever testified in court before?

   3      A.          I've testified one time, if I can remember,

   4      regarding -- it was in a criminal trial years ago.

   5      Q.          I now want to talk just a little bit more about

   6      your background.        Where were you born,

   7      Representative Jordan?

   8      A.          Florence, South Carolina.

   9      Q.          Is that where you grew up?

 10       A.          That's right.

 11       Q.          Where do you currently live?

 12       A.          Florence.

 13       Q.          Would it be safe to say you've been there your

 14       whole life?

 15       A.          Other than approximately eight years, I'm

 16       guessing, in Charleston, which I -- for college and law

 17       school, yes.

 18       Q.          That gets me to my next question, where did you

 19       go to college?

 20       A.          The College of Charleston.

 21       Q.          And I heard you mention law school, and you're




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3:21-cv-03302-MGL-TJH-RMG      Date Filed 04/29/22    Entry Number 249-1   Page 21 of 271




                                                                           Page 20

   1      in Charleston.      Where did you go to law school?

   2      A.          Charleston School of Law.

   3      Q.          Now, I'll talk a little bit more in a second

   4      about your employment history, but I first want to talk

   5      about your employment as an elected official in the

   6      House of Representatives.          What district do you

   7      represent?

   8      A.          District 63.

   9      Q.          What political party are you a member of?

  10      A.          The Republican Party.

  11      Q.          Representative Jordan, when were you first

  12      elected to represent House District 63?

  13      A.          2015.

  14      Q.          And how many terms have you served in that role?

  15      A.          I am currently in my fourth term.

  16      Q.          Did you have any opposition in, I assume, the

  17      Republican primaries in any of those elections?

  18      A.          My very first run for the House, I had a primary

  19      with two other individuals.

  20      Q.          And do you recall those individuals' names?

  21      A.          Mr. Robby Hill and Mr. Elijah Jones.




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3:21-cv-03302-MGL-TJH-RMG      Date Filed 04/29/22   Entry Number 249-1   Page 22 of 271




                                                                          Page 21

   1      Q.          And do you know if either of those individuals

   2      were candidates of color?

   3      A.          Sorry, please repeat that.

   4      Q.          Were either Mr. Hill -- I don't know -- Elijah,

   5      what was the last name?

   6      A.          Jones.

   7      Q.          Were any of them candidates of color?

   8      A.          They were not.

   9      Q.          And then, so for the other three -- my

  10      apologies.      That was a -- sorry, there's -- I'm sure as

  11      some of you know, there was the shooting yesterday and

  12      we just -- there's some mass alert right now about -- an

  13      emergency alert here with the subways here, so I

  14      apologize for that.       I think I was just asking the

  15      question, if I heard you right, in the other three most

  16      recent elections, would it be fair to say you ran

  17      unopposed in the primary?

  18      A.          That's correct.

  19      Q.          And in the general election, did you face any

  20      opposition in any of those four terms?

  21      A.          Yes, I believe in my second, third, and fourth




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3:21-cv-03302-MGL-TJH-RMG      Date Filed 04/29/22     Entry Number 249-1   Page 23 of 271




                                                                            Page 22

   1      term I believe I had general opposition.

   2      Q.          Do you recall any of the candidates who ran

   3      against you?

   4      A.          I believe the last candidate was

   5      Mr. Isaac Wilson.      Before that -- I see his face but I

   6      can't remember his name.           Those are the two I can sort

   7      of remember, I guess.

   8      Q.          From your recollection, were any of those

   9      candidates in the general election candidates of color?

  10      A.          Mr. Wilson is of color.

  11      Q.          Representative Jordan, what's the current racial

  12      makeup of House District 63 after House Bill 4493

  13      passed?

  14      A.          I believe it's in the 26 -- 25 to -8 percentile,

  15      somewhere in that ballpark.

  16      Q.          And would that be the Black --

  17      A.          Less than 30.

  18      Q.          That's the Black population?

  19      A.          I believe that's correct.

  20      Q.          And was it roughly the same before the enactment

  21      of House Bill 4493?




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3:21-cv-03302-MGL-TJH-RMG       Date Filed 04/29/22    Entry Number 249-1   Page 24 of 271




                                                                            Page 23

   1      A.          I don't believe it changed much at all, if any.

   2      Q.          Are you up for reelection this year?

   3      A.          I am.

   4      Q.          Have you run for any other offices outside of

   5      House District 63?

   6      A.          I have.

   7      Q.          What offices?

   8      A.          In 2012, I ran unsuccessfully for the United

   9      States House of Representatives in the 7th Congressional

  10      District, and then this year, unsuccessfully, for the

  11      South Carolina Senate.

  12      Q.          And what congressional district would that have

  13      been at the time in 2012?

  14      A.          The 7th Congressional District.

  15      Q.          And what's the senate district that you recently

  16      ran for?

  17      A.          Senate District 31.

  18      Q.          That was a special election?

  19      A.          That's correct.

  20      Q.          Did you have any -- well, this is repetitive,

  21      but who was your opponent in the primary?




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3:21-cv-03302-MGL-TJH-RMG      Date Filed 04/29/22   Entry Number 249-1   Page 25 of 271




                                                                          Page 24

   1      A.          Mr. Mike Reichenbach.

   2      Q.          And do you know Mr. Reichenbach's race?

   3      A.          He is African American.

   4      Q.          Representative Jordan, do you hold any

   5      leadership roles in the House?

   6      A.          I am the chairman of the House Ethics Committee.

   7      Q.          Anything within any caucus or other membership?

   8      A.          Nothing within the caucus.          I'm also the

   9      subcommittee chairman of the House Judiciary Election

  10      Law Subcommittee.      So, nothing -- no technical

  11      leadership position within the caucus.

  12      Q.          Have you previously held any other roles or

  13      chairmanships earlier in your time?

  14      A.          No, no chairmanships other than those two.

  15      Well, excuse me, and the committee which brings us here,

  16      chairman of Judiciary and Ad Hoc Committee.

  17      Q.          And we'll talk about that in a moment.

  18      Representative Jordan, what do you consider legislative

  19      priorities for you and your district?

  20      A.          I've always believed in -- sort of the big

  21      things I've always pushed would be infrastructure,




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3:21-cv-03302-MGL-TJH-RMG      Date Filed 04/29/22    Entry Number 249-1   Page 26 of 271




                                                                           Page 25

   1      education, economic development, those kind of things.

   2      That's just some highlights, I mean, it's an

   3      all-encompassing kind of -- priorities have to adapt to

   4      the times and the needs of your community.

   5      Q.          As an elected official, do you have any concerns

   6      about racism in South Carolina?

   7      A.          Certainly I want South Carolina to combat that

   8      at every turn and to be known for a state that's against

   9      it.

  10      Q.          Have you sponsored any legislation to combat

  11      what you understand to be racism in South Carolina?

  12                  MS. HOLLINGSWORTH:       Object to the form.

  13                  THE WITNESS:    Sponsor -- my time in the House, I

  14      tend to see sponsorship as a -- I'd say it's more

  15      important what you vote on than what you sponsor.                  I

  16      don't recall that I've sponsored any particular

  17      legislation that falls in that category.

  18      BY MR. CUSICK:

  19      Q.          I guess, have you voted for any bills that have

  20      combated what you understand to be racism in

  21      South Carolina?




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3:21-cv-03302-MGL-TJH-RMG    Date Filed 04/29/22   Entry Number 249-1    Page 27 of 271




                                                                        Page 26

   1      A.          Recently, the House passed a ACORN legislation

   2      becoming -- that legislation sits over the Senate, if I

   3      remember correctly; I voted in favor of that.

   4      Q.          Any other bills?

   5      A.          My first term in the House, we dealt with the

   6      removal of the Confederate flag from State House

   7      grounds.      I voted in favor of that proposal.               That

   8      certainly was seen by many as a racially charged

   9      situation.

 10       Q.          Why did you vote in favor of removing the

 11       Confederate flag from the State House Capitol?

 12       A.          Many reasons.    We had just experienced in South

 13       Carolina the tremendous tragedy in Charleston of

 14       Emanuel; that really was just an awful time for South

 15       Carolina.      I mean, people were hurting, and for so many

 16       people, having a Confederate flag on the State House

 17       grounds, that didn't do anything to help us turn the

 18       page and ill winds related to that tragedy.                   I'd say

 19       that was at the forefront of my personal decision.

 20       Q.          Representative Jordan, as an elected official,

 21       do you have any concerns about segregated schools in




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3:21-cv-03302-MGL-TJH-RMG      Date Filed 04/29/22   Entry Number 249-1   Page 28 of 271




                                                                          Page 27

   1      South Carolina?

   2      A.          I'd think if you go back, certainly South

   3      Carolina hasn't gotten it perfect in that department

   4      back in history.      But I think -- I certainly think we've

   5      improved in that department over the last few decades,

   6      for sure.

   7      Q.          And even with those improvements, do you still

   8      have any concerns about segregated schools in South

   9      Carolina?

  10      A.          When you say concerns, what do you mean by that?

  11      Q.          As an elected official, have you read or become

  12      aware of concerns voiced by members of the public about

  13      segregated schools?

  14      A.          I have not.

  15      Q.          As an elected official, are there any issues or

  16      have you heard of any issues that disproportionately

  17      impact Black South Carolinians?

  18      A.          I would need -- are you asking me to provide

  19      specifics or are you giving me --

  20      Q.          I'm just asking if you're aware of any or if

  21      there are any that you're concerned about?




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3:21-cv-03302-MGL-TJH-RMG      Date Filed 04/29/22   Entry Number 249-1   Page 29 of 271




                                                                          Page 28

   1      A.          I go back to an answer from prior in the

   2      deposition, I mean, certainly I want South Carolina to

   3      be a great place to live for every person in South

   4      Carolina regardless of race, sex, et cetera.

   5      Q.          Are you aware of any issues that have been

   6      voiced about policies that impact, disproportionally

   7      impact, Black South Carolinians?

   8      A.          I've heard testimony over the last couple years

   9      as South Carolina has engaged in -- at least as the

  10      Judiciary Committee engaged in various pieces of

  11      legislation concerns in various subcommittee hearings.

  12      Q.          And what are some of those concerns?

  13      A.          I remember during our debate of reforming

  14      election laws in South Carolina, some of the concerns

  15      were brought to the attention of the committee.

  16      Q.          I think I heard you say election laws, is that

  17      right?

  18      A.          Yes, that's just a bill that we dealt with or a

  19      piece of legislation we dealt with in the last couple of

  20      years in the House, or at least in the

  21      Judiciary Committee, that I remember that I believe




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3:21-cv-03302-MGL-TJH-RMG      Date Filed 04/29/22   Entry Number 249-1    Page 30 of 271




                                                                          Page 29

   1      there was testimony in that regard.                  I don't remember

   2      the specifics, I just remember, you know.

   3      Q.          And is there anything else outside of that from

   4      your memory?

   5      A.          Again, during the course of a legislative

   6      session, you go through so many different pieces of

   7      legislation, it's hard to pull any particular item out

   8      and say specifics from each one or a particular one.

   9      Q.          Representative Jordan, are you aware of any

  10      history of discrimination against Black South

  11      Carolinians?

  12      A.          In South Carolina's history, yes.              I've taken

  13      South Carolina history and certainly agree it existed in

  14      the past.

  15      Q.          What about in the voting context?

  16      A.          Certainly, if you go far enough back in history,

  17      things such as -- I believe laws existed in the past

  18      that were racially motivated.

  19      Q.          What time periods are you referring to?

  20      A.          Pre-segregation era.

  21      Q.          What do you consider pre-segregation era?




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3:21-cv-03302-MGL-TJH-RMG      Date Filed 04/29/22   Entry Number 249-1   Page 31 of 271




                                                                          Page 30

   1      A.          If you go back to South Carolina, Brown versus

   2      Board of Education, and some of those era issues and

   3      lawsuits.

   4      Q.          And what is your understanding of when those

   5      cases were brought for time period purposes?

   6      A.          That would have been in the -- I guess, in the

   7      1950s and perhaps early '60s.

   8      Q.          And do you have any understanding of a history

   9      of discrimination against South Carolinians in the

  10      voting context after the 1950s?

  11      A.          Again, I should have brushed up on my history

  12      before today, but I don't have it off the top of my head

  13      specifically.

  14      Q.          Are you aware that any of it exists, without

  15      knowing the details?

  16      A.          I'm not aware of any -- I'm not aware of any in

  17      recent history.

  18      Q.          What do you define as recent history?

  19      A.          Since I've been involved in politics.

  20      Q.          So that would be -- would that be when you first

  21      ran in 2012 or since you've been elected in 2015?




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3:21-cv-03302-MGL-TJH-RMG      Date Filed 04/29/22    Entry Number 249-1   Page 32 of 271




                                                                           Page 31

   1      A.          Since -- I wasn't aware of any in 2012 and

   2      nothing forward.

   3      Q.          Does the history of discrimination that we

   4      talked about in the 1950s at all inform how you assess

   5      bills today?

   6      A.          I try and approach every piece of -- every bill,

   7      every piece of legislation as if -- how does it impact

   8      the people of Florence and the people of South Carolina

   9      regardless of, again, race, as well as other such

  10      criteria.

  11      Q.          Does history -- does any history inform your

  12      assessment of bills?

  13                  MS. HOLLINGSWORTH:       Object to the form.

  14                  THE WITNESS:    I mean, certainly history, for

  15      lack of a better description, it's how we got to where

  16      we are, so it affects and impacts how we got here and

  17      where we're going, so to speak, so in that respect, yes.

  18      But specifically talking about legislation, I'd have to

  19      have a specific piece of legislation to tell you if it

  20      impacted and if so, how.

  21      BY MR. CUSICK:




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3:21-cv-03302-MGL-TJH-RMG      Date Filed 04/29/22   Entry Number 249-1   Page 33 of 271




                                                                          Page 32

   1      Q.          In the voting context, do you consider any

   2      history of discrimination?

   3      A.          No, I think the best way to look in the voting

   4      context is, you know, are we providing access to

   5      everyone, and so I suppose it does impact in that

   6      respect, looking back at our history from many, many

   7      years ago.      But I'd say practically and specifically,

   8      we're worried about making sure everyone has the

   9      opportunity to participate in the process.

  10      Q.          When you consider legislation, do you ever

  11      consider its impact on racial minority groups?

  12      A.          I'd say, again, I try and consider it for the

  13      people of Florence and, in the broader picture, the

  14      people of South Carolina, and obviously racial minority

  15      groups are including in those instances so, yes.

  16      Q.          Have you conducted -- I guess, do you have any

  17      examples of times when you've studied or analyzed the

  18      potential impact of a bill on a racial minority group?

  19      A.          Again, if you can provide me a specific piece of

  20      legislation I can tell you with clarity, but reaching

  21      back into the history of four terms in seven years, it's




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3:21-cv-03302-MGL-TJH-RMG         Date Filed 04/29/22   Entry Number 249-1   Page 34 of 271




                                                                             Page 33

   1      a little more difficult.

   2      Q.          Well, I guess, is there any recollection where

   3      you've asked for a study about how a bill might impact a

   4      protected class or a racial minority group?

   5      A.          I don't think during my time in the House I've

   6      asked for a study committee or anything like that, in

   7      any piece of legislation.            I know we routinely do that

   8      and I've, I'm sure, voted for that during the course of,

   9      again, seven years and four terms.

  10      Q.          Is the term racial equity impact assessment, is

  11      that familiar to you?

  12      A.          I've heard that term but not many times.

  13      Q.          Are you aware of any of those reports being

  14      asked for on voting bills that you've considered

  15      recently?

  16      A.          I am not.     That's not to say that it didn't

  17      occur or wasn't, I just don't recall.

  18      Q.          I know you mentioned that for the Black

  19      population within Florence that you represent, when

  20      you're considering bills as your general practice, is

  21      there anything in particular where you seek out input or




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3:21-cv-03302-MGL-TJH-RMG         Date Filed 04/29/22   Entry Number 249-1   Page 35 of 271




                                                                             Page 34

   1      guidance from Black community members on voting bills

   2      within your district?

   3      A.          Most of the time I've found that your

   4      constituents come to you.            You don't have to seek out a

   5      whole lot.      They tend to let their voices be heard

   6      either through phone, in person, or e-mail during the

   7      course of whatever the issue is.                And, yes, I have

   8      received input from all sorts of folks during the course

   9      of my time as representative.

  10      Q.          Have you reviewed any of the expert reports in

  11      this case?

  12      A.          I have not.

  13      Q.          Do you know who Dr. J. David Woodard is?

  14      A.          I do not.

  15      Q.          Do you know who Sean Trende is?

  16      A.          I do not.

  17      Q.          I might know the answer to this, but what about

  18      Thomas Brunell?

  19      A.          I believe I've -- I've never met Mr. Brunell.

  20      I've never talked to Mr. Brunell, but I believe he's the

  21      defense expert.




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3:21-cv-03302-MGL-TJH-RMG    Date Filed 04/29/22   Entry Number 249-1    Page 36 of 271




                                                                        Page 35

   1                  COURT REPORTER:     I'm sorry, he's the what?

   2                  THE WITNESS:     I believe he's the expert for the

   3      defense.

   4      BY MR. CUSICK:

   5      Q.          In your work as a legislator in South Carolina,

   6      are you familiar with the term cultural tradition?

   7      A.          I'm aware of cultural traditions.            I don't know

   8      that I've ever heard it put in the -- I'm aware of

   9      cultural traditions.

 10       Q.          And how would you define cultural tradition?

 11       A.          I think it varies from culture to culture.                  I

 12       can give you an example:          I'm a Baptist and we're going

 13       to have communion.         That, in my mind, is something of a

 14       cultural tradition.         We're going to have that this

 15       evening, it's Holy Week.          So it's just an example in my

 16       mind of a cultural tradition.

 17       Q.          And how do cultural traditions or how did it

 18       impact redistricting, from your perspective?

 19       A.          I'd say that was best seen during the course of

 20       the Ad Hoc Committee public hearing process across the

 21       state, which we had many, many, many South Carolinians




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3:21-cv-03302-MGL-TJH-RMG      Date Filed 04/29/22   Entry Number 249-1   Page 37 of 271




                                                                          Page 36

   1      come forward and testify.         Many testified about

   2      communities of interest, and contained within

   3      communities of interest are cultural traditions, I found

   4      to be the case many times.          So, I'd say it probably best

   5      demonstrated itself in that process.

   6      Q.          And staying within the redistricting context,

   7      what does the term political culture mean for you within

   8      the redistricting context?

   9      A.          Political culture, I would suppose I'd define as

  10      more along the lines of the process of redistricting, of

  11      getting it through the political process of having it

  12      approved by the House and Senate and governor.

  13      Q.          This is my last question on culture.           Is the

  14      term civil culture at all familiar to you in the

  15      redistricting context?

  16      A.          In the redistricting context, I would probably

  17      apply that in terms of, again, connecting it back to

  18      those public hearings of individuals coming and

  19      testifying --

  20      Q.          I don't know if it was just for me.           Did it cut

  21      out at all for anyone else?




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3:21-cv-03302-MGL-TJH-RMG      Date Filed 04/29/22   Entry Number 249-1   Page 38 of 271




                                                                          Page 37

   1      A.          You blinked for a second.

   2      Q.          Can you hear me now?

   3      A.          Yes.

   4      Q.          Representative Jordan, are you familiar with

   5      statements that race and political affiliation are

   6      correlated in South Carolina?

   7      A.          You say statements.       Just the concept, to see

   8      we're connected?

   9      Q.          Yes, race or party or race and political

  10      affiliation.

  11      A.          I've heard that, seen -- you know, every

  12      election season, you see different polls in the

  13      newspapers and things like that, so to that extent, yes.

  14      Q.          What do you understand that to mean, that race

  15      and party are correlated in South Carolina?

  16      A.          That if you were to statistically analyze the

  17      party structure, there's going to be a higher percentage

  18      -- it's going to have a percentage connection to parties

  19      as far as that goes.

  20      Q.          Do you, as an elected official, believe that

  21      race and party are highly correlated in South Carolina?




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3:21-cv-03302-MGL-TJH-RMG      Date Filed 04/29/22   Entry Number 249-1   Page 39 of 271




                                                                          Page 38

   1      A.          You say correlated, I don't think that one

   2      begets the other, but I would say there is a statistical

   3      connection, yes.

   4      Q.          Do you have any understanding why that might be

   5      to the connection you referenced?

   6      A.          I don't think that has changed in my ten years,

   7      so I can't really give you much by way of background as

   8      to -- so, the answer's no.

   9      Q.          Do you know whether the majority of registered

  10      voters in South Carolina are Democrats or Republicans?

  11      A.          I believe the majority of registered voters in

  12      South Carolina are both.

  13      Q.          Do you have any understanding whether White

  14      Democrats in the state tend to vote along party lines?

  15      A.          I do not know the answer to that.

  16      Q.          Do you know what racially polarized voting is?

  17      A.          I've heard the term, but I'm not an expert

  18      enough to give you a textbook definition.

  19      Q.          Is there any way, from what you have heard, how

  20      you would describe it?

  21      A.          It would be pure speculation on my part.




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3:21-cv-03302-MGL-TJH-RMG      Date Filed 04/29/22    Entry Number 249-1   Page 40 of 271




                                                                           Page 39

   1      Q.          If I explained it that Black voters tend to vote

   2      as a block for a particular candidate and White voters

   3      tend to vote as a block for another candidate, would

   4      that at all help you understand the term?

   5      A.          That would make sense, but I'm basing that

   6      partially on your line of questioning as well.

   7      Q.          Fair enough.    So, then, I guess -- I don't know

   8      if you'd be able to answer this question -- but do you

   9      have any reason or basis to believe that racially

  10      polarized voting exists in South Carolina?

  11      A.          Again, if you go back to the statistics I was

  12      referencing a moment ago that I, again, don't have in

  13      front of me, polarized is a big word, but I think you

  14      can legitimately make the connection.

  15      Q.          During the redistricting process, did you ever

  16      seek out, or the Redistricting Committee -- any

  17      assessments of racially polarized voting?

  18      A.          I would say it was important to me and I would

  19      assume leadership, based on the structure of the

  20      committee, that we had a good cross section of the House

  21      Representatives down in South Carolina.               What I mean by




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3:21-cv-03302-MGL-TJH-RMG       Date Filed 04/29/22   Entry Number 249-1   Page 41 of 271




                                                                           Page 40

   1      that is, that it be individuals from different parts of

   2      the state but also different individuals with different

   3      backgrounds.       And then looking at the committee, I would

   4      say it was important that we had voices from all

   5      different aspects of race, sex, geography, political

   6      party.       So in that context, absolutely.

   7      Q.           So, would it be fair to say racially polarized

   8      voting mattered in the composition of the Redistricting

   9      Committee?

  10      A.           Repeat that question.

  11      Q.           Would it be fair to say that racially polarized

  12      voting mattered in terms of the membership or

  13      composition of the Redistricting Committee?

  14      A.           I don't know if I would word it exactly like

  15      that.       I would say that, again, it was important that we

  16      got a broad cross section of people to participate in

  17      the process and having the perspective of, again,

  18      different folks from different geography, party, race,

  19      sex.     All those things were part of that.

  20      Q.           And outside of the points you mentioned about

  21      participation and viewpoint, was there any other basis




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3:21-cv-03302-MGL-TJH-RMG      Date Filed 04/29/22   Entry Number 249-1   Page 42 of 271




                                                                          Page 41

   1      that racially polarized voting mattered to your work on

   2      the Redistricting Committee?

   3      A.          I would also point you back again to the public

   4      hearings across the state, and we heard testimony from

   5      individuals, I believe, from different groups, including

   6      the NAACP, that spoke up on that particular concern and

   7      we listened and -- or at least I listened -- and took

   8      heed that we needed to -- going back to my overarching

   9      idea -- we needed to hear from everyone and take into

  10      consideration what we were told.

  11      Q.          Based on that testimony, do you recall any

  12      requests to conduct a racially polarized voting analysis

  13      from members of the public?

  14      A.          I don't recall, but that doesn't mean that it

  15      didn't happen.      I just don't recall.             Again, that was --

  16      sometime back, now, it definitely factored into the

  17      process, but it was some time back, and it was over ten

  18      different stops across the entire state of South

  19      Carolina.

  20      Q.          And my last line of questions about your

  21      employment that is liking taking you from what you would




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3:21-cv-03302-MGL-TJH-RMG       Date Filed 04/29/22   Entry Number 249-1   Page 43 of 271




                                                                           Page 42

   1      otherwise be doing today, outside of your work as a

   2      House of Representatives member, where else are you

   3      employed?

   4      A.          I'm a solo practitioner attorney in Florence.

   5      Q.          How long have you been a solo practitioner?

   6      A.          I've been on my own for, I'm guessing, 12 years.

   7      Q.          And was there anything before that?

   8      A.          I practiced with another lawyer.           We practiced

   9      together for I think two and a half, three years and

  10      then he left to take a judicial position, so since that

  11      time.

  12      Q.          Are you a member of any community groups in

  13      Florence?

  14      A.          I am.   I'm a member of the Florence Rotary Club,

  15      I'm a member of Florence Baptist Temple, I'm a member of

  16      the Florence Country Club.           I believe that's it.

  17      Q.          Do you sit on any boards of organizations?

  18      A.          Well, let me back up.         You mean in the context

  19      of my position as a representative or just separate from

  20      that?

  21      Q.          I was thinking, I guess, both would be covered.




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3:21-cv-03302-MGL-TJH-RMG      Date Filed 04/29/22   Entry Number 249-1   Page 44 of 271




                                                                          Page 43

   1      I was initially thinking in your personal capacity, but

   2      if you do sit on boards as an elected official outside

   3      of committees then, you know, that would be included in

   4      the question, then.

   5      A.          In my personal capacity, I used to, but since

   6      becoming a representative, that sort of made that a

   7      little more difficult.        In my -- now in my

   8      representative capacity, I'm also a member of the

   9      Indigent Defense Commission here in South Carolina.                 I'm

  10      the Judiciary appointee to that comission.

  11      Q.          You referenced -- what was the organization that

  12      you referenced would be difficult to maintain as an

  13      elected official, where you served?

  14      A.          I was a member of various groups:          Family

  15      Promise of Florence organization that dealt with

  16      homelessness.

  17      Q.          I see on your personal page for the House of

  18      Representatives you list your address; is that right?

  19      A.          Yes.

  20      Q.          Is it common for other members to list their

  21      personal addresses on their web page?




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3:21-cv-03302-MGL-TJH-RMG         Date Filed 04/29/22   Entry Number 249-1   Page 45 of 271




                                                                             Page 44

   1      A.          Well, I don't have that in front of me.                Does

   2      that have my personal address on that?                  I haven't looked

   3      at that in quite some time.

   4      Q.          It might need to be updated, but it's 1338 Lazar

   5      Place?

   6      A.          Yes, that's my personal address.

   7      Q.          Do you know how many other members include their

   8      personal addresses?

   9      A.          I do not.

  10      Q.          I know there were discussions about incumbency

  11      during the redistricting process.                 Was there any attempt

  12      to provide addresses for all 124 current House of

  13      Representatives publicly so that people would know where

  14      to include those addresses in the maps they drew?

  15      A.          I'm not aware of that.

  16      Q.          And I apologize for having to ask this last

  17      question, but now that we're in a social media age, I

  18      think I found your social media account on Twitter.                       Is

  19      that -- what's the handle for that?

  20      A.          So, I know it exists but I couldn't pull it up

  21      or find it if you asked me to.                I believe it's Jordan




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3:21-cv-03302-MGL-TJH-RMG      Date Filed 04/29/22    Entry Number 249-1    Page 46 of 271




                                                                           Page 45

   1      for South Carolina or Jordan for SC, something along

   2      those lines.

   3      Q.          That's the one I found.          Is there any others

   4      outside of that affiliated with you as an elected

   5      official?

   6      A.          I think there's a Facebook page, if I remember

   7      correctly.

   8      Q.          And do you use either of those accounts to

   9      publicize work around redistricting?

  10      A.          I don't recall.     I might have mentioned public

  11      hearings but that's, again, that's pure speculation,

  12      looking back.      I'm not the most technically

  13      sophisticated and that translates into social media.

  14      Q.          Fair enough.    My daughter talks about all these

  15      different apps every day and I feel older each and every

  16      day.    I'll now -- I think we'll finally get to now more

  17      questions directly related to this litigation.                   If

  18      you'll give me a moment, I'm about to try to upload an

  19      exhibit that is titled, House Defendants James H. Lucas,

  20      Chris Murphy, and Wallace H. Jordan's Response to

  21      Plaintiffs' First Request for Production as Plaintiffs'




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3:21-cv-03302-MGL-TJH-RMG      Date Filed 04/29/22     Entry Number 249-1   Page 47 of 271




                                                                            Page 46

   1      Exhibit 1 into Exhibit Share, though I think I might

   2      have --

   3      A.          Well, before we do that, would it be a

   4      reasonable time to take a break?

   5      Q.          Yes, I'll figure it out on Veritext to get those

   6      uploaded and you want to come back at 11:05?

   7      A.          Five minutes, yeah, that's perfect.

   8      Q.          Or if you want 10, it's totally up to you?

   9      A.          No, I've had too much water and coffee.

  10      Q.          Sounds good.     We'll go off the record, then.

  11      A.          Thank you.

  12                  VIDEOGRAPHER:     Off the record at 10:58 a.m.

  13                  (Short recess was taken.)

  14                  VIDEOGRAPHER:     This is the beginning of media

  15      unit number 2.      Back on the video record at 11:08 a.m.

  16      BY MR. CUSICK:

  17      Q.          Representative Jordan, I went ahead and marked

  18      what is titled as House Defendants James H. Lucas, Chris

  19      Murphy, and Wallace H. Jordan's Response to Plaintiffs'

  20      First Request for Production of Documents as Plaintiff

  21      Exhibit 1, which hopefully now should be in front of




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3:21-cv-03302-MGL-TJH-RMG      Date Filed 04/29/22   Entry Number 249-1   Page 48 of 271




                                                                          Page 47

   1      you.    It's the second actual document listed, beginning

   2      with Exhibit 001.      Let me know if you're able to see

   3      that document.

   4      A.          Yes, I have that document in front of me.

   5                  (Exhibit 1 marked for identification and

   6      attached to the transcript.)

   7      Q.          And I'm happy to give you a moment to just look

   8      at it, but I'm wondering if you recognize this document?

   9      A.          I have seen this document before, yes.

  10      Q.          Did you review this document or provide any

  11      input into it, without going into the actual content or

  12      discussion?

  13      A.          I believe to some degree, yes.           Not in depth but

  14      just to a slight degree, yes.

  15      Q.          And I'll just refer to this for shorthand as

  16      Plaintiffs' request for production, if that's okay with

  17      you?

  18      A.          Sure.

  19      Q.          Do you plan at all on supplementing or changing

  20      any of your answers in this document?

  21      A.          Not to my knowledge.




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3:21-cv-03302-MGL-TJH-RMG       Date Filed 04/29/22   Entry Number 249-1   Page 49 of 271




                                                                           Page 48

   1      Q.          Now, I'll do a similar set of questions for what

   2      I've marked as House Defendants James H. Lucas, Chris

   3      Murphy, and Wallace H. Jordan's Response to Plaintiffs'

   4      First Request for Interrogatories, which is marked as

   5      Plaintiffs' Exhibit 2 and is the third document right

   6      now within Exhibit Share.          Let me know if you see that

   7      document and are able to pull it up.

   8      A.          I don't have that document in front of me, but I

   9      think we can access it pretty easily.

  10                  (Exhibit 2 marked for identification and

  11      attached to the transcript.)

  12      Q.          Yeah, you also might need to -- I think in other

  13      depositions -- refresh the screen and it might pop up.

  14      A.          So, yes, I can go back and forth between the two

  15      documents.

  16      Q.          Yes.   And now -- so that Plaintiff Exhibit 2,

  17      which I'll maybe refer to as shorthand as Plaintiffs'

  18      interrogatories -- do you recognize this document?

  19      A.          I do recognize this document.

  20      Q.          And, like I asked before, did you provide any

  21      input into it, again without going into the substance of




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3:21-cv-03302-MGL-TJH-RMG    Date Filed 04/29/22   Entry Number 249-1    Page 50 of 271




                                                                        Page 49

   1      the content of those discussions?

   2      A.          I would say some, yes.

   3      Q.          Do you plan on supplementing or changing any of

   4      these answers or responses?

   5      A.          I do not believe so.

   6      Q.          Were you asked by your counsel -- and my next

   7      set of questions won't refer to either of these

   8      documents per se but, you know, feel free to bring them

   9      up if they're helpful --          were you asked at all by your

 10       counsel to produce documents related to this case?

 11       A.          I don't believe so.

 12       Q.          Did you produce any documents related to this

 13       litigation?

 14       A.          When you say -- you're referring to me

 15       personally?

 16       Q.          To the extent it overlaps with your

 17       redistricting work as a elected official.

 18       A.          Not that I recall.

 19       Q.          For your redistricting work, what e-mail

 20       accounts did you use?

 21       A.          So, two e-mail accounts, I would guess.                First




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3:21-cv-03302-MGL-TJH-RMG    Date Filed 04/29/22   Entry Number 249-1    Page 51 of 271




                                                                        Page 50

   1      would be the House, my House e-mail account, and then

   2      secondly, I have a personal e-mail account that

   3      sometimes staff will copy on it for purposes of

   4      scheduling and things like that to make sure I show up

   5      where I'm supposed to.         It's my law firm personal

   6      account.

   7      Q.          Is that e-mail wallacejordan2@gmail.com?

   8      A.          Yes.

   9      Q.          So, no other e-mails outside of your House and

 10       that Gmail one that were used to discuss redistricting?

 11       A.          That's correct.

 12       Q.          And who is Linda Anderson?

 13       A.          Linda Anderson is the former -- I'm trying to

 14       think of her technical title -- she essentially ran the

 15       Judiciary Committee administratively.

 16       Q.          Would that mean like scheduling purposes and

 17       those types of tasks?

 18       A.          That's correct.

 19       Q.          Would you say one of these e-mails is your

 20       primary one as a legislator?

 21       A.          Probably my House account.             The .gov account




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3:21-cv-03302-MGL-TJH-RMG      Date Filed 04/29/22   Entry Number 249-1   Page 52 of 271




                                                                          Page 51

   1      would be the primary method of -- that's where

   2      constituents reach out to and things like that.

   3      Q.          And why might you use your personal e-mail

   4      account for work within the scope of legislation or the

   5      legislative process?

   6      A.          Scheduling and things like that, just to make

   7      sure that, again, I show up where I'm supposed to when

   8      I'm supposed to, so it tends to help that my paralegal

   9      occasionally checks that e-mail to verify I'm not

  10      missing anything.

  11      Q.          And so, it'd be fair to say just for scheduling,

  12      then?

  13      A.          I'm sure there are sometimes things, you know --

  14      I'd say primarily for scheduling.

  15      Q.          Do you recall any non-scheduling e-mail

  16      exchanges on your Gmail account related to

  17      redistricting?

  18      A.          I don't recall any.       Not to say it didn't

  19      happen, but I don't recall any.

  20      Q.          Have you gone back at all to review if there are

  21      any e-mails related to redistricting on your Gmail?




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3:21-cv-03302-MGL-TJH-RMG         Date Filed 04/29/22   Entry Number 249-1   Page 53 of 271




                                                                             Page 52

   1      A.          I did go back and did a simple search of terms

   2      like redistricting, reapportionment, things like that,

   3      to see if there was anything that existed, and I didn't

   4      find any.

   5      Q.          When did you conduct that search?

   6      A.          It's been several weeks.            In the last 30 days, I

   7      would guess, around that ballpark.

   8      Q.          I heard the terms redistricting and

   9      reapportionment.         Were there any other search terms that

  10      you recall you used?

  11      A.          There might of been one or two more, but I don't

  12      remember them off the top of my head.

  13      Q.          Do you have a work cell phone as an elected

  14      official?

  15      A.          I do not.

  16      Q.          I guess, then, do elected officials use their

  17      personal phone or business phone, then, for cell phone

  18      use?

  19      A.          I do.   I can only assume.            We're not issued -- I

  20      mean, we have -- we're issued a workstation at the State

  21      House, a computer or a desktop, but other than that, I




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3:21-cv-03302-MGL-TJH-RMG    Date Filed 04/29/22   Entry Number 249-1    Page 54 of 271




                                                                        Page 53

   1      don't think we're issued any type of device.                   So,

   2      therefore, practically speaking, my phone is my only

   3      phone.

   4                  COURT REPORTER:     Ms. Hollingsworth, did you say

   5      anything?

   6                  MS. HOLLINGSWORTH:       I objected to the form of

   7      the last question.

   8                  COURT REPORTER:     Thank you.

   9      BY MR. CUSICK:

 10       Q.          I guess within what you said, then,

 11       Representative Jordan, would it be fair to say, then,

 12       you used that personal cell phone to discuss

 13       redistricting?

 14       A.          I'm sure I have, yes.         I had phone calls with

 15       many folks in some form, relating in some form to

 16       redistricting, yes.

 17       Q.          When you say folks, are you referring to

 18       legislators?

 19       A.          Legislators would be on that list, constituents

 20       would be on that list, an attorney in this capacity

 21       would be on that list.




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3:21-cv-03302-MGL-TJH-RMG      Date Filed 04/29/22   Entry Number 249-1   Page 55 of 271




                                                                          Page 54

   1      Q.          Anyone else you can think of?            My apologies.

   2      A.          I was just going to say I spend a lot of time on

   3      the road back and forth from Florence and end up on the

   4      phone quite a bit.

   5      Q.          What about any text messages?

   6      A.          I did text some -- some, if not all, of the

   7      members of the Ad Hoc Committee for purposes of

   8      scheduling at times, if I remember correctly.                Going

   9      back to the beginning of this process, again, we had I

  10      believe it was 10 -- 9 or 10 meetings across the state

  11      and then multiple meetings in Columbia, and pretty much

  12      all of those meetings were, if I remember correctly,

  13      outside the confines of what would be our normal session

  14      dates, and so trying to coordinate to let folks know

  15      when we were having meetings and working around to find

  16      meeting dates that would work within their schedules and

  17      things like that.      So, yes, in those -- and that's just

  18      an example of the primary use, I would say.

  19      Q.          Was there any other discussions to your

  20      recollection outside of scheduling with Ad Hoc Committee

  21      members?




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3:21-cv-03302-MGL-TJH-RMG      Date Filed 04/29/22   Entry Number 249-1   Page 56 of 271




                                                                          Page 55

   1      A.          May have had -- not that I recall.

   2      Redistricting is tough to do over the phone.               You have

   3      to -- you need to be able to see it to recognize what

   4      you're talking about.        So, I'd say primarily, you know,

   5      it was more of a face-to-face, screen-to-screen kind of

   6      thing, if that makes sense.

   7      Q.          Would that include FaceTime or other apps that

   8      allow you to be screen-to-screen or face-to-face?

   9      A.          I believe we did have a couple of FaceTimes with

  10      a couple different members of the Ad Hoc Committee

  11      during the course of this process.

  12      Q.          And does that include Ad Hoc staff?

  13      A.          I believe Ms. Dean would of probably been a part

  14      of those meetings.

  15      Q.          Have you gone back like you did with your e-mail

  16      to search any relevant conversation related to

  17      redistricting?

  18      A.          What meeting are we talking about?

  19      Q.          Just have you gone back to -- similar like you

  20      did where you used search terms for your e-mail to

  21      understand the full scope of your e-mails, did you do




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3:21-cv-03302-MGL-TJH-RMG      Date Filed 04/29/22   Entry Number 249-1   Page 57 of 271




                                                                          Page 56

   1      something similar to see the full scope of text messages

   2      that were on your personal phone related to

   3      redistricting?

   4      A.          Yes, I did go back and perform a similar search

   5      on my texts, and then I also tried my best to remember

   6      if I had any different text communications with members

   7      of the Ad Hoc Committee before the House Representatives

   8      and based on -- so, yes, is the answer.

   9      Q.          And what did that search entail in terms of

  10      search terms or just going person by person?

  11      A.          A little bit of both.        I used -- similar like I

  12      described in the e-mail -- search terms and then I do

  13      remember a text or two.        Just kind of as you go along

  14      things pop in your head, so I would go back and see if I

  15      could search a particular member who had asked a

  16      question about the map room or something like that, and

  17      I'd go look for that.        And then I did pull up -- I don't

  18      know if I did -- I think I did everyone -- but I think I

  19      did everyone -- but pulled up every member of the Ad Hoc

  20      Committee that I could find there was a text history

  21      there to see if it was texting related to redistricting.




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3:21-cv-03302-MGL-TJH-RMG       Date Filed 04/29/22   Entry Number 249-1   Page 58 of 271




                                                                           Page 57

   1      Q.          Have you provided those texts to your counsel in

   2      this case?

   3      A.          A couple I just remembered, and I don't think

   4      I've given those over yet, but we've made arrangements

   5      for me to do that.

   6      Q.          Got it.   And I know that there's the general

   7      redistricting at southcarolinahouse.gov.               Who controls

   8      access to that e-mail or, I guess, who is looking at

   9      those e-mails coming in?

  10      A.          That would be House Judiciary, and I believe

  11      Ms. Dean would be the primary there.

  12      Q.          Were e-mails that went there forwarded to all

  13      Ad Hoc Redistricting Committee members?

  14      A.          No, they would not have been forwarded.              Most if

  15      not all of those e-mails were made available by print,

  16      if I remember correctly.          You could either, A, get a

  17      copy if you wish or, B, you could come by House

  18      Judiciary and review it, if I remember correctly.

  19      Q.          So, if somebody sent written testimony in

  20      related to redistricting, what would be the process for

  21      it to be received or put in front of the Ad Hoc




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3:21-cv-03302-MGL-TJH-RMG         Date Filed 04/29/22   Entry Number 249-1   Page 59 of 271




                                                                             Page 58

   1      Committee?

   2      A.          Again, they could request -- I can't say for

   3      certain every e-mail was printed for every member of the

   4      Ad Hoc Committee.         They could either ask for that to

   5      occur, like I did, or they could have access to review

   6      if they chose          to go to the front of the screen and

   7      look at it.         I know -- I don't believe every e-mail was

   8      forwarded on to members.            I chose to have it printed out

   9      just so it was easier for me to go through it page by

  10      page.

  11      Q.          I know there were probably lots of written

  12      comments.         Do you have a ballpark of what your process

  13      was for determining which ones to print out or to

  14      request to review?

  15      A.          I just asked for all -- all relevant comments

  16      pertaining to redistricting.

  17      Q.          And so for your redistricting work outside of

  18      fellow legislators, House staff, and members of the

  19      public, did you speak to any third-party organizations?

  20      A.          No.

  21      Q.          Any political organizations?




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3:21-cv-03302-MGL-TJH-RMG      Date Filed 04/29/22    Entry Number 249-1   Page 60 of 271




                                                                           Page 59

   1      A.          When you say speak to, I think I did get a call

   2      from -- I can't remember who it was now -- someone in

   3      the Republican Party, just congratulations, condolences

   4      on being chairman of the district.               That type of --

   5      nothing pertaining to the process itself.

   6      Q.          Any lobbyists?

   7      A.          No, not that I recall.

   8      Q.          Consultants?

   9      A.          Not that I recall.

  10      Q.          Anyone from the governor's office?

  11      A.          My nephew works for the governor's office, and I

  12      think he -- we talk on a regular basis and I'm sure it

  13      came up in conversation, but no one specifically.

  14      Q.          And I think I might have the answer to these

  15      next set of questions, but if you'll just bear with me

  16      for a moment.      Was your primary communication with

  17      Mr. Dennis face-to-face?

  18      A.          Yes.

  19      Q.          Is that true for Speaker Lucas, Representative

  20      Murphy, and Ms. Dean?

  21      A.          I probably spoke more to Ms. Dean than anyone




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3:21-cv-03302-MGL-TJH-RMG       Date Filed 04/29/22   Entry Number 249-1   Page 61 of 271




                                                                           Page 60

   1      because she was -- Ms. Anderson retired somewhere in

   2      this process, and so she was the primary person for

   3      purposes of scheduling and logistics and things like

   4      that.       So, I probably spoke on the phone more with her

   5      than anyone.       Yes, to the rest, I would say.

   6      Q.           As chair of the Redistricting Committee, did you

   7      at all regularly have a standing meeting or meet

   8      regularly with any House leadership about redistricting?

   9      A.           No, when I would -- it was not a standing

  10      meeting, no.

  11      Q.           I guess how often would you meet, then, with

  12      House leadership over redistricting?

  13      A.           There really weren't many meetings.           I mean,

  14      Speaker Lucas would ask if we were on schedule, you

  15      know, making sure that we were -- everyone recognizing

  16      that we were doing our best to -- waiting on the census

  17      data, and then from that time of receiving the census

  18      data, pushing the process forward.               So we would

  19      occasionally discuss time lines and things like that.

  20      Q.           Now, I'll talk a little bit more -- I know we've

  21      been using, and I think we're on the same page, either




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3:21-cv-03302-MGL-TJH-RMG      Date Filed 04/29/22   Entry Number 249-1   Page 62 of 271




                                                                          Page 61

   1      Ad Hoc or Redistricting Committee as shorthand for -- do

   2      you understand if I use that as shorthand that we're

   3      talking about the same thing?

   4      A.          Yes.

   5      Q.          Before this redistricting cycle, had you been

   6      involved in any redistricting efforts?                I guess that

   7      would have been 2010, 2011.

   8      A.          That pre-dates me.

   9      Q.          And I guess could you talk about the process for

  10      the creation of the Ad Hoc Committee?                Who convened it,

  11      how members were selected, to the extent you know?

  12      A.          That first got on my radar back pretty early in

  13      '21 or maybe even as late as end of '20 as we came into

  14      another term in the House.          It was time for committee

  15      appointments and subcommittee appointments, and my first

  16      knowledge that I might be involved was my going on the

  17      Election Law Subcommittee that was sort of -- I may be

  18      involved in the process.         And I believe I spoke with

  19      Speaker Lucas and Chairman Murphy that that was a

  20      possibility.

  21      Q.          Do you know how members were selected for the Ad




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3:21-cv-03302-MGL-TJH-RMG      Date Filed 04/29/22   Entry Number 249-1   Page 63 of 271




                                                                          Page 62

   1      Hoc Committee?

   2      A.          Like we talked about earlier, it was an effort

   3      to create a statewide geographical committee.

   4      Originally, we had one member from each congressional

   5      district and then the chairman, and then it was --

   6      became clear to me that it was important that -- so that

   7      it'd be geographically diverse that it be diverse as far

   8      as the party goes, not all Republican or all Democrat,

   9      obviously.      A mixture of Republican and Democrat and so

  10      too race and sex.

  11      Q.          And based on what you testified to, was that

  12      discussions with Speaker Lucas, Representative Murphy,

  13      and anyone else?

  14      A.          I'd say it's a combination of discussions but

  15      also me observing and watching these kind of things fall

  16      into place and looking how it came to be.

  17      Q.          Were you selected as chair before the Ad Hoc

  18      Committee membership was fully selected?

  19      A.          If I remember correctly, it all kind of came

  20      together in a similar time period.

  21      Q.          And I think I recall at some point in the




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3:21-cv-03302-MGL-TJH-RMG      Date Filed 04/29/22   Entry Number 249-1   Page 64 of 271




                                                                          Page 63

   1      testimony, one of the members withdrew from the

   2      committee; is that right, at some point?

   3      A.          That's correct, Mr. Brandon Newton had to

   4      withdraw at the last minute.           His wife had just had a

   5      child, a new baby, and I think that they were trying to

   6      get life kind of under control.             That's how he described

   7      it to me when we discussed it.

   8      Q.          I would say that's probably more hectic than the

   9      work on the Redistricting Committee, to try to balance

  10      both.

  11      A.          I think when he explained back home that he

  12      would have to be in nine different places across the

  13      state over a two-to-three week period, it became, you

  14      know, just a -- too big of a mountain to climb.

  15      Q.          Which congressional district would

  16      Representative Newton, I guess, represent?

  17      A.          So, he lives in the Lancaster area, so that

  18      would be the 5th.      I'm trying to see the map in my head.

  19      It encompasses essentially York, Lancaster, that part of

  20      the state.      I'm blanking on the number.

  21      Q.          Was his seat, I guess, filled or replaced by




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3:21-cv-03302-MGL-TJH-RMG      Date Filed 04/29/22   Entry Number 249-1   Page 65 of 271




                                                                          Page 64

   1      someone else?

   2      A.          It was not, due to the timeliness.          We were

   3      literally beginning the process of a statewide tour

   4      within days, and it was such that -- it was a

   5      logistically difficult scenario to put all of this into

   6      place, and given that time line, the position was not

   7      filled.

   8      Q.          And was that a joint decision with you as chair

   9      and other folks, or who made that determination that it

  10      would be logistically difficult?

  11      A.          I recall that when Mr. Newton informed me he

  12      didn't think he could participate, my opinion on the

  13      matter was that it would be very difficult to bring

  14      someone in at that late date and given the time

  15      commitment, so it would be very difficult.              In my

  16      opinion, it would be very difficult to fill the

  17      position, and we had -- again, we had a committee that I

  18      felt like was capable, up to speed, ready to go,

  19      represented, you know, all parts of -- the far-reaching

  20      parts of South Carolina, maybe not that particular

  21      congressional district, but a statewide basis, I guess




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3:21-cv-03302-MGL-TJH-RMG      Date Filed 04/29/22   Entry Number 249-1   Page 66 of 271




                                                                          Page 65

   1      I'd say.

   2      Q.          Did you reach out to any elected officials to

   3      see if they might have any interest?

   4      A.          I did not.

   5      Q.          Do you know if anyone -- I don't know if

   6      volunteer would be the right word -- but expressed

   7      interest in filling that seat or spot on the committee?

   8      A.          No one did to me.

   9      Q.          As chair of the committee, what would be your

  10      primary responsibilities, or what were?

  11      A.          I'd say it depends on, you know, where you are

  12      in the process.      The beginning phases it's, again,

  13      making sure everyone -- trying to coordinate with as

  14      many people as possible to be present and to participate

  15      in the public hearings.         As chair of that committee, it

  16      was very important to me that we had a good attendance

  17      record, and I think overall we did, by members of the

  18      committee.      So, communicating with them the importance

  19      of it and where we were going, when we were going, those

  20      kind of things, that was a major component of it to

  21      begin with.      And then, over time, that transitioned to




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3:21-cv-03302-MGL-TJH-RMG      Date Filed 04/29/22   Entry Number 249-1    Page 67 of 271




                                                                           Page 66

   1      trying to help in the map room to make sure that

   2      logistically worked.       And then, ultimately, that sort of

   3      changes into passing the legislation.                You know,

   4      ultimately this process requires that we pass bills, so

   5      to speak.      And now -- that'd be it.

   6      Q.          Who -- I guess, as chair, who would determine --

   7      I guess who determined the schedule for the initial set

   8      of public hearings from September to October?

   9      A.          I participated heavily in that, so a lot of that

  10      was practical.      Again, we were being driven by trying to

  11      -- you know, the late census data, trying to make sure

  12      we got it all moving, but also practical in the sense of

  13      we were trying to go across the state and finding venues

  14      that would accommodate us.          You know, again, that was --

  15      there were times in this process where certainly COVID

  16      was very real.      And so -- and what I mean by real, spike

  17      and whatnot that we had to deal with.                So, finding

  18      places that would -- where we could spread out and be

  19      welcome was part of that challenge as well.

  20      Q.          As chair, did you have the responsibility for

  21      when proposed staff maps would be publicized, or who




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3:21-cv-03302-MGL-TJH-RMG      Date Filed 04/29/22   Entry Number 249-1    Page 68 of 271




                                                                          Page 67

   1      made those determinations for when to publish or

   2      publicize proposed maps or amendments?

   3      A.          I suppose I had say in that, for sure.              Again,

   4      I'd say the primary driver of that was the block.                  You

   5      know, we had a certain amount of time in which we needed

   6      to get hearings done and we had a certain amount of time

   7      that we had to open the map room, and then we had a

   8      certain amount of time we had to allow for those maps to

   9      be made public and then to give opportunity again for

  10      folks to weigh in and consider other alternatives.                  So,

  11      yes, I certainly participated in the creation or -- of

  12      that time line but it was practical nature primarily.

  13      Q.          I know you mentioned Ms. Dean as playing a role

  14      in the redistricting efforts.            Could you describe what

  15      her role was to you, as chair, you know, things that she

  16      was responsible for or did throughout the process?

  17      A.          So, in the beginning of the process, she was

  18      instrumental in the logistics of helping me make sure

  19      everyone was aware when and where we were meeting and

  20      also the public, making sure that the website, you know,

  21      information was provided to the technical folks to make




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3:21-cv-03302-MGL-TJH-RMG      Date Filed 04/29/22   Entry Number 249-1   Page 69 of 271




                                                                          Page 68

   1      sure it was up.      Also, in coordinating when we had

   2      meetings in Columbia, that we had a room and we had

   3      space and everyone was made available and were aware of

   4      it.   When it came time for the map room, she was

   5      instrumental in making sure that it was open.               And the

   6      way we did the scheduling on that, that flowed through

   7      Judiciary so she -- I'm sure we was vital in that.                 And

   8      then going forward, she was also very instrumental in

   9      the legislative process to make sure that we conformed

  10      with the law and the process.

  11      Q.          When you say conform with the law, and without

  12      going into specifics, did she provide any legal advice

  13      to you as chair?

  14      A.          I'm sure she did.

  15      Q.          I want to understand just some of the other

  16      committee staff members.         I know we've spoken about

  17      Ms.   Dean and while I'm blanking on the names of the

  18      other staff counsel, I want to know if there are any

  19      other staff members for the Redistricting Committee that

  20      were involved in the redistricting process?

  21      A.          It was sort of an all-hands-on-deck.           You, so




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3:21-cv-03302-MGL-TJH-RMG      Date Filed 04/29/22   Entry Number 249-1   Page 70 of 271




                                                                          Page 69

   1      had Roland and Jimmy were present at different times,

   2      both during the course of the public hearings, as well

   3      in the map room, as well as in the committee process.

   4      So, I think the three of them were the primary Judiciary

   5      folks.

   6      Q.          And are both attorneys?

   7      A.          Yes.

   8      Q.          Were there any non-attorney staff members for

   9      the Redistricting Committee?

  10      A.          Not that I recall.

  11      Q.          Did the Redistricting Committee hire any

  12      consultants during the redistricting process?

  13      A.          The committee itself, not that I recall, no.

  14      Q.          If they did, would that be a decision that you

  15      had input in or would have oversaw?

  16      A.          I would assume so.

  17      Q.          Do you know if the House Judiciary hired any

  18      consultants during the redistricting process?

  19      A.          The only consultant I know of you referenced

  20      when you went through your list of names.              I remember

  21      the name but I never met with or spoke with -- I can't




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3:21-cv-03302-MGL-TJH-RMG         Date Filed 04/29/22   Entry Number 249-1   Page 71 of 271




                                                                             Page 70

   1      remember the name though.

   2      Q.          Thomas Brunell?

   3      A.          So, that would be the only consultant, I think

   4      he was a consultant, that I'm -- have heard about.

   5      Q.          Even though you didn't communicate with him, did

   6      -- I guess what information or consultation did he

   7      provide to the Redistricting Committee or House

   8      Judiciary?

   9      A.          I'm not aware of any direct communication.

  10      Q.          So, there weren't any reports that you -- my

  11      apologies, I'm sorry.

  12      A.          Go ahead.

  13      Q.          Oh, no, I was going to ask, were there any

  14      reports or findings that you reviewed from Dr. Brunell?

  15      A.          Not that I recall.

  16      Q.          From your understanding, who would you consider

  17      map drawers or drawers during this process for the Ad

  18      Hoc Committee?

  19      A.          So, once you go into the map room process, is

  20      that what you're referring to?

  21      Q.          Yes.




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3:21-cv-03302-MGL-TJH-RMG      Date Filed 04/29/22   Entry Number 249-1    Page 72 of 271




                                                                           Page 71

   1      A.          Within the map room, you would have Tom Hager.

   2      He would be sort of the chief operational computer

   3      person, and then within that structure there would be

   4      several interns, I guess you could describe as

   5      technicians, that would assist members in the map room

   6      by navigating the computer for them, for the members

   7      when they would go in.        Certainly staff counsel would be

   8      available to assist in that process.                  Trying to make

   9      sure I don't leave anyone out.             That's the general sort

  10      of overview.

  11      Q.          We'll talk about the map room a little bit more

  12      in detail later on, but I first, before we get there, I

  13      want to talk a little bit about the House's

  14      redistricting criteria and guidelines.

  15      A.          Sure.

  16      Q.          So, what I hope has been uploaded and I've

  17      marked as Plaintiff Exhibit 3, which is the document

  18      titled, Meeting Proceedings, August 3, 2021, South

  19      Carolina House Judiciary Committee.                  This is a

  20      transcript of the August 3rd, House Redistricting

  21      Committee meeting and is available on the Ad Hoc




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3:21-cv-03302-MGL-TJH-RMG        Date Filed 04/29/22   Entry Number 249-1   Page 73 of 271




                                                                            Page 72

   1      Committee hearings website.             It should be the fourth

   2      document.      I had to refresh within Veritext, and let me

   3      know when you have that up for a moment.

   4                  (Exhibit 3 marked for identification and

   5      attached to the transcript.)

   6      A.          I'll tell you, I'm impressed that I was able to

   7      do that.      This is Exhibit 3?

   8      Q.          Correct.    It should be the -- unfortunately,

   9      it's the fourth document, but it's Plaintiffs' Exhibit

  10      3.   Fourth document within the listing.

  11      A.          All right, I have it.

  12      Q.          Do you recall, Representative Jordan, being at

  13      this August 3rd House Redistricting Committee meeting?

  14      A.          I recall being there, yes.

  15      Q.          And I want to turn to page 8, with your remarks

  16      beginning on line 20.          Let me know when you have a

  17      moment to get there.

  18                  MS. HOLLINGSWORTH:        And, Mr. Cusick, for the

  19      record, how many documents are we going to review today,

  20      because I don't want to take up time having to review

  21      these with him and taking breaks?                So, nothing was




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3:21-cv-03302-MGL-TJH-RMG    Date Filed 04/29/22     Entry Number 249-1    Page 74 of 271




                                                                          Page 73

   1      identified in advance of this deposition, so I kind of

   2      want to be -- don't want to use up time unnecessarily,

   3      but do you have an expectation of how many exhibits are

   4      going to be uploaded and whether that is something we

   5      should go ahead and do so that we have the opportunity

   6      to review them?

   7                  MR. CUSICK:     Yes, I mean the sets of documents

   8      are going to be hearing transcripts like this for the

   9      four hearings by the Redistricting Committee and then

 10       questions related to just, you know, remarks that

 11       Representative Jordan made.              There are a couple of

 12       letters that the South Carolina NAACP had shared with

 13       the Redistricting Committee, where I'm not going to go

 14       into the content of those letters but just asking if

 15       Representative Jordan had received them, and then just

 16       one other document with a Bates stamp.                 So, I don't

 17       know, Jennifer.      If it's easiest, I could -- I have no

 18       problem uploading them all right now, and I don't want

 19       to make anyone work over lunch or add time, but I'm

 20       happy to upload them all now if it makes sense for you

 21       and Representative Jordan and Ms. Wells to review.




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3:21-cv-03302-MGL-TJH-RMG      Date Filed 04/29/22   Entry Number 249-1   Page 75 of 271




                                                                          Page 74

   1      Whatever you think makes sense.

   2                  MS. HOLLINGSWORTH:      Yes, so I guess what I'll

   3      say, I'll kind of reserve judgment for a minute, but it

   4      would be good to upload everything, and then whenever we

   5      could take a lunch break, I'm happy go look at stuff on

   6      the break.      So, again, I'd like to not have us be here

   7      any longer than necessary.          So, you can -- let's

   8      continue and determine whether we need to break to

   9      confer.      I hope not, but I would like to do that over

  10      lunch.      So, whenever we break at lunch, if you could

  11      just pop those up there and we'll take a look at the

  12      time.

  13                  MR. CUSICK:   Yeah, and if it's easier for you,

  14      I'll upload all of them, and then maybe I can send you

  15      and Ms. Wells an e-mail just so you have the PDFs as

  16      well, just in case that's easier.

  17                  MS. HOLLINGSWORTH:      That would be helpful, thank

  18      you.

  19      BY MR. CUSICK:

  20      Q.          Representative Jordan, on page 8, line 20, do

  21      you see the beginning where it says Chairman Jordan?




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3:21-cv-03302-MGL-TJH-RMG        Date Filed 04/29/22   Entry Number 249-1    Page 76 of 271




                                                                            Page 75

   1      A.           I do.

   2      Q.           Do you mind reading that paragraph?

   3      A.           "All right, with that, let's turn -- I think the

   4      other item we're going to talk about today is our

   5      proposed guidelines and criteria.                That was a -- one of

   6      the documents that you received in the last week in

   7      order to begin to digest just a little bit about that,

   8      and then we'll certainly discuss it."

   9      Q.           Who prepared the initial draft or proposed

  10      guidelines and criteria?

  11      A.           That would have been counsel and consulting

  12      staff, I believe.

  13      Q.           When you say counsel, who are you referring to?

  14      A.           I believe -- this was one of the things that

  15      sort of everyone reviews.           So, everyone from Dennis and

  16      Ms. Dean to Nexsen Pruet folk.               I reviewed it.       Lots of

  17      folks had a hand in it.

  18      Q.           Got it.   Just to make sure we're on the same

  19      page, that would include Speaker Lucas?

  20      A.           I don't believe Speaker Lucas was a part of

  21      that.       I don't believe he was.




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3:21-cv-03302-MGL-TJH-RMG       Date Filed 04/29/22   Entry Number 249-1   Page 77 of 271




                                                                           Page 76

   1      Q.           I heard you say Mr. Dennis and Ms. Dean.             You

   2      also said Nexsen Pruet?

   3      A.           Yes.

   4      Q.           And then the members of the Ad Hoc Committee?

   5      A.           Yes, they would have -- so, this refreshes my

   6      memory, they were provided sort of a rough draft and had

   7      the opportunity, if they so chose, to weigh in and see

   8      the document.

   9      Q.           Do you recall receiving any feedback on that or,

  10      I guess, who would have been in charge of collecting any

  11      feedback and putting this document together?

  12      A.           My standard practice -- or, excuse me, I

  13      shouldn't say standard practice.              I believe prior to

  14      this meeting, I sort of called around and just -- making

  15      sure everybody was coming and, you know, any concerns or

  16      questions that we can be prepared for, and I think -- I

  17      don't recall specifically who or what any of the dates

  18      were.       I think there were, but I just can't remember who

  19      and what.

  20      Q.           Did you conduct any research to assess or

  21      propose any input into the guidelines?




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3:21-cv-03302-MGL-TJH-RMG      Date Filed 04/29/22   Entry Number 249-1   Page 78 of 271




                                                                          Page 77

   1      A.          I looked back -- I got Ms. Dean to help me, and

   2      I looked back at what had been adopted in the prior

   3      redistricting process.        And so that as well as some of

   4      the case law associated with redistricting, I did review

   5      those things, yes.

   6      Q.          Were you provided any additional research

   7      outside of what you worked with with Ms. Dean?

   8      A.          I'm sure I was.    This redistricting process has

   9      been a flood of information.

  10      Q.          That is probably an understatement.           Did any

  11      members of the public have input into this draft?

  12      A.          I don't believe so.

  13      Q.          Do you think it would have been beneficial to

  14      have any public comment or feedback on the proposed

  15      guidelines?

  16      A.          No, I think this is primarily legal in nature.

  17      And we went to great lengths to make -- to be prepared

  18      to do this the right way.         Certainly the public would

  19      certainly be entitled to it.           Times, if I remember

  20      correctly, during the course of our hearings to comment

  21      on the criteria, but I don't believe it was a flaw in




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3:21-cv-03302-MGL-TJH-RMG      Date Filed 04/29/22   Entry Number 249-1   Page 79 of 271




                                                                          Page 78

   1      the process that we did not open this up, to my

   2      recollection, for public input as part of it.

   3      Q.          Did you seek any public input on the guidelines

   4      during those hearings from September or October?

   5      A.          You know, the public input was really just --

   6      was really an opportunity for, we'll listen to whatever

   7      you want to tell us.       You know, my opinion of the public

   8      input was they got to decide what they thought was

   9      important, and as a result of that, we heard everything

  10      from testimony related to the criteria to -- I mean, I

  11      heard about a tree farm in Chesterfield County, if I

  12      remember correctly.       So, the public tends to decide

  13      what's -- what's for them to weigh in on and those types

  14      of things.

  15      Q.          In any of those meetings, did you share the

  16      document before there was public comment so people knew

  17      what the guidelines were?

  18      A.          I believe we made the criteria available but I,

  19      again, I can't -- I know it was part of my colloquy at

  20      every public hearing.        I referenced it and sort of gave

  21      an overview of it; I think we made it available on the




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3:21-cv-03302-MGL-TJH-RMG       Date Filed 04/29/22   Entry Number 249-1   Page 80 of 271




                                                                           Page 79

   1      website.

   2      Q.           Do you recall if there were any hard copies of

   3      the guidelines to hand out during any of those public

   4      hearings?

   5      A.           I don't believe so.       And that was -- as chair, I

   6      thought about that, but again that was also back in a

   7      COVID period and folks were somewhat squeamish at times

   8      about personal contact.

   9      Q.           And I forgot to ask this on folks involved in

  10      the process, did the Senate have any involvement in the

  11      drafting of the criteria?

  12      A.           They did their own criteria, if I remember

  13      correctly.       So the answer is, no, to ours.

  14      Q.           And within the statement you read here from your

  15      testimony, at the end you state that you received it

  16      last week in order to begin to digest a little bit about

  17      that.       Why was it important to give the draft document a

  18      week ahead of that meeting?

  19      A.           Well, number one, at some point in time, and the

  20      committee chose that point in time, that August 3rd

  21      meeting, the criteria had to be adopted.               We technically




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3:21-cv-03302-MGL-TJH-RMG      Date Filed 04/29/22    Entry Number 249-1   Page 81 of 271




                                                                           Page 80

   1      had to say, this is what we're going to -- the framework

   2      in which we're going to operate.              So, I felt like it was

   3      important for them to have the ability to review it.

   4      Again, digest it, make any suggestions, and be prepared

   5      for any discussion on it.

   6      Q.          Do you think -- I guess do you think a week

   7      would give them sufficient time to meaningfully review

   8      the document?

   9      A.          I think so.    I mean, this was not a 50-page,

  10      100-page document.        This is a pretty straightforward

  11      document.      We're going to follow the law and then these

  12      principles of redistricting that existed for quite some

  13      time; we didn't remake the wheel in this document, so I

  14      think so.

  15      Q.          I'm now I'm going to ask a question.            I know you

  16      referenced the research that you worked with Ms. Dean

  17      on, and this is on page 9 and the next page on that

  18      Plaintiffs' Exhibit 3, lines 1 through 6, and if you

  19      could read just -- I think it's just the first full

  20      sentence beginning with the "criteria" and then the last

  21      one is "interest" that ends on line 6.




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3:21-cv-03302-MGL-TJH-RMG      Date Filed 04/29/22    Entry Number 249-1   Page 82 of 271




                                                                           Page 81

   1      A.          "The criteria and guidelines in my research

   2      doesn't really change from every ten-year period.                  As

   3      you will see, we will start with the Constitution of the

   4      United States, through federal law, state law, all the

   5      way down to, you know, including the compactness,

   6      communities of interest."

   7      Q.          I want to ask you, it's in line -- the first two

   8      words or, I guess, three words on line two where you

   9      referenced the redistrict criteria doesn't really change

  10      from every ten-year period.            What did you mean by that?

  11      A.          Kind of what I said a moment ago.           I mean, this

  12      is a process that we engage in on a every-ten-year basis

  13      and the law, the process itself, doesn't change a whole

  14      lot.    The things we consider, while they may -- the

  15      communities of interest may change, the compactness may

  16      change, the time of duty may change, but those

  17      principles don't change.

  18                  MR. CUSICK:    For a moment, we'll speak to

  19      Ms. Hollingsworth.        I'm going to introduce the

  20      redistricting guidelines and criteria, that three-page

  21      document.      I'm happy to do that and ask the set of




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3:21-cv-03302-MGL-TJH-RMG      Date Filed 04/29/22   Entry Number 249-1    Page 83 of 271




                                                                          Page 82

   1      questions on them and break for lunch, or,

   2      Ms. Hollingsworth, would you prefer to break here for me

   3      to upload everything, and then we can resume when you've

   4      had a chance to review and speak with Representative

   5      Jordan?

   6                  MS. HOLLINGSWORTH:      No, if it's the three-page

   7      guidelines and criteria document, I think you can upload

   8      that and ask your questions.

   9      BY MR. CUSICK:

  10      Q.          I'm now marking what is the South Carolina House

  11      of Representatives Judiciary Committee Redistricting Ad

  12      Hoc Committee's 2021 Guidelines and Criteria for

  13      Congressional and Legislative Redistricting, and it's

  14      dated as adopted on August 3, 2021, as Plaintiff Exhibit

  15      4.    It might take a moment, Representative Jordan, or

  16      you might have to refresh the page.                  So let me know when

  17      that document appears and you've had a chance to look at

  18      it.

  19      A.          I have it and I'm familiar with it.

  20                  (Exhibit 4 marked for identification and

  21      attached to the transcript.)




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3:21-cv-03302-MGL-TJH-RMG      Date Filed 04/29/22   Entry Number 249-1    Page 84 of 271




                                                                          Page 83

   1      Q.          Would it be fair to say that these guidelines or

   2      criteria guided the committee's assessment of all

   3      proposed maps?

   4      A.          Absolutely.

   5      Q.          As well as the development of all proposed maps?

   6      A.          I can't say the development.              I can say the

   7      development of proposed maps from within the House.                     I

   8      mean, obviously there were maps that were created and

   9      provided to us outside -- sort of through that public

  10      process that I can't address -- but for purpose of maps

  11      that we proposed, yes, I would think so.

  12      Q.          You caught me on one of those questions where I

  13      was not as sharp as I wanted to be.                  But that was the

  14      question, on whether the Redistricting Committee guided

  15      the proposed maps of the Redistricting Committee?

  16      A.          Yes.

  17      Q.          Is there any other document that the

  18      Redistricting Committee created that supplemented this

  19      criteria or was used to guide assessing maps?

  20      A.          Not that I recall.

  21      Q.          Did you rely upon any other documents to guide




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                                                                          Page 84

   1      your assessment of maps that the Redistricting Committee

   2      was drafting and developing?

   3      A.          Not that I recall.

   4      Q.          And so I want to talk about a couple of the

   5      guidelines themselves.        And so under Roman numeral

   6      number II, titled Federal Law, if you could just take a

   7      moment, you can read the full paragraph.              I'm going to

   8      ask you questions about the first three sentences, but

   9      take as long as you need and no need, to read them into

  10      the record.

  11      A.          Okay.

  12      Q.          In the third sentence right in the middle, it

  13      begins with "the dilution of racial or ethnic minority

  14      voting strength."      Do you see that?

  15      A.          I do.

  16      Q.          What does the dilution of racial and ethnic

  17      minority voting strength mean to you?

  18      A.          To separate members of those groups in a way

  19      that would minimize their voting ability -- or not

  20      ability but their -- basically decreasing the numbers by

  21      splitting into different areas.




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3:21-cv-03302-MGL-TJH-RMG      Date Filed 04/29/22    Entry Number 249-1   Page 86 of 271




                                                                           Page 85

   1      Q.          Anything else?

   2      A.          That's a broad sort of definition.

   3      Q.          What are some examples of the dilution of racial

   4      or ethic minority voting strength that you mentioned?

   5                  MS. HOLLINGSWORTH:       Object to the form.

   6                  THE WITNESS:     Sorry, say that again?

   7      BY MR. CUSICK:

   8      Q.          What would be a hypothetical example of the

   9      dilution of racial or ethic minority voting strength?

  10                  MS. HOLLINGSWORTH:       Same objection.

  11                  THE WITNESS:     To single out one particular group

  12      based on race and to try and break them into different

  13      areas in order so that they're voting for, so a

  14      percentage would be decreased.

  15      BY MR. CUSICK:

  16      Q.          When you mention single out, does there have to

  17      be an intentionality behind that, or could it happen as

  18      an effect or for unintentional reasons?

  19      A.          I'd say it could happen unintentionally if you

  20      weren't careful.

  21      Q.          Now, under Roman numeral -- I think it's IV,




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3:21-cv-03302-MGL-TJH-RMG      Date Filed 04/29/22     Entry Number 249-1   Page 87 of 271




                                                                            Page 86

   1      yes, it's IV -- subsection C on page 2, if you could

   2      take a moment to read that to yourself.                   No need to read

   3      it into the record, and let me know when you've had a

   4      chance to review.      This deals with the total population

   5      deviation standard.

   6      A.          I'm familiar with it.

   7      Q.          Could you explain that -- it begins in the third

   8      line, it's the second full sentence, "in every case,"

   9      and it reads, "efforts should be made to limit the

  10      overall range of deviation from the ideal population to

  11      less than five percent, or a relative deviation in

  12      excess of plus or minus two and one half percent for

  13      each South Carolina House district."                   Did I read that

  14      accurately?

  15      A.          I believe so.

  16      Q.          What does that mean to you?

  17      A.          So, the underlying principle here is one person,

  18      one vote, and therefore trying to make the districts in

  19      South Carolina, the House districts, as close in

  20      proximate population as possible, and in this situation

  21      specifically five percent was the deviation.




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3:21-cv-03302-MGL-TJH-RMG         Date Filed 04/29/22   Entry Number 249-1   Page 88 of 271




                                                                             Page 87

   1      Translating that five percent into two and a half

   2      percent alone.         The 41,278 as well as above, created

   3      that five percent range to provide some reasonable

   4      latitude by which districts could be similar in

   5      population.

   6      Q.          Would it be fair to say that the guidelines

   7      prioritized the range that you mentioned of five percent

   8      for a total population deviation standard?

   9      A.          Yes, two and a half on either side.

  10      Q.          Right.     Two and a half plus or minus for a total

  11      of five percent?

  12      A.          Correct.

  13      Q.          Why was this standard chosen to prioritize, the

  14      five percent or plus or minus 2.5 percent?

  15      A.          To start with, it was the prior approved -- or,

  16      I said approved, legally upheld standard of

  17      redistricting in the prior cycle.                 What I mean by that,

  18      is that was the deviation that had been used in, I

  19      guess, in 2010, and that redistricting process had been

  20      litigated and ultimately found appropriate.                  So, going

  21      back to what we talked about earlier, where time was




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                                                                          Page 88

   1      important in this process given the delayed census, we

   2      knew that was a legally viable reasonable deviation.

   3      And so, in my mind, that was the primary basis on that

   4      being appropriate.

   5      Q.          Do you recall any concerns or critiques of the

   6      use of that standard during public hearings or among

   7      colleagues on the House Judiciary or Redistricting

   8      Committee?

   9      A.          Yes, this was one of the things, maybe more so

  10      than any other thing, that was discussed and brought up

  11      during the course of it.         There was some discussion that

  12      ten percent was appropriate, but ultimately five percent

  13      was found to be more appropriate.

  14      Q.          And, you know, in the last portion of that

  15      subsection C, it's fair to say that the criteria does

  16      allow for a ten percent total population deviation,

  17      again plus or minus five, if certain conditions are met?

  18      A.          So the way I looked at that was that, you know,

  19      yes, there were circumstances in which ten percent could

  20      be found to be appropriate or viable.                I use the word

  21      could.      But what we knew was what five percent was and




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3:21-cv-03302-MGL-TJH-RMG      Date Filed 04/29/22   Entry Number 249-1   Page 90 of 271




                                                                          Page 89

   1      that was a big difference, at least in my opinion, going

   2      through this process, given that we -- COVID had delayed

   3      the census and yet we were trying to, if at all

   4      possible, have these lines drawn in accordance with --

   5      in a timely fashion.       So, there was a big difference in

   6      what we knew was viable and appropriate in the eyes of

   7      the law and what could be viable and appropriate in the

   8      eyes of the law.

   9      Q.          I know you mentioned the way that COVID

  10      interacted with the census count and the data being

  11      released.      Do you have any opinions whether COVID

  12      impacted the total numbers that were reported in South

  13      Carolina for population?

  14      A.          It would make sense to me that COVID was a

  15      factor in that.      Obviously, how could it not be.             The

  16      problem I kept coming back to, the COVID and the census,

  17      is there's no way to fundamentally prove areas in which

  18      -- sort of prove in a negative there.                There was no way

  19      to prove that it impacted.          Could I look at it and say

  20      COVID impacted everything, absolutely.                But for purposes

  21      of being able to adequately demonstrate it legally,




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3:21-cv-03302-MGL-TJH-RMG      Date Filed 04/29/22   Entry Number 249-1   Page 91 of 271




                                                                          Page 90

   1      that's a different decision.

   2      Q.          Do you recall any testimony or statements that

   3      there was an undercount in the census?

   4      A.          There were folks that testified during the

   5      course of the public hearings that it was their opinion

   6      that there was an undercount, yes, that is correct.

   7      Q.          Any legislators?

   8      A.          I believe there were at times some legislators

   9      in the process that, again, spoke up that it was their

  10      opinion that voting did participate in that as well,

  11      yes.

  12      Q.          Did you follow up with any of those legislators

  13      to understand what the basis was for their statements?

  14      A.          We discussed it in the hearing and on the House

  15      floor.      I think it probably came up in full Judiciary

  16      so, I mean, yes, it was a topic that came up more than

  17      once.

  18      Q.          Do you have any opinions whether there is or was

  19      an undercount in South Carolina for the census data that

  20      was released?

  21                  MS. HOLLINGSWORTH:      Object to the form.




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                                                                            Page 91

   1                   THE WITNESS:    Again, one of those things, on a

   2      broad sense, COVID impacted everything.                On a particular

   3      sense, which is what we have to operate under, I heard

   4      no testimony that said, here, I can demonstrate to you

   5      in a provable sense, COVID impacted this undercount

   6      here.       It was much more in a broad sense.

   7      BY MR. CUSICK:

   8      Q.           Do you recall receiving any testimony that

   9      pointed to studies related to census undercount?

  10      A.           I recall testimony to the issue.           I don't recall

  11      specifically when and where and who kind of thing.

  12      Q.           So, I guess, what steps did you take to assess

  13      those claims about census undercount in South Carolina

  14      to verify it or not?         Or to come to an opinion, I should

  15      say.

  16      A.           Again, it was a topic that came up more than on

  17      a few occasions, and in some sense it would have been

  18      easier to use a higher percentage for purposes of

  19      population.       But from a legal standpoint, I don't think

  20      it was the appropriate decision.

  21      Q.           When you say a legal standpoint, is that you --




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3:21-cv-03302-MGL-TJH-RMG      Date Filed 04/29/22   Entry Number 249-1   Page 93 of 271




                                                                          Page 92

   1      is that your opinion that you're offering as the chair?

   2      A.          Yes, I'm going back to -- I know five percent

   3      works because it has worked.           Ten percent can work, but

   4      will it work.

   5      Q.          Earlier in the deposition, you mentioned you

   6      reviewing case law related to redistricting.               Do you

   7      recall reviewing any case law about whether federal

   8      court accepts a ten percent total population deviation?

   9      A.          I do recall case law referencing, you know, five

  10      percent and ten percent and kind of how do we analyze it

  11      here today.      That five percent historically is

  12      acceptable, ten percent, if you can establish or under

  13      certain cases or situations-type.              That's my

  14      recollection.

  15      Q.          And within the guideline here in the last --

  16      the second-to-last sentence in the middle, it says, "the

  17      promotion of constitutionally permissible state policy,"

  18      as one potential basis for that higher ten percent total

  19      population deviation standard.             What do you understand

  20      to be constitutionally permissible state policy that

  21      might justify a different total population standard than




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3:21-cv-03302-MGL-TJH-RMG      Date Filed 04/29/22   Entry Number 249-1   Page 94 of 271




                                                                          Page 93

   1      the five percent?

   2      A.          I hesitate to speculate and give you a

   3      hypothetical.      I can certainly tell you one if you gave

   4      me an example; I can tell you my opinion if I thought it

   5      fit in the category or not.

   6      Q.          Do you recall statements that a higher

   7      population deviation standard might be permissible to

   8      comply with the Voting Rights Act; do you recall any

   9      statements to that end?

  10      A.          That sounds familiar but, again, I can't tell

  11      you the time and place, who said it kind of thing.                 You

  12      could establish a list of hypotheticals and potentially

  13      that could potentially sit into that box.              But it always

  14      came back to me and, again, I only have one vote of that

  15      committee and then ultimately one vote on the House

  16      floor, but we were dealing with what we could establish

  17      versus what we knew would work.

  18      Q.          I now want to move to Roman numeral number VI

  19      that deals with -- it's titled, Compactness.               And if you

  20      don't mind, you can review both paragraphs there or

  21      whatever's easier.       You don't have to read them into the




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3:21-cv-03302-MGL-TJH-RMG       Date Filed 04/29/22    Entry Number 249-1   Page 95 of 271




                                                                            Page 94

   1      record but whatever you feel most comfortable?

   2                  MS. HOLLINGSWORTH:        Mr. Cusick, while he's

   3      looking at that, I think Mr. Tyson might need PDFs of

   4      these documents.         I don't know that everybody is able to

   5      access Exhibit Share easily.             Can you just circulate

   6      your documents of PDFs to the attorneys?

   7                  MR. CUSICK:     Yes.    Right after this, I'll do

   8      that to you, Ms. Wells, Mr. Tyson, and Mr. Burchstead.

   9                  MS. HOLLINGSWORTH:        Thank you.

  10                  MR. TYSON:     Thank you.

  11      BY MR. CUSICK:

  12      Q.          Okay.   And then in the second paragraph there,

  13      it reads, "compactness should not be judged based upon

  14      any mathematical, statistical, or formula-based

  15      calculation or determination."              Did I read that

  16      accurately?

  17      A.          Yes.

  18      Q.          So, how did the Redistricting Committee measure

  19      compactness?

  20      A.          I'd refer you to the paragraph above that.               In

  21      my mind, this is more of a geographical component, and




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3:21-cv-03302-MGL-TJH-RMG      Date Filed 04/29/22   Entry Number 249-1     Page 96 of 271




                                                                           Page 95

   1      kind of like what we talked about earlier when you're

   2      looking at the map that compactness would be how does

   3      the district relate to a river, a lake, other

   4      geographical issues in addition to -- I think it says in

   5      the Section A there -- census block geography.                   So, it's

   6      more of a geographical thing.

   7      Q.          Is there anything else beyond the prior plan and

   8      geography to measure compactness?

   9      A.          I think it spells it out pretty good.               Census

  10      block geography, natural geography gets into other

  11      aspects of it.

  12      Q.          I guess why -- was there a concern about using

  13      mathematical, statistical, or formula-based calculations

  14      to determine compactness?

  15      A.          No, I mean, I don't think so.            I mean,

  16      especially when you go back up to Section 4.                   That's

  17      more of the math, I would say.             The equal population

  18      deviation section that takes apart the population of the

  19      state and then the districts, that's -- I'd say this

  20      document is broken into -- that's more of a math part

  21      and this is more of a geographical part.




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3:21-cv-03302-MGL-TJH-RMG      Date Filed 04/29/22   Entry Number 249-1   Page 97 of 271




                                                                          Page 96

   1      Q.          Are you aware that there are ways to measure

   2      compactness for redistricting plans?

   3      A.          That doesn't surprise me.

   4      Q.          Did you or anyone in the committee look to any

   5      mathematical, statistical, or formula-based ways to

   6      assess it?

   7      A.          To assess compactness?

   8      Q.          Yes.

   9      A.          I mean, we looked at -- again, going back to the

  10      other section -- we would look at the amount of

  11      population obviously in a -- if you look at the map

  12      where it sits geographically, so in that extent, yes.

  13      Q.          How do you define natural geography, which is

  14      the subsection B portion in this definition?

  15      A.          Natural geography, I mean, it says including

  16      water, so river, lake.        In the upstate it could be -- I

  17      guess it could be a mountain.            We don't have many of

  18      those in the Pee Dee, you know, contour of the

  19      geography.

  20      Q.          I know you referenced in the first sentence of

  21      the second paragraph about compactness should be judged




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3:21-cv-03302-MGL-TJH-RMG    Date Filed 04/29/22   Entry Number 249-1    Page 98 of 271




                                                                        Page 97

   1      in part by the configuration of prior plans.                   Why was

   2      that determination made?

   3      A.          I think it goes back to the -- you have to have

   4      a starting point.      The prior plan was, for us, a

   5      starting point.      Obviously, we had to deal with changes

   6      in population and so forth, but that prior plan of

   7      establishing a starting point.              Also, a starting point

   8      that we knew had been previously proven to be legally

   9      sound.

 10       Q.          Was this same definition of measuring

 11       compactness identical or the same calculation that was

 12       used for the previous plan?

 13       A.          I don't recall.

 14       Q.          Did you look into it to see if it was the same?

 15       A.          I looked back at the previous -- many different

 16       things related to the previous process.                I just don't

 17       remember specifically as to that particular one.

 18       Q.          Did you do any assessment -- I mean, let me

 19       rephrase that.      Might there have been districts in the

 20       2010 plan that were not as compact for reasons such as

 21       compliance with federal law?




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3:21-cv-03302-MGL-TJH-RMG         Date Filed 04/29/22   Entry Number 249-1   Page 99 of 271




                                                                             Page 98

   1                  MS. HOLLINGSWORTH:         Object to the form.

   2                  THE WITNESS:      You're asking about the 2010 plan?

   3      BY MR. CUSICK:

   4      Q.          Yes.     Well, I guess I can sharpen that,

   5      hopefully, the question a little bit more.                 Did you have

   6      any concerns that some of those previous districts that

   7      were adopted in 2010 might not have been as compact or

   8      were not compact?

   9      A.          No.     Again, if it asks the legal standard in

  10      2010, to me that was a pretty big deal.                 I certainly --

  11      I looked at it as, you know, how can we make better what

  12      we know previously worked within the more up-to-date

  13      present information we have, such as the increase in

  14      population in some parts of the state and increase in

  15      population in other parts of the state.

  16      Q.          I'll now turn to Roman numeral VII, which is

  17      Communities of Interest.            And I'll have you, if it's

  18      helpful, have you take a moment to review, and then

  19      we'll just ask you a few questions about that.

  20      A.          Okay.

  21      Q.          How would you define communities of interest?




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3:21-cv-03302-MGL-TJH-RMG     Date Filed 04/29/22   Entry Number 249-1    Page 100 of
                                        271



                                                                         Page 99

 1      A.          I think this is a pretty good definition for our

 2      purposes today.      You know, it's a variety of things that

 3      go into common strands that pull together different

 4      groups within our state.

 5      Q.          During the -- I guess part of, from my

 6      understanding of your testimony, the public hearings

 7      from September to October were to help identify

 8      communities of interest; would that be fair?

 9      A.          Yes.

10      Q.          Did the Redistricting Committee compile a list

11      of identifiable communities of interest?

12      A.          There was a, as we've referenced before, many,

13      many, many public comments that came in that identified

14      that, so in a sense that were compiling as was every

15      submission compiled.

16      Q.          Were there any data synthesis that was created

17      to show the mapping of communities of interest?

18      A.          I'm not aware of any specific data.

19      Q.          I guess what factors determined -- let me

20      rephrase that.      If there was a conflict in testimony

21      among communities of interest in a defined area, did the




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3:21-cv-03302-MGL-TJH-RMG    Date Filed 04/29/22   Entry Number 249-1   Page 101 of
                                       271



                                                                   Page 100

 1      Redistricting Committee take any steps to probe that

 2      further?

 3      A.          When you say conflict, what exactly do you mean

 4      by that?      You mean competing communities of interest or

 5      do you mean --

 6      Q.          Yes.   Competing communities of interest within

 7      the same geographical area.

 8      A.          So, I would say remember this is one element of

 9      other elements, so it would be something that was

10      considered but it wouldn't necessarily if you have --

11      just give you an example.           If you had in that scenario

12      where two competing communities of interest, you would

13      also perhaps look at the geographical component as well

14      to determine what made the most amount of sense for

15      purposes of drawing the lines; that's just an example.

16      Q.          And then I'll turn to the next Roman numeral

17      VIII, which is Incumbency Consideration.                 Sorry, let me

18      make sure I'm there.        Before I get there, I realize I

19      mislabelled my Roman numerals.              I have a few more

20      questions on communities of interest for some of those

21      factors that would be considered.




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3:21-cv-03302-MGL-TJH-RMG     Date Filed 04/29/22   Entry Number 249-1   Page 102 of
                                        271



                                                                     Page 101

 1      A.          Sure.

 2      Q.          What does voting behavior mean, Representative

 3      Jordan, which is E under Communities of Interest?

 4      A.          That's one factor in a list of a bunch of

 5      factors that would be, I guess, come together to define

 6      that overall category, if that makes sense.

 7      Q.          I guess what is -- whose voting behaviors?            I

 8      guess what, like, what would be an example of voting

 9      behavior to define a community of interest?

10      A.          You're talking about individuals in that area

11      that -- whether or not they vote, choosing to vote,

12      participating in voting, that sort of thing, in my

13      opinion.

14      Q.          So that includes turnout?

15      A.          I don't know that you'd go as far as to say -- I

16      don't know if I'd go that far.           I don't know how we'd

17      really, in the context of redistricting, even know what

18      the turnout would be.       I don't know how we'd be able to

19      really determine that accurately or thoroughly.

20      Q.          So, when you said that you looked at

21      participation, what did you mean, then, in reference to




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3:21-cv-03302-MGL-TJH-RMG      Date Filed 04/29/22   Entry Number 249-1   Page 103 of
                                         271



                                                                      Page 102

 1      voting behavior?

 2      A.          Choosing to actually, you know, vote.            We had

 3      someone -- and, again, I'm speculating here -- if we had

 4      someone show up and say we don't -- for whatever reason,

 5      religious or otherwise -- we don't participate in

 6      voting, we don't believe we -- we don't vote, then that,

 7      I guess, could technically fall into that category.

 8      Q.          Does voting behavior encompass voting patterns?

 9      A.          Again, I don't know -- in this context, I don't

10      think so because I don't know we'd have a way to really

11      articulate that.

12      Q.          I guess for you as an individual member, not as

13      the redistricting chair, for you in voting for this

14      criteria, does voting behavior include voting patterns?

15      A.          No.   And, again, this is economic, social,

16      cultural, historically, it's one of a bunch of different

17      other factors that go into a very broad definition of

18      what is a community of interest.             Trying to be broad so

19      that -- in order to identify.

20      Q.          Does voting behavior include behavior by

21      political affiliation?




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3:21-cv-03302-MGL-TJH-RMG        Date Filed 04/29/22   Entry Number 249-1   Page 104 of
                                           271



                                                                        Page 103

 1      A.          Not to me.

 2      Q.          By race?

 3      A.          Not to me.

 4      Q.          And then for, as you just referenced, historical

 5      influences, what does that mean?               It's C, factor C.

 6      A.          There's certain communities that I would say are

 7      historical, and I've heard from several of them that

 8      said, you know, we're -- if you go back over time and

 9      we've been a community, and just jumping out at me, I

10      think an example would be like the Gullah community if

11      there was a particular region in the state of South

12      Carolina, and if a group came in and testified that this

13      is a -- that we're a community of interest, that would

14      just be an example.

15      Q.          Would this encompass what we talked about in the

16      earlier part of this deposition, any history of

17      discrimination?

18      A.          You can put it in that category.

19      Q.          Does economic, which is the first factor, A,

20      does that include income level?

21      A.          Yes, I think economic, again, like all these are




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3:21-cv-03302-MGL-TJH-RMG   Date Filed 04/29/22   Entry Number 249-1   Page 105 of
                                      271



                                                                  Page 104

 1      very broad terms that include a lot of different

 2      factors.

 3      Q.          Does it include occupation?

 4      A.          I don't know; I think you're getting a little

 5      too specific with a very broad spectrum, if that makes

 6      sense.

 7      Q.          Maybe I'll take it the other way, then:              Was

 8      occupation considered in the factors for communities of

 9      interest?

10      A.          No, I don't believe so.          Again, these are broad

11      terms to help get a sense of a community area as a

12      whole.

13      Q.          Is type of employment within these factors?

14      A.          No, I think you're getting right back to

15      occupation there again.         I think that's a little too

16      specific on a broad spectrum.

17      Q.          How about -- I think I heard you right -- would

18      historical neighborhoods be encompassed within these

19      factors?

20      A.          I would think so.      I mean, you don't want to --

21      one of the underlying concepts in my mind is to make it




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                                        271



                                                                        Page 105

 1      easy and sufficient for people to vote and to take an

 2      area that has -- a historic neighborhood business, if

 3      they're there for a long time -- and to have a situation

 4      where some people within that confines of that

 5      neighborhood are in one area and others are in a

 6      different, certainly that's unavoidable at times, but

 7      that should be considered in the process.

 8      Q.          And then at the end of these factors, it begins

 9      with the sentence, "County boundaries, municipality

10      boundaries, and precinct lines as represented by Census

11      Bureau's Voting Tabulation District lines may be

12      considered as evidence of communities of interests to be

13      balanced, but will be given no greater weight, as a

14      matter of state policy, than any other identifiable

15      communities of interest."           Did I read that correctly?

16      A.          I believe so.

17      Q.          Why should county boundaries, municipality

18      boundaries, and precinct lines be given no greater

19      weight than other identifiable communities of interest?

20      A.          Well, they're certainly factors, as are many

21      other things.      But at the end of the day, the underlying




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                                        271



                                                                     Page 106

 1      driving engine of this is the population.               And, so I

 2      think the underlying concept here is we're trying to act

 3      to that one person, one vote concept.               Trying to look at

 4      that in a way with a whole bunch of factors to make sure

 5      you hit that goal.

 6      Q.          Would it be fair to say that this is -- I guess,

 7      would the factors that we talked about, A through H in

 8      the beginning part of this, would those be the

 9      priorities for identifying communities of interest?

10      A.          I think this is a -- a very broad but a very

11      balanced or full list of what goes into describing these

12      interests, yes.

13      Q.          Does anywhere within these factors include

14      highways and interstates as a consideration for

15      communities of interest?

16      A.          In my mind, that goes back to the -- yes, it

17      can.    I mean, you have highways that sort of naturally

18      divide up communities, but at the same time, it's also

19      relevant to (inaudible).

20      Q.          Representative Jordan, are you aware of any

21      statements during the redistricting process that




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                                        271



                                                                     Page 107

 1      interstate highways might have been built to segregate

 2      communities of color?

 3      A.          I don't remember that.       I'm not saying it wasn't

 4      said, but I don't remember that specifically.

 5      Q.          Have you researched that issue before, or has it

 6      come across any of your work as an elected official?

 7      A.          I have not, has not.

 8      Q.          As you were involved in -- I guess, when you

 9      were drawing House District 63, in your current

10      district, how did you resolve any competing communities

11      of interest, if there were any?

12      A.          So, I'm not sure -- unfortunately, I'm not sure

13      if House District 63 is a great example because --

14      Q.          It's pretty small from what I see on the -- but

15      largely concentrated, yeah?

16      A.          Correct, and the other side of that is it's grew

17      sort of in proportion population-wise with the average,

18      statewide average.      So, therefore, it didn't need to

19      change a whole lot.      I certainly looked at it, but it

20      didn't need to change a whole lot to be compliant within

21      the deviation population lines.




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3:21-cv-03302-MGL-TJH-RMG      Date Filed 04/29/22   Entry Number 249-1   Page 109 of
                                         271



                                                                      Page 108

 1      Q.          How did the Ad Hoc Committee resolve, I guess,

 2      times when criteria might have been in conflict or

 3      tension with each other?         For example, something could

 4      be compact but it might mean it's less contiguous?

 5      A.          Sure.   You know, I point you back to the sort of

 6      the balancing test, I guess you'd say.               You can't have

 7      it all.      You know, you definitely want to make sure you

 8      comply with the law and with the population first, and

 9      from there sometimes you have to make tough choices.

10      Sometimes you have to, you know, put a line where you

11      wish that line could be just a little further over for

12      one reason or another.        But ultimately, you know, you

13      have to look at the entire criteria and come to a

14      conclusion of what's the best of the bad choices

15      sometimes.

16      Q.          And then in Roman numeral II, back again to the

17      top for federal law, the first sentence says,

18      "Redistricting plans shall also comply with federal law

19      and the Voting Rights Act of 1965 as amended."                Based on

20      this criteria, what do you understand as compliance with

21      the Voting Rights Act to entail?




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                                        271



                                                                       Page 109

 1                  MS. HOLLINGSWORTH:       Objection to form.

 2                  THE WITNESS:    I'd say it's twofold -- well, or

 3      most specifically, it's we're not going out and

 4      creating, the race being the driver in the decision of

 5      drawing the line.

 6      BY MR. CUSICK:

 7      Q.          So, if race is not the driving factor, that

 8      would mean a redistricting plan complies with the Voting

 9      Rights Act?

10      A.          Well, I mean, I can read it to you.            I think it

11      does a good job of explaining it: "Race may be a factor

12      considered in the creation of redistricting plans but it

13      shall not be the predominant factor motivating.                    "I

14      think that paragraph does a good job of explaining what

15      compliance in the eyes of the Voting Rights Act of '65

16      looks like.

17      Q.          So, it reads at the second portion, "shall not

18      unconstitutionally predominate."              What would be a

19      constitutionally permissible way for race to

20      predominate?

21                  MS. HOLLINGSWORTH:       Object to form.




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                                        271



                                                                       Page 110

 1                  THE WITNESS:    You know, it'd be difficult for me

 2      to come up with a hypothetical.              Certainly, if you

 3      wanted to give me a hypothetical, I can attempt to tell

 4      you, but I'm not a constitutional lawyer by any stretch

 5      of the imagination, myself, in practice.

 6      BY MR. CUSICK:

 7      Q.          Do you recall any statements that compliance

 8      with the Voting Rights Act might be a compelling reason

 9      for race to predominate and be constitutionally

10      permissible?

11      A.          I do not recall such a thing.

12                  MR. CUSICK:    I think I'll take a moment here,

13      Ms. Hollingsworth, and have a natural break.                I know

14      we're up at 12:40 right now and, you know, happy if we

15      want to break here.        I'm happy to still go.          I don't

16      have any exhibits for the next set of questions, but

17      also I know that Representative Jordan has been going at

18      this for some time.        So, it's whatever you think makes

19      more sense.

20                  MS. HOLLINGSWORTH:       Yeah, I think now is fine to

21      take a lunch break.




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                                        271



                                                                        Page 111

 1                  MR. CUSICK:     Sure, and we can go off record.

 2                  VIDEOGRAPHER:     Okay.      Off the record at

 3      12:41 p.m.

 4                  (Lunch recess was taken.)

 5                  VIDEOGRAPHER:     This is the beginning of media

 6      unit number 3.      Back on the video record at 1:30 p.m.

 7      BY MR. CUSICK:

 8      Q.          Hey, Representative Jordan, it's good to see you

 9      back from break.      I now want to talk just a little bit

10      about the redistricting committee's public hearings.

11      We'd talked in broad strokes about them from September

12      8th, which was the first one, to the October 4th final

13      two in Columbia.      Do you recall those hearings

14      generally?

15      A.          I do.

16      Q.          Before -- between the adoption of the criteria

17      that we talked about just before we broke for lunch, on

18      August 3rd, and the first meeting on September 8th, did

19      the Redistricting Committee create any public education

20      materials about redistricting?

21      A.          No, I don't believe so.           I do recall talking to




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                                        271



                                                                     Page 112

 1      a few different representatives who were going to

 2      encourage people in their area to let people know that

 3      there was an opportunity for a public hearing.               But, no,

 4      the answer to your question is, not to my knowledge.

 5      Q.          And was -- during that same time period from

 6      August 3rd to September 8th, were there any efforts by

 7      the Redistricting Committee to advertise the hearings or

 8      publicize them in forums or newspapers or social media?

 9      A.          I don't believe there were any -- you know, I

10      think we put them on the website and we sent e-mails to

11      House members to let them know, and the idea, if I

12      remember correctly, was to use the members of the House

13      as sort of a vehicle to help with that.             Also, I think

14      we received inquiries from folks during that time about

15      different things and, of course, we would respond to

16      those and let those folks know.

17      Q.          Now, I know initially, from my recollection, the

18      10 or 11 meetings, there was only going to be one option

19      that had remote testimony; do you recall that?

20      A.          That's a good question.         Would it be possible to

21      get Mr. Cusick back on the screen so I can see him?




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                                        271



                                                                        Page 113

 1                  MS. HOLLINGSWORTH:        John, we don't have you on

 2      video.

 3                  THE WITNESS:     It's just easier to see and hear

 4      the question.

 5                  MR. CUSICK:     Oh, that's weird.          Am I not on

 6      video for others?

 7                  COURT REPORTER:      You are.        You might just need

 8      to change your view to gallery.

 9                  MR. CUSICK:     At least for me it's on gallery.

10                  COURT REPORTER:      Correct for me as well.            I can

11      see you.

12                  MR. BURCHSTEAD:      I see you on video.

13                  MS. HOLLINGSWORTH:        I don't know how it's

14      changed from earlier.         It doesn't show -- it only shows

15      the two participants.

16                  MR. CUSICK:     We can go off record for a moment.

17                  VIDEOGRAPHER:     Off the record at 1:35 p.m.

18                  (Off the record discussion was had.)

19                  VIDEOGRAPHER:     Back on the record at 1:36 p.m.

20      BY MR. CUSICK:

21      Q.          Representative Jordan, I'll repeat the question.




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                                        271



                                                                     Page 114

 1      We were talking about those public hearings from the 8th

 2      to October 4th, and do you recall that initially only

 3      one of those hearings was going to have remote testimony

 4      options for folks to testify at?

 5      A.          I do.

 6      Q.          Why did only one of the hearings initially have

 7      an option for remote testimony?

 8      A.          My thought, honestly, was it would be adding a

 9      layer of technical issues, and my experience has been

10      that's usually a recipe for a mess when you try to do it

11      on the road, so to speak.         By allowing folks the

12      opportunity to come out in person by literally going all

13      across the state, that would provide sort of an

14      in-person opportunity.       And then for anyone and everyone

15      who either wasn't available on that particular night in

16      their area or couldn't get out and come to a meeting,

17      then we would provide another opportunity for those

18      folks to participate through another medium.

19      Q.          Do you think remote testimony options are a

20      useful tool generally?

21      A.          I do.




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                                        271



                                                                         Page 115

 1      Q.          I know that I might mess up the name, is it the

 2      Election Law Subcommittee?            Is that the other one you're

 3      a member of?

 4      A.          That's right.

 5      Q.          And do they use remote options for testimony?

 6      A.          At times we have.       Not all the time but at

 7      times.

 8      Q.          I know you mentioned a concern about the

 9      technological aspect.         Did you, at all, assess whether

10      it would have been feasible to set up remote options at

11      any of the other physical locations where the meetings

12      were held?

13      A.          Well, yes and no.       It was -- I definitely

14      considered it and discussed it with some folks.                     I'll

15      point you back to my prior testimony when establishing

16      every location was a moving target.                    I think we got --

17      even a couple of the locations weren't finalized until

18      we were pretty close to the beginning of the tour.                      So,

19      I think that moving target, so to speak, played a factor

20      in it, and I can give you an example too.                    The very

21      first meeting the Ad Hoc Committee had, we were delayed




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                                        271



                                                                     Page 116

 1      by about 30 minutes because of a technology issue.                So,

 2      all those things kind of put together, in my mind, made

 3      it feasible to, again, have these multitude of meetings

 4      in person across the state and then provide another

 5      remote meeting.

 6      Q.          I know you referred to yourself in that

 7      decision.      Was that your decision as chair, or did other

 8      committee members have a say or influence the decision?

 9      A.          I discussed it and I think we even discussed it

10      on the record at least on one occasion, but ultimately I

11      believe it was my decision.

12      Q.          Do you agree that having only an in-person

13      option for concern meetings would limit participation

14      for those who couldn't attend in the physical location?

15      A.          I would agree with that if there were not remote

16      sessions offered, yes.

17      Q.          Who made the determination that some of the

18      meetings would be held from 6:00 to 8:00 p.m.?

19      A.          I'd say that was very similar to the technology

20      aspect of it.      I mean, I probably talked it over but,

21      ultimately, I think the final decision -- you know, I




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3:21-cv-03302-MGL-TJH-RMG     Date Filed 04/29/22   Entry Number 249-1   Page 118 of
                                        271



                                                                     Page 117

 1      certainly consulted several people -- but I think the

 2      final decision probably rested with me.

 3      Q.          Do you recall any oral or written feedback that

 4      you received during these hearings about people being

 5      unable to attend in person?

 6      A.          I think I could probably say I got feedback on

 7      -- I probably got feedback during the course of this

 8      thing for every way we did it and against every way we

 9      did it, so, yes.

10      Q.          I know you've talked about some of the

11      constraints with COVID on locations for where you could

12      hold the hearings.      But, I guess, before that

13      determination, what factors went into what cities or

14      counties the hearings would be physically held in?

15      A.          So, I looked back at the locations of the prior

16      redistricting.      For 2010, there was, in fact, public

17      hearings offered across the state.             I also looked at the

18      Senate, you know, they were a little bit ahead of us on

19      a time line.      They actually chose to begin their tour

20      prior to we did by just a little bit.               So I looked at

21      where the House had been previously, where the Senate




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3:21-cv-03302-MGL-TJH-RMG        Date Filed 04/29/22   Entry Number 249-1   Page 119 of
                                           271



                                                                        Page 118

 1      was going, their schedule, and then tried to make sure

 2      we were in enough places that were geographically spread

 3      apart but also near places where people could get to, if

 4      that makes sense.

 5      Q.          Were you aware that the Senate had remote

 6      options for their public hearings?

 7      A.          Yes.

 8      Q.          Did you at all ever discuss or talk about how

 9      they went about doing that?

10      A.          Did I discuss with the Senate?

11      Q.          Any of the folks who were involved on the Senate

12      side with, you know, coordinating those public hearings.

13      A.          I did not.

14      Q.          From your side who -- I think I might have heard

15      this before -- would Ms. Dean be the primary person that

16      would have information on the coordination of the

17      physical locations, or would that be someone else within

18      -- another staff member?

19      A.          That would be Ms. Dean.            She was the primary

20      person for purposes, you know, I would say of -- if we

21      looked at and said we want to go to Florence, then she




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                                        271



                                                                        Page 119

 1      would look and say, all right, this is where we went in

 2      Florence, and she'll communicate with that venue to see

 3      if they were available and would let us come.

 4      Q.          You mentioned looking back at -- did I hear you

 5      right, there were public hearings during the 2010-2011

 6      redistricting cycle on the House side?

 7      A.          That's right.

 8      Q.          Did you look at any -- I guess, or was there any

 9      record of public testimony that was available to review

10      from that cycle?

11      A.          I'm not aware if there was or not.             I did not

12      see any.

13      Q.          Did you review any other documents related to

14      redistricting in 2010, in that redistricting cycle, that

15      impact or relate to the House districts from 2010?

16                  MS. HOLLINGSWORTH:        Object to the form.

17                  THE WITNESS:     You know, much of the case law I

18      would -- pertaining to 2010, as it was in existence

19      prior to that so, I guess that -- I mean, if you're

20      asking specifically to, you know, the 2010 process, I

21      did not look at a great deal of information directly




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3:21-cv-03302-MGL-TJH-RMG     Date Filed 04/29/22   Entry Number 249-1   Page 121 of
                                        271



                                                                      Page 120

 1      connected to how the House did it then.

 2      BY MR. CUSICK:

 3      Q.          Did you at all review the pre-clearance

 4      submission from 2010?

 5      A.          I'm aware of its existence, but I did not review

 6      it specifically.

 7      Q.          Do you know if it was available publicly online

 8      anywhere?

 9      A.          I do not know.

10      Q.          During the -- I'll jump back now to the

11      September 8th to October hearings.             During the physical

12      hearings, did you at all, or the committee, collect

13      written testimony?

14      A.          Yes, we requested or, you know, I encouraged it

15      in the meetings.      I think at every meeting I would say,

16      if you would like to submit written testimony, the

17      committee would be glad to take it.                 There were many

18      people that took the time to prepare their comments in

19      writing and would come to the meeting.                 And from my

20      perspective, that would make it easier to go back and

21      look at those once we got further down the road.                 So,




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                                         271



                                                                      Page 121

 1      yes, that did take place and we did encourage that.

 2      Q.          Where were all the written testimony and those

 3      documents stored or housed that you collected during

 4      those meetings, or was that submitted?

 5      A.          It would be submitted and then it would be in

 6      the care of the Judiciary Committee.

 7      Q.          Were those written comments ever publicly shared

 8      or publicly posted?

 9      A.          I don't think they were publicly posted.              They

10      were available to the members of the committee.

11      Q.          Do you think there would have been any benefit

12      to including those on the Ad Hoc committee's website,

13      public and written testimony?

14      A.          As I look back, I don't know that it would have

15      been helpful or harmful.

16      Q.          Are you aware whether the Senate published

17      written comments that it received with redistricting

18      plans and feedback?

19      A.          I'm not.

20      Q.          After you received all of the written comments

21      and oral testimony during these hearings, what did the




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                                       271



                                                                   Page 122

 1      Redistricting Committee do with the transcripts and the

 2      written documents?

 3      A.          The comments were compiled and are in the

 4      possession of the House Judiciary Committee from when

 5      they came in.       Members of the committee had the

 6      opportunity to go and review or see those comments for

 7      review and consideration moving forward.

 8      Q.          Did any staff members synthesize those comments

 9      or provide key themes that were raised?

10      A.          No, I don't think it was any kind of summary or

11      anything like that.        I will say, when you go around the

12      state, you hear the same thing repeatedly sometimes.

13      But nothing was done by staff to synthesize

14      particularly.

15      Q.          I won't hold you to knowing what other members

16      reviewed, but did you review all the comments that were

17      submitted during those hearings?

18      A.          I hesitate to say all just because, you know,

19      but I reviewed hundreds and hundreds of submissions,

20      yes.

21      Q.          Was the storage of those documents, were those




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                                        271



                                                                     Page 123

 1      ever shared or accessible to members outside of the

 2      Redistricting Committee?

 3      A.          I don't know the answer to that, I don't recall.

 4      Q.          Might that be a question that Ms. Dean would

 5      know?

 6      A.          She would probably be able to tell you who had

 7      access to reviewing those documents.

 8      Q.          Were any of those documents available in the map

 9      room?

10      A.          I don't believe they were in the map room.            I

11      think if you didn't get a hard copy like I did, then you

12      would need to go to the Judiciary Committee, which was

13      not in the map room, obviously.

14      Q.          I'm now going to just briefly ask you a couple

15      of questions about letters that were sent to the

16      Redistricting Ad Hoc Committee and House Judiciary

17      Committees.      I have uploaded these in Veritext, the

18      Exhibit Share, and the first one's marked as Exhibit 5,

19      and the heading is, Duty to Comply with U.S.

20      Constitution and Voting Rights Act and Recommendations

21      for Transparency, Public Involvement, and Fair




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                                        271



                                                                     Page 124

 1      Representation in South Carolina's Redistricting Process

 2      as Plaintiffs' Exhibit 5.         I'm not going to ask you

 3      about the specific content in here, Representative

 4      Jordan, but please feel free to review it just to see if

 5      it at all helps refresh your recollection if you

 6      remember reviewing this document at some point.

 7      A.          Yes, I remember this document.

 8                  (Exhibit 5 marked for identification and

 9      attached to the transcript.)

10      Q.          And you'll have to bear with me because I'm

11      going to do this for three more letters.             So this is

12      what I've marked as Exhibit 6, which is another letter

13      titled, Follow-up Recommendations for Transparency,

14      Public Involvement, and Fair Representation in South

15      Carolina's Redistricting Process, which was sent to the

16      Redistricting Ad Hoc Committee, Judiciary Committee on

17      August 30, 2021, and this is Plaintiffs' Exhibit 6.

18      Again, Representative Jordan, take a moment to review

19      this document to see if this is something that you

20      remember at some point receiving or reviewing?

21      A.          Yes, I remember this document as well.




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3:21-cv-03302-MGL-TJH-RMG     Date Filed 04/29/22   Entry Number 249-1   Page 126 of
                                        271



                                                                     Page 125

 1                  (Exhibit 6 marked for identification and

 2      attached to the transcript.)

 3      Q.          We're more than halfway there, so here's the

 4      third one that I'll have to do, but I feel like at least

 5      I'm not asking questions about the document itself.

 6      This is marked as Plaintiffs' Exhibit 7 and the letter's

 7      titled, Follow-up on Recommendations for Transparency,

 8      Public Involvement, and Fair Representation in South

 9      Carolina's Redistricting Process and was sent to the

10      Redistricting Ad Hoc and the House Judiciary Committees

11      on September 27, 2021.       Representative Jordan, take a

12      moment to review this document to see if you recall at

13      some point receiving and reviewing it?

14      A.          Yes, this feels familiar as well.

15                  (Exhibit 7 marked for identification and

16      attached to the transcript.)

17      Q.          And the final one, which is Plaintiffs' Exhibit

18      8, this document is labeled, Submitting Proposed

19      Congressional and House Maps, and it was sent to the

20      Redistricting Ad Hoc and House Judiciary Committees on

21      October 8, 2021.      I'll let you take a moment to review




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                                        271



                                                                     Page 126

 1      this, Representative Jordan, just to see if you remember

 2      receiving and reviewing these documents.

 3      A.          Yes, this feels familiar as well.

 4                  (Exhibit 8 marked for identification and

 5      attached to the transcript.)

 6      Q.          And do you recall at some point reviewing a

 7      state legislative House map that was proposed by the

 8      South Carolina State Conference of the NAACP?

 9      A.          I do.

10      Q.          I now want to get to questions about the map

11      room to help me understand just a little bit more about

12      what it means, and we're done with those four exhibits.

13      So, I'm wondering if you could tell me what is the map

14      room, Representative Jordan; how would you describe it?

15      A.          The map room is the area in which computers are

16      located so that members can go in and see on a screen

17      where the population of -- where the people of South

18      Carolina live and see -- I'm going back in time now, but

19      the process of going in the map room is to see what

20      their districts that they represented looked like and

21      where the population was and is currently in order to be




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                                        271



                                                                      Page 127

 1      able to then make or draft a district proposed -- in

 2      order to propose a district.

 3      Q.          So who, I guess, who oversaw or who was

 4      responsible for overseeing the map room or the processes

 5      within the map room?

 6      A.          So, the Ad Hoc Committee, just like we adopted

 7      criteria, we adopted map room procedures in order so

 8      that the map room process could flow efficiently.                 So, I

 9      guess I'd start with those procedures were established

10      by the Ad Hoc Committee, and then primarily staff would

11      be in charge of kind of conducting the day-to-day,

12      making sure the map room was open and appointments, you

13      know, take place, et cetera.

14      Q.          And would it be fair to say all 124 legislators

15      had access to the map room, House Representative

16      legislators, had access to the map room if they so

17      requested?

18      A.          Absolutely.

19      Q.          Was there anyone outside of the House or the

20      Redistricting Committee staff and representatives who

21      had access to the map room?




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                                        271



                                                                        Page 128

 1      A.          Run through that list again, members of the

 2      House, staff?

 3      Q.          Yep, just those two buckets.

 4      A.          Not that I can think of.

 5      Q.          And I've seen -- well, hopefully you can correct

 6      me -- I've seen the name Thomas, is it Hager or Hager?

 7      A.          Close enough.

 8      Q.          First, Hager or Hager?

 9      A.          I've heard it said many, many, many different

10      ways.

11      Q.          Fair enough.

12      A.          And he doesn't usually correct anyone.

13      Q.          What was his role within the map room?

14      A.          I would refer to him as sort of the chief

15      technical person.      He would be the person in the room

16      with the skill set to operate the equipment.                 It's not

17      unsophisticated.

18      Q.          What's his title?

19      A.          I don't have it in front of me.            Again he'd be,

20      in my mind, the chief technical person.

21      Q.          From your understanding and interactions in the




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                                         271



                                                                      Page 129

 1      map room, was he providing any input into drawing maps,

 2      or was he solely drawing the maps from a technical

 3      perspective at the direction of House Representatives?

 4      A.          The latter, he would obviously tell a member

 5      you've drawn out a deviation, that sort of thing, but

 6      for purposes of drawing a district, he was there simply

 7      to assist a member to do what they directed him to do.

 8      Q.          Got it.   So, he would primarily offer, to the

 9      extent as we talked about earlier, the standard

10      population deviation, if there were any concerns within

11      the proposed map?

12      A.          Correct, and, I guess, he could assist in the

13      sense of -- bear in mind I include myself in this -- if

14      an individual member goes in, they might say put that

15      block here.      Well, that's 10,000 people in that block,

16      that's not going to work.          So, he could assist in that

17      respect, but not telling them do this, do that, so to

18      speak.

19      Q.          I'm going to go through a couple of other names

20      and please correct me if I pronounce anything wrong, but

21      do you know who Sarah Grace Williamson is?




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                                         271



                                                                      Page 130

 1      A.          I believe she was one of the interns.

 2      Q.          An intern that -- I guess, what would her role

 3      have been within map room processes or procedures?

 4      A.          So in the map room, if I remember correctly,

 5      there was three stations.          So, Thomas is obviously, like

 6      I said, sort of the chief technical person, but he had

 7      interns that would assist and then would -- he couldn't

 8      sit with everyone all the time, obviously, either.                 So

 9      the intern would sit with the member and, you know, the

10      member would say click here, click there, and they would

11      operate the equipment.

12      Q.          Got it.   Do you know where -- were the interns

13      in college, grad school?

14      A.          I believe most were in college.

15      Q.          Do you know who Jolie Eliza Dequit is?

16      A.          Intern as well.

17      Q.          Intern?

18      A.          I believe intern.

19      Q.          And then Megan Goyak or Goyak?

20      A.          I believe intern.

21      Q.          Daniel Englee, Englea?




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                                        271



                                                                    Page 131

 1      A.          That doesn't jump out to me.

 2      Q.          Sebastian Bass?

 3      A.          I believe intern.

 4      Q.          Did anyone from the governor's office have

 5      access to the map room related to the House districts?

 6      A.          No, I do not believe so.

 7      Q.          Did Mr. Dennis have access to the map room?

 8      A.          He did.

 9      Q.          How would you describe his role within the map

10      room?

11      A.          I'd say within the confines of the map room, I

12      think one of his titles is chief legal counsel to the

13      House.      So, as an attorney to essentially every member

14      of the House, he would be -- he would have access in

15      that respect.

16      Q.          I guess from your interactions in the map room

17      and, again, not going into any of the content of the

18      discussions, did he provide any feedback or guidance on

19      maps that you proposed for House District 63?

20      A.          I don't believe he did for 63, no.              Again, I'll

21      point you back to my prior testimony:                 63 is a small




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                                           271



                                                                        Page 132

 1      geographic area to start with.              The population kept up,

 2      essentially, with the average pace of South Carolina.

 3      My time working on 63 was pretty limited.                 I think I met

 4      one time with -- I might have looked at it maybe two or

 5      three times.

 6      Q.          Was there a process for signing up to the map

 7      room?

 8      A.          There was.

 9      Q.          Was that another responsibility that Ms. Dean

10      would have been in charge of?

11      A.          It would have floated -- that process would have

12      floated through the Judiciary Committee, so to that

13      extent, yes.

14      Q.          I know that you mentioned you did not maybe

15      spend a lot of time in the map room, but how many times

16      did you visit it to draw maps that you proposed?

17      A.          I was in the map room a fair amount.             My

18      testimony was, or was meant to be just for District 63,

19      I wasn't there a ton, but I was in the map room a fair

20      amount.

21      Q.          I guess, what was your role within the map room




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                                        271



                                                                     Page 133

 1      outside of proposing any maps for House District 63?

 2      A.          Just as the chair of the committee and make sure

 3      everything was flowing like it should, you know, people

 4      -- efficiency.      And I'm sure we'll get to this in a

 5      little bit, but this was sort of a tiered process.                As

 6      members would come in and draw drafts of districts,

 7      eventually, you have to connect that district to other

 8      districts and those areas of the state to other parts of

 9      the state, and I participated in that as well.

10      Q.          I guess to the extent you recall, do you know

11      how many interactions or how many days you were

12      interacting with folks in the map room during the

13      process?

14      A.          I mean, it'd be speculation.            If the map room

15      was open for, let's say, 30 days, I was probably in

16      there 7 or 8 of those days, maybe a little more.

17      Q.          Did you offer at all any feedback or guidance on

18      how proposed maps might comply with the redistricting

19      criteria or guidelines?

20      A.          Well, bear in mind that, again, back at that

21      starting point, for the most part, districts started




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                                        271



                                                                     Page 134

 1      from where they were drawn ten years ago, and then

 2      members would draw their -- sort of draw their districts

 3      or draw the district they represented in ways to comply

 4      so -- within the deviation -- so at times, yes.

 5      Q.          Do you recall, were there any concerns or

 6      complaints about the map room process that were brought

 7      to your attention?

 8      A.          Not that I recall.

 9      Q.          I guess, if you could walk me through, you know,

10      if you were a legislator that was just going for the

11      purpose of drawing your House district, what would that

12      process -- you've already signed up, you're going into

13      the map room -- what would that entail?

14      A.          You show up at your appointed time, you sign in,

15      you sit with a technician, could be an intern, could be

16      Thomas.      They pull up on the screen the district,

17      essentially, and then from there you're looking at

18      really a point-and-click kind of thing to either remove

19      population out of your area to get yourself into a

20      compliance as far as a deviation goes, or you're

21      clicking population into your area to try and increase




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                                        271



                                                                       Page 135

 1      your population into compliance.              And then during the

 2      course of that process, you have the opportunity, when

 3      you so choose, if you so choose, to say, all right, I

 4      want to save this version as something to hold on to and

 5      consider.      Some members might save one, some might save

 6      five or six, that's kind of a standard meeting -- or

 7      attendance, if that makes sense.

 8      Q.          Yes, I just want to make sure there wasn't

 9      anything else.      When folks were in the map room and

10      drawing these or asking for assistance to draw maps, was

11      the primary consideration whether it complied with the

12      total population standard, at least for the initial

13      proposed maps?

14      A.          That was certainly at the core of it.             Again, we

15      have that criteria, but remember also you're starting

16      from a place that complied with the criteria.                 So, I'd

17      say it's all baked in the cake.

18                  COURT REPORTER:     I'm sorry, it's all based on

19      what?

20                  THE WITNESS:    Baked in the cake.

21      BY MR. CUSICK:




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                                        271



                                                                     Page 136

 1      Q.          Did -- in the maps that were drawn by each

 2      member initially, were there opportunities to include

 3      notes or explanations for why a district might be drawn

 4      a certain way?

 5      A.          I don't believe so.      I think it was just, you

 6      could say, the technical version of the map.

 7      Q.          Was there -- I guess, did -- was there anything

 8      where folks could identify communities of interest that

 9      they were trying to preserve in the drafts that they

10      drew?

11      A.          Well, bear in mind most of these folks were --

12      or all these folks were current representatives, so they

13      knew their area, for the most part, pretty good.                 Most

14      of the meetings as I can recall sitting in on or being

15      in the room, a member could look at a map and say, well,

16      the so-and-so community or that's -- there's a lot of

17      institutional knowledge with the minds of the member as

18      to the geographical footprint of the district they

19      represent.

20      Q.          And I know you mentioned -- we'll talk about the

21      tiered process, but for the initial maps that were




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                                        271



                                                                     Page 137

 1      drawn, did legislators all have access to review ones

 2      that other legislators drew, or was there -- I guess,

 3      let me rephrase that.       Was there, like, a place where

 4      all the maps were housed that legislators could look to

 5      draw House district maps?

 6      A.          You really -- you had access to your map.            Now,

 7      many, many legislators would come with either members of

 8      their delegation or their entire deligation on a few

 9      occasions or perhaps their neighboring -- wasn't a whole

10      deligation, might perhaps be their neighboring district

11      member, so to speak.       So, you know, some of this, a lot

12      of things happen in concert in that context.              So, to

13      that degree, you would have access to the other

14      versions, but not if -- not unless you basically said it

15      was okay to share your work product.

16      Q.          Did you, for your delegation in the districts

17      that neighbored yours, did you go to the map room with

18      those representatives to talk about it?

19      A.          I had several conversations during the course of

20      it.   I don't think we were -- I can't remember if we

21      were all there together or not, to be honest with you.




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                                        271



                                                                     Page 138

 1      But I know for -- in my delegation, it would be Philip

 2      Loe, Roger Kurby, and Terry Alexander.              And I had

 3      communications with all those individuals related to

 4      Florence County.

 5      Q.          Do you recall when the map room process ended or

 6      -- I guess, let me rephrase that.             How long did the map

 7      room process take place over the course of -- generally?

 8      A.          It was about a month.

 9      Q.          I'm now going to pull up, and hopefully it

10      should be in Exhibit Share, what's marked as 2021

11      Redistricting Map Room Policies and Procedures, which

12      has a Bates stamp numbering of SC_HOUSE_0091425 through

13      0091426 as Plaintiff Exhibit 6.             Let me know if you were

14      able to pull that document up, Representative Jordan?

15      A.          Yes.

16                  (Exhibit 9 marked for identification and

17      attached to the transcript.)

18      Q.          Is this the document you referred to before

19      about the policies and procedures that the Redistricting

20      Committee created for the map room?

21      A.          Yes.




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3:21-cv-03302-MGL-TJH-RMG      Date Filed 04/29/22   Entry Number 249-1   Page 140 of
                                         271



                                                                     Page 139

 1      Q.          I'd like to turn to what's marked as, I guess,

 2      paragraph or bullet 11, which carries over on pages 1

 3      and 2.      Let me know when you -- if you want to have a

 4      chance just to review that real quickly.

 5      A.          Okay.

 6      Q.          So, in the -- I think it's the last sentence.

 7      It beings with, "Although any demographic or political

 8      data."      Do you see that, the last full sentence?

 9      A.          Yes.

10      Q.          What demographic data was available through the

11      redistricting software?

12      A.          Honestly, I can't tell you the total -- that'd

13      probably be a better question for someone with a little

14      more technical skill than me.                When I was in the map

15      room, I don't recall that question being answered or

16      being asked in front of me.

17      Q.          And maybe you'll have the same answer but, do

18      you know what political data is referenced here in the

19      next one?

20      A.          I don't.

21      Q.          And then in the last portion of this sentence,




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                                          271



                                                                       Page 140

 1      it says that, "Printed maps reflecting racial,

 2      political, or other demographic data will not be made

 3      available."        Do you see that?

 4      A.          Yes.

 5      Q.          What does that refer to when it says racial

 6      demographic data would not be made available on printed

 7      maps?

 8      A.          So, when you draw a proposed district then you

 9      can print out -- you say I want to save that district,

10      you could have it printed.           And, so I'm assuming that's

11      to mean that data would not be available in print form

12      on that map.

13      Q.          When you were reviewing proposed maps, could you

14      see any data about the Black population or Black voting

15      age population in the software?

16      A.          I believe the software had the capability, but

17      most of the time when I was in there, folks focused on

18      deviation of the overall population.

19      Q.          And then in the second full sentence in this

20      paragraph, it states, "Additional copies will be

21      available if approved by Speaker Lucas or Chairman




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3:21-cv-03302-MGL-TJH-RMG        Date Filed 04/29/22   Entry Number 249-1   Page 142 of
                                           271



                                                                        Page 141

 1      Murphy."      Did I read that correctly?

 2      A.          You did.

 3      Q.          Do you know what it means here by approved?

 4      A.          If I remember correctly, this was just a way --

 5      we didn't want folks coming in and saying I want 1,000

 6      copies.      This was an efficiency kind of thing.

 7      Q.          Got it.     So, it's mainly just to avoid having

 8      many maps that were drawn and printed out?

 9      A.          Correct.

10      Q.          Okay.     I guess now maybe -- and I know you

11      referenced earlier about the tier process.                 So, the map

12      room process ends, I think it was sometime in the first

13      week of November.         What happened with all the proposed

14      maps that were drawn and saved?

15      A.          So, those were essentially compiled.             From

16      there, we have to get to a working sort of -- again,

17      sort of another -- a starting point for the next phase.

18      Once that map room closes, then you -- I think the next

19      thing to pop up would have been the staff plan, staff

20      House plan.         That would be the next thing, if I remember

21      correctly, in the time line.




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3:21-cv-03302-MGL-TJH-RMG         Date Filed 04/29/22   Entry Number 249-1   Page 143 of
                                            271



                                                                         Page 142

 1      Q.          Got it.   So, would it be fair to say that tier 1

 2      was the map room, in the sense of all potential maps

 3      were drawn there?

 4      A.          Yes.

 5      Q.          And then the tier 2 process involved creating an

 6      initial working draft of a full map?

 7      A.          Yes, but I'm leaving out one part in there.                So,

 8      part of piecing it all together was also folks would

 9      draw their districts, and many times they would take

10      into consideration or, as I said, work in concert with

11      their neighbors or delegations.                 But you still have to

12      sort of fine-tune connecting points.                    I'd say that was

13      sort of done in two phases.              Thomas, as the most

14      technically sophisticated, was able to do much of that,

15      and then the Ad Hoc Committee also helped participate in

16      that part of the process as well.

17      Q.          And were those two sub-phases, if you will, were

18      those -- those were parts after the map room process

19      closed?

20      A.          Yes.   Yes.

21      Q.          And, I guess, as the maps were being compiled,




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                                        271



                                                                     Page 143

 1      who oversaw that process of putting together a working

 2      draft, or who was responsible for organizing,

 3      facilitating that initial draft?

 4      A.          You know, again, I think it's sort of two parts.

 5      On the one hand, I would communicate with the Ad Hoc

 6      Committee member in that area of the state.              It'd help

 7      in connecting the sort of -- I guess the joints of the

 8      map, so to speak.      So, on more than a few occasions,

 9      you'd get two members of the Ad Hoc Committee whose

10      areas connected up, and they would sit down and sort of

11      see how the points on the map would connect to each

12      other.      And then also, you also have going on

13      simultaneously, or in addition to that, staff

14      fine-tuning that as well.         I mean, it's a lot of moving

15      parts.      It's not -- it's just a lot happens, kind of

16      thing.      It's got a lot of moving parts.

17      Q.          So in this tier 2 phase of creating the map,

18      I've heard Mr. Hager, Ad Hoc Committee folks and stuff.

19      Was anyone else outside of the Ad Hoc Committee involved

20      in pulling together the initial plan working draft?

21      A.          I'd say that the staff and Ad Hoc Committee




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3:21-cv-03302-MGL-TJH-RMG       Date Filed 04/29/22   Entry Number 249-1   Page 145 of
                                          271



                                                                       Page 144

 1      would be the primary components, yes.

 2      Q.          Who else outside of that would -- who outside of

 3      that was involved?

 4      A.          That's essentially it.

 5      Q.          Did -- I guess, Representative Murphy have any

 6      role in developing that initial plan?

 7      A.          No, I don't think -- at that juncture,

 8      Chairman Murphy didn't really have much to do with that

 9      part of it.

10      Q.          Speaker Lucas?

11      A.          I think the speaker did help a little bit in his

12      part of the state, but not necessarily on the whole.

13      Q.          Mr. Dennis?

14      A.          I believe he was in and out of the process at

15      times.

16      Q.          What about Nexsen Pruet?

17      A.          As counsel, legal counsel, they were really in

18      and out of the entire process, so that's the easiest way

19      to say that.

20      Q.          Got it.    So, I'm just trying to figure out the

21      process point.        So, all the maps were there, the group




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3:21-cv-03302-MGL-TJH-RMG   Date Filed 04/29/22   Entry Number 249-1   Page 146 of
                                      271



                                                                  Page 145

 1      of people you listed was working through an initial

 2      draft plan.      Were legislators notified on the status of

 3      their proposed maps, on which ones either had been

 4      accepted, or were there any questions about proposed

 5      maps that the committee reached out to folks about?

 6      A.          I don't remember, myself, getting any specific

 7      questions.      I mean, I think the more you work with your

 8      neighbor or your delegation, the more you probably had

 9      an understanding of where -- I can give you -- Horry

10      County, for example, their delegation came in and met,

11      and I don't think really anything was done to that

12      corner of the state after their working together on it.

13      It fit within the parameters and so didn't really need

14      any fine-tuning, if that makes sense.               If you didn't

15      communicate with your neighbor or your delegation, then

16      that made it a little more difficult to make everything

17      match up within the deviation.

18      Q.          Did any of the public proposed maps influence

19      the initial working draft?

20      A.          You mean the maps or the comments?

21      Q.          For public maps that were submitted by members




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3:21-cv-03302-MGL-TJH-RMG     Date Filed 04/29/22      Entry Number 249-1   Page 147 of
                                        271



                                                                        Page 146

 1      of the public.

 2      A.          So, I can only speak to me but, yes, I reviewed

 3      those maps and took into consideration different aspects

 4      that they brought to the table, I'm sure.

 5      Q.          If there were disagreements or a delegation

 6      among its members couldn't resolve district lines, what

 7      was the process or who made determinations to resolve

 8      those conflicts?

 9      A.          I don't know.     Again, if you're talking about,

10      like, for instance, like (inaudible) they worked it out

11      amongst themselves, essentially, by communicating and

12      drawing.      And I'm not aware off the top of my head of a

13      specific example of having to say, you know -- choosing

14      an A or a B.      I'd point you back to the process.                Once

15      the staff proposal is out there, then the committee had

16      to adopt it, and amendments are available to the members

17      of the Ad Hoc Committee, and then as the process goes

18      forward, the full Judiciary -- a member of Judiciary has

19      the opportunity to offer an amendment, and then as we go

20      forward, a member of the House of Representatives has

21      the ability to offer an amendment to the process.                    So,




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3:21-cv-03302-MGL-TJH-RMG      Date Filed 04/29/22   Entry Number 249-1   Page 148 of
                                         271



                                                                      Page 147

 1      if anyone -- at some point in time, anyone in the House

 2      has the opportunity to offer an amendment to that

 3      process.

 4      Q.           So, I'll try to -- just to make sure we're on

 5      the same page because it will help me form the next set

 6      of questions -- so, we've talked about, if you'll bear

 7      with me, the tier 1 about the map room.              We have tier 2

 8      that includes working on a draft proposal that included

 9      input from Mr. Hager, the Ad Hoc Committee, staff, and

10      you know, counsel in developing an initial staff working

11      plan.       That's kind of tier 2, if you will?

12      A.           That's a broad but fair description.

13      Q.           And then was that initial -- once the -- it's

14      hard because it's draft -- but once the initial draft

15      was there, you know, an initial working draft with all

16      124 districts in place, what was the next step once they

17      were all pieced together?

18      A.           So the next step, then it goes before -- well, I

19      take that back.       The next step -- and forgive me, I

20      don't have the time line, so I'm going off of memory.                  I

21      think we had additional public input opportunities, if




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3:21-cv-03302-MGL-TJH-RMG     Date Filed 04/29/22     Entry Number 249-1   Page 149 of
                                        271



                                                                       Page 148

 1      I'm not mistaken, and so we had that opportunity next in

 2      Columbia.

 3      Q.          I know we've talked about population equity and

 4      the redistricting criteria.            Would it be fair to say

 5      that the Redistricting Committee relied on House members

 6      in drawing their district to assess whether those maps

 7      either complied or didn't comply with the criteria?

 8      A.          I'd say they're a piece of the puzzle.             They're

 9      not -- I wouldn't say that's a whole 100 percent of it,

10      but that's a component in it, for sure.

11      Q.          I guess, and maybe this is -- I don't know if

12      this is tier 3 -- but once you have the initial working

13      map or the draft before it's publicized on November 8th,

14      did anyone from the Redistricting Committee or staff

15      conduct a district-by-district analysis to ensure that

16      each district complied with the criteria?

17                  MS. HOLLINGSWORTH:       Object to the form.

18                  THE WITNESS:    So, I would say you just gave an

19      explanation of all the different groups involved in the

20      process.      My point would be that's going on along and

21      along and along at every layer of the process.                 So, I




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                                         271



                                                                       Page 149

 1      don't think you could say, this is where that occurs; it

 2      occurs throughout the process.

 3      BY MR. CUSICK:

 4      Q.          Got it.   So, I guess, who would you say was

 5      conducting a district-by-district analysis of whether a

 6      proposed House district complied with the redistricting

 7      criteria?

 8                  MS. HOLLINGSWORTH:       Object to the form.

 9                  THE WITNESS:    I would say we relied on members'

10      ability in that respect, staff and counsel all in

11      conjunction, to meet that requirement.

12      BY MR. CUSICK:

13      Q.          Was there any document produced or report that

14      assessed how each district complied with the

15      redistricting criteria?

16      A.          Not aware of such a document.

17      Q.          Did you at one point review the entire map, the

18      initial draft map, before it was publicly posted?

19      A.          Yes, I believe so.

20      Q.          And did you undertake any steps to assess

21      compactness in the 124 districts?




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                                          271



                                                                       Page 150

 1      A.          You know, again, I think that's going on all

 2      along in the process.         Compactness, I think I can use

 3      that as an example, I think that -- number one, relying

 4      on in part from the starting point of the prior district

 5      and, number two, I'd say the member has a -- is a key

 6      asset in that as well as of determining it, but they

 7      know that district better in theory than anyone else in

 8      the building.      So, again, that's happening along and

 9      along.

10      Q.          Who within the Redistricting Committee was

11      assessing whether a map complied with the Voting Rights

12      Act?

13      A.          I would say we would chiefly rely on counsel for

14      that.

15      Q.          That includes Nexsen Pruet?

16      A.          Yes.

17      Q.          Mr. Dennis?

18      A.          Yes.

19      Q.          Ms. Dean?

20      A.          No, I don't know that I would -- Ms. Dean, she

21      was wearing a lot of hats, especially, again, due to




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3:21-cv-03302-MGL-TJH-RMG      Date Filed 04/29/22   Entry Number 249-1   Page 152 of
                                         271



                                                                      Page 151

 1      Ms. Anderson's retirement.          I don't know that I would

 2      say she was in the discussions as much as she was the

 3      logistics, again, of the tour, and then the map room,

 4      and then the legislation, making sure it got from A to

 5      B.     I don't know that I would put that squarely on her

 6      as others.

 7      Q.           Were there any conflicts that you remember about

 8      competing communities of interest that were not resolved

 9      that required discussion from the Redistricting

10      Committee?

11      A.           I remember during different public comments we

12      had testimony and e-mailed comments from situations like

13      that.       I don't remember off the top of my head

14      specifics, but I do remember a few of those did arise,

15      yes.

16      Q.           And so I'll turn to, if you will, tier 3, which

17      was -- let's say, the working draft map was finalized

18      and published on November 8th; do you recall that?

19      A.           Yes.

20      Q.           And so do you remember when the first hearing

21      was on that proposed map?




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3:21-cv-03302-MGL-TJH-RMG     Date Filed 04/29/22     Entry Number 249-1   Page 153 of
                                        271



                                                                       Page 152

 1      A.          Not off the top of my head.

 2      Q.          I'm going to pull up what's marked as Exhibit

 3      10, and this is titled, The 2021 Working Draft, and it's

 4      a screenshot taken yesterday on April 11, 2022, of the

 5      South Carolina House Representatives Redistricting 2021

 6      Landing Page.      And I don't know if you can zoom in or

 7      see it okay.      I'm now looking at it, it might not be

 8      that visible, or it's not for me.               Is it for you,

 9      Representative Jordan?

10      A.          It gets blurry the more you -- blurrier the more

11      you zoom in.

12                  (Exhibit 10 marked for identification and

13      attached to the transcript.)

14                  MR. CUSICK:    Ms. Hollingsworth, if it's okay, I

15      could screen share if that's helpful, just to see if the

16      PDF doesn't work as well.

17                  THE WITNESS:    I can make it out for the most

18      part.

19      BY MR. CUSICK:

20      Q.          Yes, so do you see that first -- I guess it's

21      the only sentence there that has a star or an asterisk




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                                        271



                                                                        Page 153

 1      that begins with, "The draft statewide map?"

 2      A.          I can see it, I can see the star, but it's -- I

 3      can read the blue easier than I can read the black small

 4      print.

 5      Q.          Right.

 6                  MR. CUSICK:     Ms. Hollingsworth, would it be okay

 7      if I screen share?         I'm on the site right now, and if

 8      that isn't too complicated?

 9                  MS. HOLLINGSWORTH:        Sure.

10      BY MR. CUSICK:

11      Q.          Does this work any better, Representative

12      Jordan?

13      A.          Much better.

14      Q.          Do you want to take a moment just to read that

15      sentence?

16      A.          Yes.

17      Q.          It said that there are some technical issues

18      with the initial draft that was uploaded on

19      November 8th; do you remember that?

20      A.          I don't remember when it occurred.             It was

21      brought to my attention during one of our meetings that




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                                           271



                                                                        Page 154

 1      happened after it occurred.

 2      Q.          And then the second sentence here essentially

 3      says that maps that are downloaded after 6:30 resolved

 4      any of the discrepancies; would that be fair?

 5      A.          I believe that's correct.            Again, it was an

 6      issue that was resolved within a few hours, and I wasn't

 7      aware it occurred until much later.

 8      Q.          I'm going to pull down this screen share because

 9      I don't have any other questions, but I just want to

10      keep it up just to make sure if there's anything else

11      that you wanted to just look at, but I'll pull it down

12      otherwise.      And so I'm now going to turn to what is

13      marked as Exhibit 11, which is video transcript from the

14      November 10, 2021, South Carolina House Judiciary Ad Hoc

15      Committee, which is a transcript that is available on

16      the Redistricting Committee website of a hearing that

17      started at 12 p.m. noon.           Let me know when you have that

18      document opened, Representative Jordan.

19      A.          I have it.

20                  (Exhibit 11 marked for identification and

21      attached to the transcript.)




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3:21-cv-03302-MGL-TJH-RMG     Date Filed 04/29/22      Entry Number 249-1   Page 156 of
                                        271



                                                                        Page 155

 1      Q.          Would you agree that members of the public had

 2      less than 48 hours to review the House's first draft of

 3      its map before this November 10th hearing?

 4      A.          Yes, I believe that's correct.

 5      Q.          Did you have any concerns that that wouldn't

 6      provide sufficient time to review the map?

 7      A.          No, given that, you know, we were trying to move

 8      as swiftly as we could and knowing that this was a -- it

 9      was a quick turn, but I don't think it was overly such.

10      Q.          You testified before that during that tier 2

11      stage, the groups that we identified were constantly

12      reviewing the map.      Do you know how long it took to

13      create the first draft map after the House room process

14      ended?

15      A.          Several days.

16      Q.          Do you recall any testimony during the November

17      10th hearing raising concerns about members of the

18      public having limited time to review the draft map?

19      A.          I do recall that being expressed by a few folks,

20      that they felt like it was quick.

21      Q.          What did you think of those opinions?




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                                        271



                                                                     Page 156

 1      A.          If I remember correctly, that was one of the

 2      reasons why we certainly didn't take any action.                 I

 3      don't think we took action at that meeting and I

 4      specifically, you know, left the public input period

 5      opportunity open for folks to weigh in, to send comments

 6      for, you know, additional time so that it could give

 7      folks an opportunity to, number one, realize that there

 8      was a plan on the table and, number two, an opportunity

 9      to be heard on that.

10      Q.          So, for shorthand I'll use the initial House

11      draft plan, if that works for you, to refer to the one

12      that was posted on November 8th at 6:30 or after 6:30.

13      Who would you say was the full extent of folks that

14      oversaw the final drawing of that map just before it was

15      publicly posted?

16      A.          You're talking about the original staff House

17      plan?

18      Q.          Yes, the initial one that was posted before any

19      amendments.

20      A.          I would say that's a combination of that process

21      we've talked about where members came in and




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                                        271



                                                                     Page 157

 1      participated and brought in their knowledge and, of

 2      course, certainly we molded it together, and then, if I

 3      remember correctly, I think I gave the final say to post

 4      the map, so to speak.

 5      Q.          During the consultation before the map was --

 6      the initial map was proposed -- did the Redistricting

 7      Committee contact every member to give them a status

 8      update of where their district was and what lines were

 9      drawn?

10      A.          I don't believe so.

11      Q.          Would it be fair to say that the initial House

12      draft plan that was published was the first time that

13      some members saw the way that their districts were drawn

14      after the map room?

15      A.          Well, yes, I'd say -- I'm guessing there'd be a

16      handful of folks in that category, yes.

17      Q.          I know you've talked about the Redistricting

18      Committee, you know, trying to resolve conflicts with

19      delegations and their input.          Is there a quantifiable

20      number of how many House members were consulted in the

21      final stage of piecing together that initial draft map?




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3:21-cv-03302-MGL-TJH-RMG       Date Filed 04/29/22   Entry Number 249-1    Page 159 of
                                          271



                                                                       Page 158

 1      A.          It's hard to say because remember in that tiered

 2      process, you have members of the Ad Hoc Committee

 3      communicating back, I'm sure, with members of their

 4      region of the state.         Some of -- and some of that's

 5      easier than others.        If you live in an area that grew

 6      pretty heavily, it's a little more complicated.                    If you

 7      live in an area that lost population, it's a little more

 8      complicated.        So, it's hard for me to quantify or

 9      guesstimate how many members were consulted in that

10      process.

11      Q.          I know we talked about Representative Newton as

12      Congressional District 5 and under the old map that he

13      would have been represented.            Does that include Richland

14      County?

15      A.          I believe that -- I know it comes down and

16      touches a little bit of Sumter.               I can't remember if it

17      grabs just a portion of Richland or not.               If it does,

18      it's a small piece.

19      Q.          Okay.    And so I apologize for the many

20      questions.      I'm just trying to piece everything

21      together.      So, as the Redistricting Committee members




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3:21-cv-03302-MGL-TJH-RMG     Date Filed 04/29/22   Entry Number 249-1   Page 160 of
                                        271



                                                                     Page 159

 1      were talking to delegations with the draft map, was the

 2      Redistricting Committee then meeting and talking about

 3      updates from the delegations about what they were

 4      receiving or feedback?

 5      A.          Not at that point, no.       Again, I found it was

 6      easier to -- kind of that pod system, where you bring in

 7      the Ad Hoc Committee not as a whole but in pairs of two

 8      from parts of the state where they connected to each

 9      other.      So, you could sort of smooth out those, what I

10      would kind of classify as, how the joints connected up

11      by having those two individuals in the room.              Is that a

12      perfect process, no, but I think it worked okay.

13      Q.          Before publicizing the initial House draft plan,

14      the one that was -- you know, just before it was

15      published -- who saw that plan in its last iteration

16      before it was publicly posted:           Just Redistricting

17      Committee members, or did anyone else have review of it?

18      A.          Members of the Ad Hoc Committee would have seen

19      it, I believe.      Certain members of the staff, we

20      discussed counsel.      I'm guessing that same type of

21      circle would have seen it.




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3:21-cv-03302-MGL-TJH-RMG     Date Filed 04/29/22   Entry Number 249-1   Page 161 of
                                        271



                                                                     Page 160

 1      Q.          Did you -- I guess, when members were drawing

 2      the maps in the map room, do you have any sense whether

 3      they were looking -- could they compare districts that

 4      they drew to ones that their colleagues drew, or was it

 5      only you could focus on one district at a time?

 6      A.          It would depend on sort of your approach.            If

 7      you came in there by yourself and didn't consult your

 8      neighbor or your delegation, then you just focused on

 9      your district.      If you collaborated with your

10      neighboring districts or delegation members, then you

11      could work together and see everything.             I saw it

12      approached both ways.

13      Q.          Did you hear any concerns about the pairing of

14      incumbents in the map that was initially proposed?

15      A.          Yes, I did get some feedback, two phone calls

16      saying that folks were unhappy with the --

17      Q.          Do you remember who those representatives were?

18      A.          I'm thinking I heard from Representative Kirby,

19      my part of the state.       I ran into Representative Govan

20      at one point in time, who expressed that he wasn't happy

21      with his part of the state.          I think I had a phone call,




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                                        271



                                                                       Page 161

 1      if I remember correctly, from Representative Davney,

 2      that he wasn't happy with his part of the state, and

 3      then I was made aware by a couple members of the Ad Hoc

 4      Committee that they received similar type of

 5      communications.

 6                  COURT REPORTER:     I'm sorry, you're saying they

 7      weren't happy with?        It sounds like -- I don't know what

 8      you're saying.      Sounded like you said present day but I

 9      know that wasn't it.

10                  THE WITNESS:    Happy with their part of the

11      state.

12                  COURT REPORTER:     Okay.      Thank you.

13      BY MR. CUSICK:

14      Q.          Do you have any understanding of why

15      Representative Govan's district, what his concerns were

16      with what happened with his district?

17      A.          From what I remember, he just expressed that he

18      was unhappy about it.         You know, at the end of the day,

19      population drives the train in this process, and if

20      you've got an area of the state, like Pee Dee where I

21      lived, that didn't keep up with growth, then you're




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                                        271



                                                                     Page 162

 1      going to have a difficult time maintaining districts.

 2      So, in Representative Govan's part of the state, down

 3      around Orangeburg, in that area, and south of there.

 4      So, also you could have issues when you have parts of

 5      the state that are growing and it forces you to -- not

 6      to displace, but districts have to adjust to keep up

 7      that population.      So, those were the parts of the --

 8      those are the issues, I guess, you see as a result of

 9      the changes in population.

10      Q.          I guess, who was involved in determining that

11      his district would be drawn out?

12      A.          So, I go back to that tiered system.

13      Ultimately, you kind of get input from members of a

14      region depending on what the struggle is, whether it's a

15      high population, members are going to have them put on

16      where that new district needs to go, if you need a new

17      district.      Members are going to have -- conversing

18      members are going to have input if they're in an area,

19      say like that, that a population has shrunk.              So, I'd

20      say it's a combination of different -- you know, looking

21      at many different versions of that area of the state.




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                                           271



                                                                        Page 163

 1      That was one of the common things of districts coming

 2      together around his area.

 3      Q.          So, that would include the set of folks we

 4      talked about before, Ad Hoc Redistricting Committee

 5      members?

 6      A.          Yes.

 7      Q.          Mr. Dennis?

 8      A.          I don't know that Mr. Dennis participated in

 9      that part of the discussion.             I think that was primarily

10      an area -- members from that part of the state

11      recognizing that there's -- if you draw your district,

12      you've got to get to a number that's within that

13      deviation.         There's just so many people.         Again, this is

14      population driven.         So, as far as where districts are

15      combined or added to, members of that region of the

16      state have a lot to say about it.

17      Q.          And now I'm going to focus on just a couple of

18      your remarks at this November 10th hearing that's

19      Plaintiffs' Exhibit 11.           And just so we're on the same

20      page, I first just want you to begin on page 4 in line

21      2, where you see "Representative Jordan" there.




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3:21-cv-03302-MGL-TJH-RMG        Date Filed 04/29/22   Entry Number 249-1   Page 165 of
                                           271



                                                                        Page 164

 1      A.          Okay.

 2      Q.          And then just to make sure, I want you to scroll

 3      down to page 9.         As you can see, this is, my

 4      understanding, to be your introductory remarks for this

 5      hearing, and when you get to page 9, let me know.

 6      A.          I'm here.

 7      Q.          And then if you could read lines 11 through 16

 8      and beginning on line 11, "the working plan."

 9      A.          "The working plan incorporates the process I

10      just discussed including public input as well as input

11      from the members of the House, and is informed by -- and

12      is informed by South Carolina's voting patterns,

13      history, and other relevant data and information."

14      Q.          So, here in line 15, you say, South Carolina's

15      voting patterns.         What do you mean by that?

16      A.          Again, I think that connects with population and

17      growth and lack of growth, and those kind of things.

18      Q.          Are you saying population growth?

19      A.          I'm saying that's part of it.

20      Q.          So population growth is part of South Carolina's

21      voting patterns?




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3:21-cv-03302-MGL-TJH-RMG     Date Filed 04/29/22   Entry Number 249-1   Page 166 of
                                        271



                                                                     Page 165

 1      A.          It's part of the -- where the people are is

 2      where they vote.

 3      Q.          Is there anything else outside of population

 4      growth for voting patterns?

 5      A.          Not off the top of my head.

 6      Q.          In that same -- the next one is South Carolina's

 7      voting patterns -- and then the second one here is

 8      history.      What history do you mean here?

 9      A.          We would take into consideration all kinds of

10      history.      You referenced some of the civil rights

11      history.      When you showed me the slide a minute ago

12      where the site was up and then down and back up again in

13      a short period of time, one of the issues, if I remember

14      correctly, there was -- because we had to condense or

15      consolidate districts, we sent number 95, District 95,

16      to Charleston County to Mount Pleasant, and one of the

17      things that came up in that discussion was that's a

18      historically relevant district number.              It has a

19      significance.      That number, that district has historical

20      civil rights significance, so taking that into

21      consideration and one of the reasons why we wanted to




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3:21-cv-03302-MGL-TJH-RMG    Date Filed 04/29/22   Entry Number 249-1   Page 167 of
                                       271



                                                                   Page 166

 1      keep that number in the geographic region where it had

 2      been.       So, in that final draft was one of a few minor

 3      changes, that it was putting that number back over in

 4      the Orangeburg area.        That's just an example of the

 5      historical significance of a broad spectrum, so to

 6      speak.

 7      Q.           And the last portion of that says, other

 8      relevant data and information.              What are you referring

 9      to here?

10      A.           I'd have to go back and read -- I'm assuming

11      that means population or something connected to that.

12      When we talk about data, typically, that's numbers,

13      people.

14      Q.           And now I want you to, if you can for a moment,

15      just scroll to the next page on page 10, and then to

16      line 21, and let me know when you get there.

17      A.           Okay.

18      Q.           And you see in the sentence on the latter half,

19      is says, "We believe"?

20      A.           Okay.

21      Q.           And I'll give you a moment just to read that




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3:21-cv-03302-MGL-TJH-RMG     Date Filed 04/29/22   Entry Number 249-1      Page 168 of
                                        271



                                                                      Page 167

 1      full sentence because my question is, who does "we"

 2      refer to here?      But I'll let you have a moment to read

 3      that in case it's helpful.

 4      A.          I probably should have said, I believe.              I don't

 5      think anyone on the committee who's worked with me would

 6      accuse me of getting my verbiage right.                 On a high

 7      percentage basis, essentially I'm communicating on

 8      behalf of the committee with that.

 9      Q.          Would it be fair to say that this initial -- the

10      initial House draft plan before amendments was a product

11      of the Redistricting Committee?

12      A.          I think, yes, that's fair.         Because, again, they

13      all had knowledge and participation in it along with the

14      process I sort of outlined earlier.                 It's a staff plan,

15      that's how it's described, but they all had their hand

16      in it to some degree, as did the members of the House,

17      as did the public input individuals, as did the 2010

18      plans.      Again, it's a lot of different components.

19      Q.          I want to now turn to just the next page, page

20      11, beginning on line 1 with the sentence, "And that

21      working plan."      Do you see that for a moment?




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3:21-cv-03302-MGL-TJH-RMG    Date Filed 04/29/22   Entry Number 249-1   Page 169 of
                                       271



                                                                   Page 168

 1      A.          Yes.

 2      Q.          If you could read for me beginning with "and"

 3      all the way to line 8 that ends with "congressional

 4      plans."

 5      A.          "And that working plan complies with the United

 6      States Constitution, the South Carolina Constitution,

 7      federal and state law, and is contiguous, compact, and

 8      properly considers communities of interest and

 9      encompassing.       In all, we received 11 proposed

10      redistricting plans from the public, 7 State House

11      plans, and 4 congressional plans."

12      Q.          So, when you say federal law here, does that

13      include the Voting Rights Act?

14      A.          Yes.

15      Q.          Do you have an understanding on what Section 2

16      of the Voting Rights Act is?

17      A.          Again, limited.      I would never claim to be a --

18      as a lawyer, I always equated to folks, you know, it's

19      like medicine.       There's general practice doctors and

20      brain surgeons and I'm certainly more of a general

21      practice.




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3:21-cv-03302-MGL-TJH-RMG        Date Filed 04/29/22   Entry Number 249-1    Page 170 of
                                           271



                                                                        Page 169

 1      Q.          Were you at all briefed or did you have any

 2      understanding of whether Section 2 proposed any

 3      affirmative obligations on the Redistricting Committee?

 4      A.          I have -- if I remember correctly, conversations

 5      related to that with counsel.

 6      Q.          And that means Nexsen Pruet?

 7      A.          Correct.

 8      Q.          Mr. Dennis?

 9      A.          I don't believe Mr. Dennis was in those

10      conversations.         I think that was primarily Nexsen Pruet.

11                  COURT REPORTER:       I'm sorry, that was primarily?

12                  THE WITNESS:      Primarily Nexsen Pruet.

13                  COURT REPORTER:       Thank you.

14                  THE WITNESS:      I'm going to get rid of this

15      Southern accent one day, I promise.

16      BY MR. CUSICK:

17      Q.          What's your understanding of some of those

18      obligations under Section 2 of the Voting Rights Act?

19                  MS. HOLLINGSWORTH:        Object to the form.           And I

20      want to make sure we're not asking him to discuss the

21      things that he -- information that he obtained in




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3:21-cv-03302-MGL-TJH-RMG     Date Filed 04/29/22   Entry Number 249-1   Page 171 of
                                        271



                                                                     Page 170

 1      discussions with counsel, which is what he just

 2      described.

 3      BY MR. CUSICK:

 4      Q.          Definitely, and to be clear, your understanding

 5      on what you would share publicly as redistricting chair.

 6      A.          So, in referring back to kind of how I described

 7      my knowledge of the law in this particular field, this

 8      is an area in particular I would rely heavily on

 9      counsel.      And, so in this particular area, whatever I

10      got was primarily -- 99 percent would come directly from

11      counsel in that respect.

12      Q.          Are you familiar with the term majority-minority

13      district -- sorry, might have said that wrong --

14      majority-minority district?

15      A.          I am.

16      Q.          What does it mean?

17      A.          A district in which the percentage of minority

18      is a majority within the district.

19      Q.          As redistricting chair, do you have any

20      understanding whether the Voting Rights Act imposes a

21      requirement to draw majority-minority districts?




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3:21-cv-03302-MGL-TJH-RMG     Date Filed 04/29/22     Entry Number 249-1   Page 172 of
                                        271



                                                                       Page 171

 1      A.          Again, I would have gone to counsel on that, but

 2      my understanding was, it's to be given deference and to

 3      be looked at very carefully.            I wouldn't say there's a

 4      fundamental absolute requirement there, but it's

 5      something to be addressed and looked at.

 6      Q.          Do you have any understanding on how you would

 7      make that assessment on whether to draw a

 8      majority-minority district?

 9      A.          Well, in this case, we had the ability to look

10      at, coming into the process, so back to 2010.                 So, we

11      could see how many majority-minority districts existed

12      leading up to, and then see -- so you could see how many

13      existed in 2010, how many without any changing of any

14      lines would exist based on population changes presently

15      in South Carolina.        When I say presently, at the

16      beginning of the redistricting process, so you could

17      view it through that lens, I guess you could say.

18      Q.          So, I understand this, was it your

19      understanding --

20                  MR. CUSICK:    Sorry.      I think that might be --

21      Rob, you might be off mute maybe.




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3:21-cv-03302-MGL-TJH-RMG        Date Filed 04/29/22   Entry Number 249-1   Page 173 of
                                           271



                                                                         Page 172

 1                  MR. TYSON:     Sorry about that.             I fell offline

 2      and just called back.          Thank you.

 3                  MR. CUSICK:     No worries.

 4      BY MR. CUSICK:

 5      Q.          I guess, based on what you just said,

 6      Representative Jordan, is it your understanding that

 7      there was an obligation to maintain the same number of

 8      majority-minority districts compared to a previous plan?

 9                  MS. HOLLINGSWORTH:        Objection to form.

10                  THE WITNESS:      No. I don't think there's an

11      obligation necessarily to maintain.                    Again, we're driven

12      by the population, but there's certainly a necessity to

13      look at that issue.

14      BY MR. CUSICK:

15      Q.          Are you familiar with the term an effective

16      minority opportunity district?

17      A.          I am.

18      Q.          What do you understand that to be?

19      A.          Well, it might not be a majority-minority

20      percentage-wise district.            It's a district, in my mind,

21      that would provide an opportunity.                So, it's not over




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3:21-cv-03302-MGL-TJH-RMG      Date Filed 04/29/22   Entry Number 249-1   Page 174 of
                                         271



                                                                      Page 173

 1      the 50 percent mark, but it would be not too far from

 2      that mark, if that makes sense.

 3      Q.          Would that opportunity be to -- for Black voters

 4      to elect a Black-preferred candidate?

 5      A.          In the context of minority, yes, I'd say that's

 6      a fair statement.

 7      Q.          Yes.   And to be clear, in the context of a

 8      effective minority opportunity district, if we're

 9      talking about Black voters having effective minority

10      opportunity districts.

11      A.          I'd say that's fair.

12      Q.          Did the Redistricting Committee have any

13      understanding whether a House district needed to be

14      drawn at a certain Black voting age population in order

15      for it to perform for Black voters?

16      A.          I'm sorry, did you say the Judiciary Committee

17      or the Ad Hoc Committee?

18      Q.          Ad Hoc Committee.

19      A.          Ad Hoc Committee.      Again, I can only speak for

20      me.   I would think that would be something that the

21      members of the committee would understand.




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3:21-cv-03302-MGL-TJH-RMG     Date Filed 04/29/22   Entry Number 249-1   Page 175 of
                                        271



                                                                     Page 174

 1      Q.          I hope I didn't mishear you, but I just want to

 2      clarify.      Did you testify before that an effective

 3      minority opportunity district might have a, in the

 4      context of Black voters, a BVAP below 50 percent?

 5      A.          A minority-majority or an opportunity?

 6      Q.          Opportunity district, effective opportunity

 7      district.

 8      A.          Yes, it would have a percentage below 50

 9      percent.

10      Q.          Are you aware of any effective minority

11      opportunity districts for Black representatives in South

12      Carolina with a BVAP below 45 percent?

13      A.          I believe several exist.        I don't have the map

14      in front of me, but I believe there are several.

15      Q.          Did the Redistricting Committee have any

16      threshold for BVAP as it was considering districts, of

17      what it should be?

18      A.          Again, I can only speak for me as a member,

19      single voting member, but looking at the issue as a

20      whole, so to speak, and understanding that it's

21      important to have -- to preserve minority-majority




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3:21-cv-03302-MGL-TJH-RMG     Date Filed 04/29/22   Entry Number 249-1   Page 176 of
                                        271



                                                                     Page 175

 1      districts and to have opportunity districts.

 2      Q.          Did the Redistricting Committee conduct any

 3      analysis to determine how districts would perform for

 4      Black voters with BVAPs below 50 percent?

 5      A.          I don't believe such analysis was done by the

 6      committee.

 7      Q.          Were you aware of any analysis that you received

 8      by the House Judiciary?

 9      A.          Not that I recall.

10      Q.          I guess for a hypothetical, if a House district

11      in the previous lines had a 60 percent BVAP, was there

12      anything done by the Redistricting Committee to

13      determine whether that BVAP should increase, decrease,

14      or be maintained?

15      A.          I think that would depend on the population

16      growth or lack of growth in the area surrounding the

17      district.

18      Q.          And, I guess, what was your understanding of

19      what analysis would need to be done to determine whether

20      -- or what the BVAP would need to be to perform in a

21      district?




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3:21-cv-03302-MGL-TJH-RMG     Date Filed 04/29/22      Entry Number 249-1   Page 177 of
                                        271



                                                                        Page 176

 1                  MS. HOLLINGSWORTH:        Object to the form.

 2                  THE WITNESS:     You mean in an opportunity

 3      district?

 4      BY MR. CUSICK:

 5      Q.          Yes.

 6      A.          I don't -- I hesitate to give a number off the

 7      top of my head.      Again, that was sort of in concert with

 8      staff and counsel.         The existence -- again, out of that

 9      population, like, if you -- like at an area like

10      Charleston, where it had -- just in my mind I can see on

11      the map -- several minority-majority districts where the

12      population shifted over a period of time.                 So, now you

13      might have one majority-minority and two opportunity

14      districts as a result of the change in population.

15      Q.          Now, without going into the content of any

16      discussions, to the extent you can, did the

17      Redistricting Committee take on any analysis to

18      understand its compliance with Section 2 of the Voting

19      Rights Act?

20                  MS. HOLLINGSWORTH:        Object to the form.

21                  THE WITNESS:     The committee would have relied




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3:21-cv-03302-MGL-TJH-RMG   Date Filed 04/29/22   Entry Number 249-1   Page 178 of
                                      271



                                                                  Page 177

 1      upon counsel for that.        I'm not trying to under- or

 2      overestimate, but there's several lawyers on the

 3      committee, and I don't think any of them would hold

 4      themselves out to be constitutional lawyers in that

 5      particular field as well.

 6      BY MR. CUSICK:

 7      Q.          I know we talked about data that was reviewed,

 8      you know, during the initial draft plan.                Do you recall

 9      whether the Redistricting Committee looked at

10      participation rates for voters throughout the state as

11      it was assessing the initial draft?

12      A.          I don't recall.

13      Q.          What about degree of cohesion among voters?

14      A.          I don't recall.

15      Q.          Are you familiar with the concept of crossover

16      voting?

17      A.          I've heard the term.

18      Q.          Was there any analysis of crossover voting by

19      the committee?

20                  COURT REPORTER:     I'm sorry, I didn't get his

21      answer.      Was there any analysis of crossover voting, I




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3:21-cv-03302-MGL-TJH-RMG     Date Filed 04/29/22     Entry Number 249-1   Page 179 of
                                        271



                                                                       Page 178

 1      didn't hear the answer.

 2                  THE WITNESS:    I don't believe there was.

 3                  COURT REPORTER:     Thank you.

 4      BY MR. CUSICK:

 5      Q.          I know we talked about, at the beginning of the

 6      deposition, racially polarized voting and talked about

 7      it in the context of the committee composition and

 8      participation, but just to make sure I don't miss it,

 9      did the Redistricting Committee conduct any racially

10      polarized voting analysis of the 124 districts?

11      A.          No, I do not believe -- no, it did not.

12      Q.          Do you have any understanding of whether

13      compliance with the Voting Rights Act involves a fact,

14      intensive analysis?

15      A.          Again, we're getting outside of my scope a

16      little bit.

17      Q.          Was there any district-by-district analysis that

18      was conducted of the initial House draft map about

19      whether each district complied with the Voting Rights

20      Act?

21      A.          That would be something I would rely on counsel




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3:21-cv-03302-MGL-TJH-RMG   Date Filed 04/29/22   Entry Number 249-1   Page 180 of
                                      271



                                                                  Page 179

 1      to determine if necessary and, if so, to make sure we

 2      did it.

 3      Q.          Was any report created of district-by-district

 4      analysis?

 5      A.          Not that I can remember.

 6      Q.          I now want to -- I think you still might still

 7      have up Plaintiffs' Exhibit 11, which is the

 8      November 10th hearing, and hopefully you might still be

 9      on page 11.      And if you don't mind, if you could read

10      lines 8 through 12, beginning with "all," and then the

11      end of that sentence that beings with "member input."

12      A.          "All of the proposed redistricting plans that

13      were submitted to this committee were reviewed and

14      analyzed based on our redistricting guidelines and

15      criteria, as well as public and member input."

16      Q.          Were all the maps that were submitted to the

17      Redistricting Committee publicly posted?

18      A.          I don't remember.

19      Q.          Would that be maybe something that Ms. Dean or

20      another staff member would have a recollection of?

21      A.          Yes, and I don't think -- yes, that is the




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3:21-cv-03302-MGL-TJH-RMG      Date Filed 04/29/22   Entry Number 249-1   Page 181 of
                                         271



                                                                      Page 180

 1      answer.

 2      Q.           And so here, you talk -- discuss about in the

 3      preceding line on line 7, there were seven State House

 4      map plans that you referenced that were publicly

 5      submitted.       And in the line you just read, you said that

 6      the committee reviewed and analyzed based on the

 7      redistricting guidelines and criteria.               Could you

 8      explain what analysis was conducted on each of the seven

 9      State House map plans?

10      A.           So, when you look at all the different plans,

11      obviously, they vary in nature.              Some created -- just an

12      example, I think our plan had more majority-minority

13      districts than the NAACP might have had, but it had more

14      opportunity districts than the original staff House

15      plan.       So, all the plans were sort of taken in,

16      consumed, and so we could see the pros and cons of the

17      differences -- not pros and cons -- but show the

18      differences between them in that respect.

19      Q.           And I'll first ask the question about what you

20      just said there.       You said you compared the number of

21      majority-minority districts that the initial House plan




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3:21-cv-03302-MGL-TJH-RMG     Date Filed 04/29/22      Entry Number 249-1   Page 182 of
                                        271



                                                                        Page 181

 1      had versus the State Conference's plan; did I hear that

 2      right?

 3      A.          That was just an example of how the plans might

 4      differ.      The League of Women Voters submitted a plan and

 5      it looked different than -- in some way, shape, or form

 6      -- than the State Conference plan, which would look

 7      different than the staff plan.

 8      Q.          Did you assess whether the State Conference's

 9      plan provided more opportunity for Black voters in terms

10      of overall districts that effectively performed?

11                  MS. HOLLINGSWORTH:        Objection to the form.

12                  THE WITNESS:     Again, I'm going back on my

13      memory.      It's a good ways back, but I do remember

14      looking at -- yes.         And, again, if I remember correctly,

15      some plans had more majority-minority and some had more

16      opportunity in some kind of version of those things.

17      So, yes, they were -- all of them brought something

18      slightly different, you know, to fruition.                 Looking at

19      them and their differences was part of the process.

20      BY MR. CUSICK:

21      Q.          If a plan had more combined majority-minority




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3:21-cv-03302-MGL-TJH-RMG     Date Filed 04/29/22     Entry Number 249-1   Page 183 of
                                        271



                                                                       Page 182

 1      districts and effective opportunity districts for Black

 2      voters compared to another plan, would that first plan

 3      provide greater opportunity for Black voters in the

 4      state?

 5                  MS. HOLLINGSWORTH:       Object to the form.

 6                  THE WITNESS:    That's hard to say because you

 7      don't know, again, how practically these things are

 8      going to play out at the polls either.                It's a

 9      hypothesis, I guess, to some degree.

10      BY MR. CUSICK:

11      Q.          Are you aware of any methods for testing whether

12      a district will perform for Black voters?

13      A.          Yes, I know it exists and, again, that's one of

14      the things I'd rely on counsel and staff to help analyze

15      the different plans on the table.

16      Q.          Is it your testimony that Nexsen Pruet analyzed

17      the State Conference's plan?

18      A.          They would have been aware of it.            I don't know

19      -- I'm not sure who analyzed what, looking back that

20      far.

21      Q.          Who would have that information for who analyzed




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3:21-cv-03302-MGL-TJH-RMG   Date Filed 04/29/22   Entry Number 249-1   Page 184 of
                                      271



                                                                  Page 183

 1      the seven plans?

 2      A.          I'm guessing Nexsen Pruet would of probably had

 3      the summary of all that.

 4      Q.          Did the Redistricting Committee do any analysis

 5      to determine whether any of the proposed maps that drew

 6      BVAPs below 50 percent effectively performed for Black

 7      voters?

 8      A.          I do not believe the committee did such

 9      analysis.      Now, certainly we had a lot of things

10      provided to us and had the ability to review.                  I don't

11      remember -- there's a difference too in, I guess, in

12      going out and reviewing information that's accessible

13      and commissioning a study, for instance, too.

14      Q.          Was there any analysis of proposed maps versus

15      the initial draft plans on which one was more compact?

16      A.          So, I would say every map, every proposal,

17      including the House staff plan, went through -- we

18      looked at it through the lens of compactness,

19      contiguity, communities of interest.              I mean, those are

20      all part of the analysis on how we determined what

21      pieces of each map to incorporate into what we believed




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3:21-cv-03302-MGL-TJH-RMG      Date Filed 04/29/22   Entry Number 249-1   Page 185 of
                                         271



                                                                      Page 184

 1      was the best version to push forward to the House

 2      Judiciary.

 3      Q.          And when you say we, for just the analysis of

 4      the publicly submitted maps, that includes Redistricting

 5      Committee members and staff?

 6      A.          So, once we receive those proposed submitted

 7      maps, you know, the committee obviously had access to

 8      that to review, and through the assistance of staff and

 9      counsel, we were able to, you know, compare and contrast

10      the differences contained within all the different maps.

11      And then at that point, the committee had the

12      opportunity through the hearing process to think and

13      consider the staff plan and could certainly amend to

14      whatever version the committee so chose.

15      Q.          Were the analyses ever put in written form for

16      the seven House plans that were reviewed?

17      A.          I know there were work products, I guess I would

18      describe it as, that helped to delineate the differences

19      of the different maps.

20      Q.          Got it.   So, I guess, if there were any analyses

21      or written documents, where would those be stored or who




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3:21-cv-03302-MGL-TJH-RMG      Date Filed 04/29/22   Entry Number 249-1   Page 186 of
                                         271



                                                                     Page 185

 1      would have access to them, on the comparison or the

 2      analysis of the seven publicly proposed maps?

 3      A.          Either the House Judiciary or Nexsen Pruet, I

 4      think have assisted and, therefore, have the product.

 5      Q.          I know at the November 10th hearing, you

 6      referenced both, obviously, oral and received written

 7      testimony.         Was the written testimony uploaded anywhere

 8      after the hearing, publicly?

 9      A.          I don't believe so.

10      Q.          This one will be a quick scroll down to page 70

11      in the document.

12      A.          Okay.

13      Q.          And then do you see line 24 that says,

14      "Representative Jordan"?

15      A.          Yes.

16      Q.          And on lines 1 and 2 on page 71, you state,

17      "thank you for coming, I can tell you this is a work in

18      progress".         Do you see that?

19      A.          Yes, I do.

20      Q.          What did you mean by it's a work in progress?

21      A.          What I described earlier that, again, with a




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                                        271



                                                                     Page 186

 1      committee that went around the state, and then opened

 2      the map room, and then had a plan, and then had more

 3      public input related to the plan, and then the

 4      membership of the Ad Hoc would have the opportunity to

 5      offer amendments to the plan, and then after that the

 6      members of the Judiciary Committee would have

 7      opportunities to offer amendments to the plan, and then

 8      after that the House of Representatives would have the

 9      ability to offer amendments to the plan.             So, in that

10      sense, it's very much a work in progress.

11      Q.          At this stage, you know, after the public

12      hearing -- and, if it's helpful, I'm conceptualizing

13      this is still tier 3, so it's the initial plan before

14      amendments -- who is -- I guess, after the committee

15      heard public testimony on November 10th, who was

16      involved in discussing that public input and considering

17      changes that might be made to the initial House staff

18      plan?

19      A.          Well, the map room, if I remember correctly, you

20      could still get access.        So, if you wanted to go create

21      an amendment, for instance, if you were a member of the




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3:21-cv-03302-MGL-TJH-RMG     Date Filed 04/29/22   Entry Number 249-1    Page 188 of
                                        271



                                                                     Page 187

 1      Ad Hoc Committee, if you wanted to go prepare an

 2      amendment, or if you were just a member of the House and

 3      wanted to go prepare an amendment and have it ready or

 4      give it to a member of the Ad Hoc Committee, you could

 5      certainly do that.      So, there's a variety of people that

 6      would be part of that process in theory.

 7      Q.          And who was involved in piecing together

 8      amendments that were going to be proposed at the next

 9      iteration of the plan?

10      A.          So, if you're a member of the Ad Hoc Committee,

11      you would be capable of proposing an amendment.                  Then

12      after that, if you were a member of the full Judiciary,

13      you would then have the opportunity to propose an

14      amendment.      And then after that, full House body would

15      have the ability to propose an amendment.

16      Q.          Do you recall -- I think you testified to this

17      before -- that initially the Redistricting Committee had

18      anticipated a second public hearing on November 12th?

19      A.          I don't have the time line in front of me.              I

20      know we -- seems like we had -- I think we had two

21      public hearings after the plan was unrolled, and then we




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                                         271



                                                                       Page 188

 1      came back, and I don't remember the time line

 2      completely.       Seems like there were a couple of different

 3      opportunities.

 4      Q.           This is all the way down to page 168.

 5      A.           This was a long hearing.         Okay.

 6      Q.           And then if you see on line 9, you see that

 7      you're referenced there as Representative Jordan?

 8      A.           I see that.

 9      Q.           And then if you scroll down to line 5 on the

10      next page on 169, and if you could read to yourself and

11      let me know if this refreshes your recollection, lines 6

12      through 15.

13      A.           Yes, okay, so I remember this now.           Originally,

14      we had two days set aside, but we were essentially able

15      to work through everyone that signed up to participate

16      and, therefore, from a practical standpoint, we

17      determined that we would leave the public input period

18      open.       Meaning, if anyone wanted to submit anything, we

19      would do that, but we didn't feel we had the need for

20      the second day, given that we had gotten through

21      essentially everyone that had signed up.




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3:21-cv-03302-MGL-TJH-RMG     Date Filed 04/29/22     Entry Number 249-1   Page 190 of
                                        271



                                                                       Page 189

 1      Q.          Would it -- if you had kept the second day,

 2      would that have addressed concerns about giving people

 3      more time to review the map and voice their concerns

 4      orally?

 5      A.          I mean, I can only speak to what -- we made it a

 6      date available and offered sign-up and I essentially

 7      took everyone -- or, not essentially, but everyone who

 8      signed up, you know, spoke.            So, I think we'd

 9      accomplished the task at hand, which was to receive

10      public input.

11      Q.          Was this the only hearing where the

12      Redistricting Committee sought public hearing, either

13      public comments directly during a hearing on the initial

14      plan or any subsequent plans?

15                  MS. HOLLINGSWORTH:       Object to the form.

16                  THE WITNESS:    So this is -- again, if I remember

17      correctly, we took public testimony, and then we left

18      the public input period open until we came back for the

19      committee to, for lack of a better description, digest

20      the public testimony as well as the submissions and come

21      back and deal with it at a later date.




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3:21-cv-03302-MGL-TJH-RMG      Date Filed 04/29/22   Entry Number 249-1   Page 191 of
                                         271



                                                                     Page 190

 1      BY MR. CUSICK:

 2      Q.          And then I have a couple of process-related

 3      questions for next steps here.                If you look at line 18

 4      on the same page it begins with "and", and then if you

 5      could read to yourself to line 25 ending with "today"?

 6      A.          Is this on page 169?

 7      Q.          Correct.

 8      A.          Okay.

 9      Q.          So, I guess, what was the purpose of, you know,

10      scheduling a meeting two hours before the House

11      Judiciary Committee to take into consideration all the

12      information you received?

13      A.          So, wanting to give members of the Ad Hoc

14      Committee as much time as possible if they chose to

15      draft amendments for the Ad Hoc Committee to consider,

16      and then to -- but also taking into consideration that

17      if we had the whole House Judiciary coming in, members

18      of the Ad Hoc Committee were also members of that

19      committee.      So, I didn't want to create multiple travel

20      days for the Ad Hoc Committee.                I could have done it on

21      a different day or two, I guess, a day prior, but




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                                        271



                                                                     Page 191

 1      scheduling it two hours prior, I felt gave them more

 2      opportunity, should they so desire, to draft amendments

 3      but also it didn't create a travel day for them,

 4      practically speaking.

 5      Q.          Did the Redistricting Committee have any

 6      intentions to seek public input at that hearing?

 7      A.          No, I think the way I kind of planned it was you

 8      would have the opportunity for folks to come testify the

 9      week prior, and then we'd leave that record open so that

10      someone that couldn't be there for whatever reason could

11      submit public input for the committee to then address it

12      if so desired at that next meeting, two hours before

13      full Judiciary.

14      Q.          And then the next -- and I'm at line 25 and it

15      goes down to the next page, 170, to line 5.              If you

16      could just take a moment to review that, lines 25

17      through 5 on page 170.

18      A.          Okay.

19      Q.          I guess, my question, what are the benefits of

20      issuing a favorable report, as you stated is normally

21      what you would do for a piece of legislation?




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3:21-cv-03302-MGL-TJH-RMG     Date Filed 04/29/22   Entry Number 249-1   Page 193 of
                                        271



                                                                     Page 192

 1      A.          So, while this was the Ad Hoc Committee, it

 2      essentially operates in the form of a subcommittee, for

 3      lack of a better description.           For a piece of

 4      legislation to advance from, in this case, the Ad Hoc

 5      Committee to the full Judiciary Committee, it would need

 6      to be given a favorable report.             And so in order to keep

 7      the record open and in case there may be information

 8      that comes by way of that opportunity for submission,

 9      and then for a member of the Ad Hoc Committee to, in

10      theory, propose an amendment, I thought it best to leave

11      that until we met again, two hours prior to full

12      Judiciary.

13      Q.          Between the end of this meeting on November 10th

14      and then when the Redistricting Committee met again on

15      November 16th, do you recall who you met with to talk

16      about amendments or public input?

17      A.          I received -- same type process.         We received

18      some submissions that I reviewed.             I think, if I

19      remember correctly, I communicated with members of the

20      Ad Hoc Committee just to make sure that they were, if

21      they were going to propose an amendment, that they were




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                                        271



                                                                        Page 193

 1      getting everything they needed to do that.                 And then I

 2      think I also wanted to know because I wanted to make

 3      sure that we had enough time.              There were going to be

 4      amendments that were going to take longer than the two

 5      hours.      I wanted to let Chairman Murphy know that they

 6      may need to push back the full Judiciary time if that

 7      came to fruition.         So, I contacted various members of

 8      the Ad Hoc Committee in that respect.

 9      Q.          Wanted to just take a moment here to see if it

10      makes sense to just take a quick five-minute break, if

11      that works?

12                  MS. HOLLINGSWORTH:        Yes, that'd be great.         We've

13      gone about two hours.

14                  MR. CUSICK:     If we could go off record for a

15      moment.

16                  VIDEOGRAPHER:     Off the record at 3:31 p.m.

17                  (Short recess was taken.)

18                  VIDEOGRAPHER:     This is the beginning of media

19      unit number 4.      Back on the video record at 3:40 p.m.

20      BY MR. CUSICK:

21      Q.          Representative Jordan, I'm now going to look to




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                                          271



                                                                       Page 194

 1      what is marked as Plaintiffs' Exhibit 13, which is a

 2      video transcript of the November 16th Ad Hoc Committee

 3      that we have been discussing before.                  My apologies, I

 4      might have said 13, it should be actually 12.                  It should

 5      be about 16 pages, if that's helpful, Representative

 6      Jordan.

 7      A.          I believe I've located it.

 8                  (Exhibit 12 marked for identification and

 9      attached to the transcript.)

10      Q.          Yep.    Give me one second.         If you could go to

11      page 9.      I guess I should say page 8 because it carries

12      over, and if you could just read to yourself for a

13      moment lines 24 through 5 that go onto page 9 and ending

14      with, "as I said".

15      A.          Okay.

16      Q.          So, would it be fair to say that at this point,

17      you were aware of forthcoming amendments that would be

18      introduced at the House Judiciary Committee?

19      A.          Yes.

20      Q.          And were you aware of all amendments that were

21      going to be introduced at that point?




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3:21-cv-03302-MGL-TJH-RMG       Date Filed 04/29/22   Entry Number 249-1   Page 196 of
                                          271



                                                                       Page 195

 1      A.          I don't remember if I was aware of all of them,

 2      but probably so.

 3      Q.          And aside from ones that you might have

 4      introduced, were you involved with discussions with any

 5      of the Ad Hoc members on amendments that they were

 6      considering?

 7      A.          Yes, I believe that's correct.

 8      Q.          I know that there isn't an explanation of any of

 9      the amendments at this meeting.               Was it the expectation

10      to have that discussion only in House Judiciary as

11      opposed to the Ad Hoc Committee?

12      A.          Yes.    After reading that, I seem to recollect

13      that the idea was there were amendments and given the

14      full Judiciary was meeting very soon, why not go ahead

15      and include or allow inclusion of the other members of

16      the full Judiciary Committee to, perhaps if they chose

17      to, weigh in on said amendments.

18      Q.          Just for my understanding from the process,

19      staying on page 9, if you could just review for a moment

20      lines 12 through 17.

21      A.          Okay.




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3:21-cv-03302-MGL-TJH-RMG        Date Filed 04/29/22   Entry Number 249-1   Page 197 of
                                           271



                                                                        Page 196

 1      Q.          So, at this point, the Ad Hoc Committee adopted

 2      the initial staff plan, right?

 3      A.          Yes, this goes back to your question earlier

 4      about a favorable report.            This is where we transitioned

 5      in that respect.

 6      Q.          Yep.     And, so at this point, it's fair to say

 7      that this is before any amendments were introduced.

 8      It's just the initial working draft plan?

 9      A.          Correct.

10      Q.          And then I know we've talked tiers, and so would

11      the next tier, if we will, for tier 4, would that be

12      going to House Judiciary?

13      A.          Yes, that would be the next step in the process.

14      Q.          And, you know, from a process point, the initial

15      House draft plan was shared with the full House

16      Judiciary?

17      A.          Yes.

18      Q.          Was anything else included -- or I'll take a

19      step back.         How is it transmitted to the full House

20      Judiciary Committee?

21      A.          So, that's a good question because while it fits




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                                         271



                                                                        Page 197

 1      in the traditional path of legislation, it's obviously

 2      not traditional legislation.             It's in the form of a map

 3      and district and so forth.            So, at this point, it goes

 4      from a staff plan to the Ad Hoc Committee proposal, and

 5      at this point, it can be amended by the full Judiciary.

 6      Q.          Got it.   Was there any data or analyses that

 7      were conveyed to the full House as well with the draft

 8      plan?

 9      A.          They would have had access to -- well, let me

10      back up.      They would have -- many of those full

11      Judiciary and House members attended some of those

12      public hearings, so they would have had access to that.

13      The Judiciary members obviously would have had access to

14      the comments if you wanted to come by and get copies or

15      see those.      Is that what you're referring to?

16      Q.          That's right.

17      A.          So, yes, they would have had access.

18      Q.          Got it.   So, I'll now turn to -- this is marked

19      -- this is the right Plaintiffs' Exhibit 13, and this is

20      a video transcript of the November -- or a transcript of

21      the November 16, 2021, House Judiciary Committee.                   Do




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3:21-cv-03302-MGL-TJH-RMG     Date Filed 04/29/22   Entry Number 249-1   Page 199 of
                                        271



                                                                     Page 198

 1      you see that, Representative Jordan?

 2      A.          I do.

 3                  (Exhibit 13 marked for identification and

 4      attached to the transcript.)

 5      Q.          And otherwise, did you have any other role?

 6      Were you just a member of the House Judiciary Committee,

 7      or do you hold any other titles or roles?

 8      A.          Well, I guess, technically I'm a member of the

 9      Election Law Subcommittee, I'm the chairman of that.

10      For context of this hearing, I would be chairman of the

11      Ad Hoc Committee, so I'd be the responsible person for

12      purposes of summarizing and laying out the Ad Hoc

13      Committee plan and speaking on behalf of that plan.

14      Although, certainly every member of the Ad Hoc Committee

15      as well as the full Judiciary Committee would be able or

16      allowed to speak if they so chose.

17      Q.          Who would determine whether there'd be public

18      input at a House Judiciary Committee hearing?

19      A.          I suppose that would be the chairman, although

20      that would be -- I don't think I've ever seen that, once

21      you get through the subcommittee or, in this case, the




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3:21-cv-03302-MGL-TJH-RMG     Date Filed 04/29/22   Entry Number 249-1   Page 200 of
                                        271



                                                                     Page 199

 1      Ad Hoc Committee process.         But in practical terms, the

 2      subcommittee is where that public hearing opportunity

 3      typically occurs.

 4      Q.          Are there any rules for getting public input in

 5      front of the full Judiciary, to the extent you know?

 6      A.          I don't think so.     I think that can be done, I

 7      just -- I've never -- in my experience, I've never seen

 8      that done.      But I'm sure there's -- I believe there

 9      could be or perhaps is a way to do that.

10      Q.          Do you think it would have been important for

11      members of the public to weigh in on any of the proposed

12      amendments that were considered at that hearing?

13      A.          Yes, I think it was important.          Are you talking

14      about amendments or are you talking about the proposed

15      plans?

16      Q.          The amendments that were introduced for the

17      first time at the November 16th hearing.

18      A.          You know, I think given that there had been so

19      many public hearings and public input opportunities,

20      most of everything that probably could have been said

21      was said in some form or fashion.             So, I don't know that




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3:21-cv-03302-MGL-TJH-RMG       Date Filed 04/29/22   Entry Number 249-1   Page 201 of
                                          271



                                                                       Page 200

 1      it would have been a necessary component in that

 2      setting.

 3      Q.          And do you recall any amendments that were

 4      offered outside of the one you introduced?

 5      A.          Seems like there was another amendment or two,

 6      if I remember, but I don't remember the substance.

 7      Q.          I will not hold you to remembering every

 8      amendment that was offered.            If helpful, I'll direct you

 9      to page 17, and it's lines 13 to line 5 on page 18.                  Do

10      you see that, it's Representative Wheeler talking, if

11      you just want to take a moment to review that.

12      A.          Okay.    I've reviewed that.

13      Q.          Do you recall if you supported this amendment?

14      A.          I believe I did.

15      Q.          Did you do any -- did you review the amendment

16      before it was proposed by Representative Wheeler?

17      A.          If I remember correctly, Mr. Wheeler did talk to

18      me about it.        This is an example of kind of what I was

19      referencing earlier where neighbors, so to speak,

20      represent districts contiguous to each other, may have a

21      reason based on -- they would have more knowledge, kind




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3:21-cv-03302-MGL-TJH-RMG     Date Filed 04/29/22   Entry Number 249-1   Page 202 of
                                        271



                                                                     Page 201

 1      of going back to that compactness, you know.              There's an

 2      area that in this part of the district that's always

 3      been in this district and is more aligned, you know,

 4      with this district because of that and so, therefore, it

 5      should probably switch.        And as long as you can offset

 6      populations within those connected districts and it's

 7      not -- you know, if you can tell the committee and the

 8      body why it makes sense, there really would be just

 9      reason, in my mind, to oppose it.

10      Q.          Do you recall any amendments offered by

11      Representative Bamberg?

12      A.          Yes, I believe came next.

13      Q.          Do you recall if you supported Representative

14      Bamberg's amendment?

15      A.          I believe I did.

16      Q.          So, after all the amendments that were

17      introduced, some were adopted.           Do you remember any that

18      were not adopted?      I think it might be more helpful if I

19      start with an initial question.             Do you remember an

20      amendment introduced by Representative King on behalf of

21      Representative Govan?




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3:21-cv-03302-MGL-TJH-RMG      Date Filed 04/29/22    Entry Number 249-1     Page 203 of
                                         271



                                                                        Page 202

 1      A.          I do, and I think that committee -- or I believe

 2      that amendment failed.

 3                  COURT REPORTER:     I'm sorry.            You said you

 4      believe that what?

 5                  THE WITNESS:    That amendment failed.

 6                  COURT REPORTER:     Thank you.

 7      BY MR. CUSICK:

 8      Q.          Yep.   And so after all the amendments were

 9      considered, those that were adopted or not, the

10      committee voted on a House redistricting plan as

11      amended, correct?

12      A.          Correct.

13      Q.          And so, still within this tier 4, if you will,

14      process of now it's in front of the House Judiciary, are

15      you aware of whether the House Judiciary Committee

16      conducted any analysis on whether that as-amended map

17      complied with the Voting Rights Act?

18      A.          So, I would say at this point, we're making

19      changes, as you can tell, to pieces of the map, not

20      wholesale, broad-stroke changes.              These are more nuanced

21      changes, and it would be hard to see how that would be




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3:21-cv-03302-MGL-TJH-RMG     Date Filed 04/29/22   Entry Number 249-1   Page 204 of
                                        271



                                                                     Page 203

 1      the case, so that I don't know that it would be

 2      necessary to stop and do an analysis there.              Also, I

 3      would say there's one of the things we depend on counsel

 4      to say, stop, you're about to make a mistake, legally

 5      speaking, and I don't believe that occurred.

 6      Q.          Did anybody to your knowledge -- and this might

 7      be something within your knowledge -- were you involved

 8      in any discussions with Mr. Dennis or Ms. Dean

 9      evaluating the proposed amendments?

10      A.          I don't think I had conversations with either of

11      them concerning the amendments.             I think I had

12      conversations with the people proposing the amendments,

13      and that's not unusual in legislation.              You would

14      typically, if you were going to make an amendment, the

15      folks on the committee are going to look to the

16      subcommittee chairman to tell you why it's a good

17      amendment or a bad amendment.           So, you typically, if

18      you're doing your due diligence, you would go to the

19      subcommittee and tell them, look, this is what I'd like

20      to do, typically in advance of the amendment.

21      Q.          Do you know if the House Judiciary Committee




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3:21-cv-03302-MGL-TJH-RMG      Date Filed 04/29/22   Entry Number 249-1    Page 205 of
                                         271



                                                                     Page 204

 1      members had conversations with Nexsen Pruet about the

 2      as-amended map?

 3      A.          I don't know the answer to that.

 4      Q.          Did you receive any analyses of the as-amended

 5      map on how it complied with or compared to other

 6      proposed maps?

 7      A.          I don't believe I did at that time.                   Again,

 8      these are small changes, essentially, where districts

 9      are bouncing off each other, for lack of a better

10      description.

11      Q.          Then, so after the House Judiciary Committee

12      votes out the plan as amended, it's then transmitted to

13      the full House; is that right?

14      A.          Correct.

15      Q.          And I know we've talked about House Judiciary

16      members having access to some of the data, public

17      comments, and other things we've discussed.                       Would the

18      full House also have access to those forms of data?

19      A.          I would think so.         I mean, at that point, if

20      you've got something that could go to the

21      Judiciary Committee and review those comments, et




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3:21-cv-03302-MGL-TJH-RMG        Date Filed 04/29/22   Entry Number 249-1   Page 206 of
                                           271



                                                                        Page 205

 1      cetera.

 2      Q.          So this is the last exhibit with just a few

 3      questions.      This is Plaintiffs' Exhibit 14, and it's a

 4      transcription of the December 2, 2021, House of

 5      Representatives hearing, which was transcribed by TSG

 6      Reporting Worldwide, as contracted by Plaintiffs'

 7      counsel.      And then I'm going to have you turn to page 5

 8      for a moment just to show where your remarks begin on

 9      line 17, when you have a moment to get there.

10      A.          I have it.

11                  (Exhibit 14 marked for identification and

12      attached to the transcript.)

13      Q.          And then if you follow that down to page 10,

14      just give you an opportunity to see that these are

15      continuous.

16      A.          Okay.

17      Q.          And then could you read to yourself lines 20 to

18      line 1 on page 11?

19      A.          Okay.

20      Q.          Now, I want to ask you what you mean by, on

21      lines 21 to 20, where it says, "Invites us to weaken the




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3:21-cv-03302-MGL-TJH-RMG     Date Filed 04/29/22   Entry Number 249-1     Page 207 of
                                        271



                                                                      Page 206

 1      one person one vote standard?"

 2      A.          I believe I'm referring to the deviation that we

 3      talked about a few times.

 4      Q.          I know you testified before or earlier today

 5      about case law, that federal courts allow up to a 10

 6      percent total population deviation.                 Are you also

 7      familiar with the Senate redistricting guidelines

 8      regarding their total population deviation standard?

 9      A.          I'd say I'm loosely familiar, yes.

10      Q.          Would -- if they have a total population

11      standard that is 10 percent or plus or minus 5, in your

12      opinion, is that a weakened standard for one person, one

13      vote?

14      A.          You're saying the 10 percent versus the 5, I

15      mean, yes, I think that is a weakened standard.

16      Q.          And then I want you to review on page 11 the

17      lines 2 through 3, ending in line 3, "where possible".

18      A.          Okay.

19      Q.          Is this the first time that you explain the

20      concept of keeping existing districts intact?

21      A.          You mean explain to the body or explain to the




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                                           271



                                                                        Page 207

 1      general public or?

 2      Q.          Generally.

 3      A.          No, I don't think so.          I think when I'm talking

 4      about -- kind of like we talked about earlier -- a

 5      starting point and using 2010 as that starting point.

 6      That's essentially another way of saying that.

 7      Q.          Do you understand this as what might be

 8      associated with core retention?

 9      A.          You're talking about core retention of the

10      districts?

11      Q.          Yes.

12      A.          No, I'm using that as a -- I'm more connecting

13      that, I think, with the connecting back of, we need a

14      starting point.      I could use District 63 as an example:

15      It was found to be a viable legal district in 2010, so

16      that's -- the core of it is essentially a starting point

17      for 2020.

18      Q.          Was core retention a redistricting guideline for

19      the House?

20      A.          I don't believe so.         No, I'm thinking back over

21      different criterias, it was not.




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                                        271



                                                                      Page 208

 1      Q.          Give me one second.      I accidently clicked out of

 2      the page, I'm now back.        Then, if you could review lines

 3      10 through 15 on that same page?

 4      A.          Okay.

 5      Q.          Is this the first time you mention a guiding

 6      principle to keep smaller rural counties whole?

 7      A.          I don't know -- I'm reading here, I don't know

 8      if I'd call it a guiding principle.                 It's certainly

 9      something that, I think, has come up on more than a few

10      occasions in my involvement in districting, in that

11      smaller rural counties, dividing them up lessens their

12      impact or voice, so to speak.           And therefore, if we can

13      present a proposal that doesn't divide them up, then

14      that's not a bad thing.

15      Q.          I know we talked about the redistricting

16      guidelines before.      Do you recall if there's anything in

17      the guidelines that talk about keeping small rural

18      counties whole?

19      A.          No, I don't believe that's a particular

20      criteria.

21      Q.          On lines 18 beginning at -- and I think you just




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3:21-cv-03302-MGL-TJH-RMG      Date Filed 04/29/22     Entry Number 249-1   Page 210 of
                                         271



                                                                        Page 209

 1      talked about this for a moment, but I'll just have you

 2      review -- 18 through 23, if you just want to review that

 3      for a moment.

 4      A.          Sure.   Okay.

 5      Q.          And so here, and you just testified about

 6      "keeping smaller counties whole may necessitate

 7      increasing number of splits".              What do you mean by

 8      number of splits here?

 9      A.          If I remember correctly, I haven't read through

10      the whole thing, but I'm either talking about splitting

11      -- again, going back to what I was testifying a minute

12      ago -- splitting a county.            If you give a piece of a

13      county to another larger county, it diminishes

14      essentially their, for lack of a better description,

15      their voice in the process.             By keeping them whole

16      allows them to have a clearer voice.

17      Q.          During this hearing, and I can bring you to it

18      in a moment, do you recall Representative Brawley

19      introducing any amendments?

20      A.          I believe she did introduce a couple, at least a

21      couple ones that were amendments.




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3:21-cv-03302-MGL-TJH-RMG       Date Filed 04/29/22   Entry Number 249-1   Page 211 of
                                          271



                                                                       Page 210

 1      Q.          Was one of those amendments, to your

 2      recollection, the map that was proposed by the South

 3      Carolina State Conference of the NAACP?

 4      A.          I believe it was.

 5      Q.          And another, the one that the League of Women

 6      Voters of South Carolina had publicly proposed?

 7      A.          I believe that's correct.

 8      Q.          And if you could go to page 19 lines 17 through

 9      23 and just review those for a moment.

10      A.          Direct me again which lines?

11      Q.          Sorry, give me one moment.           This is lines 17

12      through 23.

13      A.          On page 19?

14      Q.          Yes.    This is essentially speaker -- the speaker

15      recognizing you in response to Representative Brawley's

16      amendment.

17      A.          Okay.    I'm there.

18      Q.          And then just for continuity, the reason -- I

19      just wanted to make sure we're on the same page, because

20      then if you look at line 24 on that same page, and then

21      if you want for a moment just to read through line 15 on




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3:21-cv-03302-MGL-TJH-RMG     Date Filed 04/29/22   Entry Number 249-1   Page 212 of
                                        271



                                                                     Page 211

 1      page 20, just so it might refresh your recollection

 2      about your comments related to Representative Brawley's

 3      amendment.

 4      A.          Okay.

 5      Q.          So, here you identify concerns about incumbency

 6      pairings as one primary concern?

 7      A.          I believe this was the League of Women Voters'

 8      plan, if I remember correctly.

 9      Q.          I want to make sure I can -- maybe I'll go back

10      up to Representative Brawley's initial one, just so you

11      know I'm asking -- if you go up to page 15, and then

12      lines 14 through 21, you'll see that this one references

13      the State Conference's map.

14      A.          Okay.

15      Q.          And then, so back to those moments we just

16      discussed on page 20, you had a concern about incumbency

17      pairings, that there were 13 to 14 -- up to 13 to 14

18      incumbents paired with the State Conference's map?

19      A.          So, in reviewing the transcript, my recollection

20      was, the issue, the incumbency issue, was not the

21      Conference's plan but the League of Women Voters' plan,




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3:21-cv-03302-MGL-TJH-RMG     Date Filed 04/29/22   Entry Number 249-1   Page 213 of
                                        271



                                                                     Page 212

 1      but I'll trust the transcript.           And at this juncture,

 2      I'm on the House floor and I have my notebook with the

 3      legislation and different comparisons between plans.

 4      So, my job on the floor at that point is to sort of

 5      point out the differences within the different

 6      proposals, so, again, I don't specifically have

 7      everything I had in front of me at the time, so I'm

 8      trusting the transcript essentially.

 9      Q.          So, on lines 11 and 12, you say that there's an

10      excessive amount of splits?

11      A.          I'm assuming that would either be, if I remember

12      correctly, that's county splits.            That could be precinct

13      or census blocks or whatever, but I'm assuming that's

14      county.

15      Q.          I guess, who created -- I guess, did you have an

16      analysis of the map that you were looking to in drafting

17      these remarks or talking points about the State

18      Conference plan?

19      A.          Yes, I would of had -- going back, I think we

20      talked about this a while back -- once we received the

21      however many different submitted plans, we then began




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                                         271



                                                                     Page 213

 1      the process of comparing and contrasting those plans to

 2      each other as well as the House plan.                  And so, with the

 3      assistance of staff and counsel, I had documents that

 4      would allow me to help -- to help me compare and

 5      contrast those districts, to summarize the difference

 6      between the two.

 7      Q.          And those were the documents, the analysis, we

 8      talked about before that might be either with staff

 9      counsel or Nexsen Pruet?

10      A.          Correct.

11      Q.          If you go up for a moment on page 16, and this

12      is lines 9 through 17, this is Representative Brawley.

13      If you could just take a moment to review that for a

14      second.

15      A.          Which lines again on page 16, lines?

16      Q.          9 through 17.

17      A.          Okay.

18      Q.          In the analysis that you had for the talking

19      points that you had in front of you, was there anything

20      to rebut Representative Brawley's contention that the

21      State Conference map draws more viable electability




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3:21-cv-03302-MGL-TJH-RMG        Date Filed 04/29/22   Entry Number 249-1   Page 215 of
                                           271



                                                                        Page 214

 1      opportunity districts for Black voters?

 2      A.          Yes, I believe so.        This goes back to

 3      majority-minority districts and opportunity districts

 4      and how -- again, I'm remembering now or trying to

 5      remember -- I believe the House plan had more

 6      minority-majority but yet a little bit fewer opportunity

 7      or some combination in there.              So, yes, I would have had

 8      analysis to help me articulate that.

 9      Q.          Okay.     I have one final set just to make sure I

10      understand these tiers that we've talked about, and then

11      just two or three final questions, at least from my end.

12      Just so -- and I just want to make sure, you can correct

13      me if I'm wrong on this, but the tiers that we talked

14      about today, tier 1 and the map room?

15      A.          I would go back further than that, honestly.                I

16      would say public testimonies.

17      Q.          Got it.     I should say -- maybe I can clarify.

18      In terms of maps being drawn, a tier process that way.

19      A.          Sure.

20      Q.          So the map room is tier 1 for the points that

21      we've discussed?




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                                         271



                                                                       Page 215

 1      A.          Yes.

 2      Q.          At tier 2, it's after the map room, that first

 3      time closes and there's a combination of -- Hager, I

 4      keep forgetting to stick with one way or another -- Ad

 5      Hoc Committee members and staff, and then counsel,

 6      whether that be Mr. Dennis or Nexsen Pruet, are working

 7      on putting together a initial working draft plan?

 8      A.          Yes, I believe that's all correct.

 9      Q.          And as they're putting that together, they're

10      also assessing some of the criteria that we've spoken

11      about that are those guidelines, compliance with Voting

12      Rights Act to make sure, as you said, there's nothing to

13      flag that might be concerning?

14      A.          Correct.

15      Q.          And then in that same stage, Ad Hoc Committee

16      members are speaking with delegations that they're in

17      contact with or that might be neighboring with them to

18      resolve any disputes or, you know, changes, agreements,

19      what have you?

20                  MS. HOLLINGSWORTH:       Object to the form.

21                  THE WITNESS:    Essentially, yes.         They're




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                                         271



                                                                      Page 216

 1      communicating with members in that area in the state,

 2      you know, depending on whether you're in an area of

 3      population that's above or below the average.

 4      BY MR. CUSICK:

 5      Q.          And then, you know, a working draft plan is

 6      publicly shared, and we've said tier 3 is kind of that

 7      plan being shared and public input, you know, from

 8      November 10th?

 9      A.          Yes.   So another set of public input to weigh in

10      on what we've rolled out.

11      Q.          And then the same set of folks, you know, Ad Hoc

12      Committee members, the counsel, staff, Mr. Hager, are

13      working on what might be amendments that they're

14      considering to that plan?

15      A.          Yes, I believe that's correct.

16      Q.          And then tier 4 is when it's amendments that are

17      being offered and voted on by the House

18      Judiciary Committee?

19      A.          Correct.

20      Q.          And then the final tier in just the map-drawing,

21      map-composition portion of that is when it goes to the




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                                        271



                                                                       Page 217

 1      full House?

 2      A.          Yes, as you can see, amendments could -- were or

 3      could have been proposed at that level as well, yes.

 4      Q.          And we've spoken a little bit about some of the

 5      delegations.      Would it be fair to say that delegations

 6      worked out deals among themselves for districts that

 7      were neighboring each other?

 8                  MS. HOLLINGSWORTH:       Object to the form.

 9                  THE WITNESS:    I don't know if I'd say worked out

10      deals.      I mean, they had to work together if they wanted

11      to come to a -- if they wanted to -- certainly, they

12      could disagree, as did happen in the process, and

13      ultimately, you know, the Ad Hoc and full Judicial and

14      ultimately the full body would make the decision on it.

15      But they certainly had the opportunity, should they

16      attempt to, to work together to resolve any differences

17      of opinions they might have within their neighboring

18      districts.

19      BY MR. CUSICK:

20      Q.          Then, I know that this is a separate question

21      just to close out a thread.            I know you talked about the




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                                        271



                                                                      Page 218

 1      interns that helped out in the map room.              Did you at all

 2      have any communications with them?

 3      A.          I had communication when I'd be in the map room.

 4      I mean, anywhere from good morning, have a good evening,

 5      and click here, click there, but I didn't have any

 6      communications with them regarding, for instance, what

 7      their work days, hours, things of that nature.

 8      Q.          And that's why as it gets later in the day you

 9      sharpen that question, because what I really should have

10      asked is, did you have any e-mails or text messages or

11      any written communications with any of the interns?

12      A.          No, I did not.

13                  MR. CUSICK:   I think otherwise, for now, I don't

14      have any other questions.         I think, Ms. Hollingsworth,

15      just for the record, I know that at least from my

16      understanding, there might be forthcoming -- I can't

17      recall if it's text messages or e-mails that

18      Representative Jordan had mentioned that were identified

19      and sent to you; is that right?

20                  MS. HOLLINGSWORTH:      No, they're not sent to me,

21      but we've gotten the order from the court and so we, as




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3:21-cv-03302-MGL-TJH-RMG     Date Filed 04/29/22      Entry Number 249-1   Page 220 of
                                        271



                                                                        Page 219

 1      of yesterday, are working hard to accommodate.

 2                  MR. CUSICK:     And just for record purposes, we'll

 3      continuing speaking with you, Ms. Hollingsworth, about

 4      those productions or any others in light of the panel's

 5      discovery order about whether there might be a need to

 6      reopen if there's any relevant documents for this

 7      deposition.      But, otherwise, I have no other questions

 8      on my end, and thank you, Representative Jordan.                    I know

 9      it's been a long day so I appreciate it.

10      A.          Absolutely.

11                  MS. HOLLINGSWORTH:        Are there any questions from

12      the election commission?

13                  MR. BURCHSTEAD:      No questions from the election

14      commission.

15                  MS. HOLLINGSWORTH:        Any question from the

16      Senate?      He might have gone on to more important things.

17      All right, well, last chance, hearing none, then we are

18      good.

19                  VIDEOGRAPHER:     Okay.      This concludes today's

20      video-recorded deposition.            We are going off the video

21      record at 4:21 p.m.




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3:21-cv-03302-MGL-TJH-RMG     Date Filed 04/29/22   Entry Number 249-1   Page 221 of
                                        271



                                                                     Page 220

 1                  (Video-recorded deposition of WALLACE H. JORDAN,

 2      adjourned at 4:21 p.m.)

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3:21-cv-03302-MGL-TJH-RMG     Date Filed 04/29/22    Entry Number 249-1   Page 222 of
                                        271



                                                                      Page 221

 1                         ACKNOWLEDGMENT OF DEPONENT

 2

 3

 4                  I, WALLACE H. JORDAN, do hereby acknowledge that

 5      I have read and examined the foregoing testimony, and

 6      the same is a true, correct and complete transcription

 7      of the testimony given by me and any corrections appear

 8      on the attached Errata sheet signed by me.

 9

10

11

12

13          _____________________           ______________________

14                  (SIGNATURE)                         (DATE)

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3:21-cv-03302-MGL-TJH-RMG       Date Filed 04/29/22   Entry Number 249-1   Page 223 of
                                          271



                                                                      Page 222

 1                                 E R R A T A         S H E E T

 2          IN RE:   The South Carolina State Conference of the

 3                   NAACP, et al. V. Thomas C. Alexander, et al.

 4          RETURN BY: ______________________________________

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                                          271



                                                                       Page 223

 1                              E R R A T A           S H E E T

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20          _____________              _______________________________

21              (DATE)                                    (SIGNATURE)




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3:21-cv-03302-MGL-TJH-RMG     Date Filed 04/29/22   Entry Number 249-1   Page 225 of
                                        271



                                                                     Page 224

 1           CERTIFICATE OF SHORTHAND REPORTER - NOTARY PUBLIC

 2

 3                  I, Danielle Lawrence, court reporter, the

 4      officer before whom the foregoing proceedings were

 5      heard, do hereby certify that the foregoing transcript

 6      and said proceedings were taken by me stenographically

 7      and thereafter reduced to typewriting under my

 8      supervision; and that I am neither counsel for, related

 9      to, nor employed by any of the parties to this case and

10      have no interest, financial or otherwise, in its

11      outcome.

12                    IN WITNESS WHEREOF, I have hereunto set my

13      hand and affixed my notarial seal this 25th day of April

14      2022.

15

16

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18

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                                         271


   [& - 4]                                                                       Page 1

             &            11:08 46:15           1800 4:5               205:4
    & 3:5 4:4,12 5:13     12 6:8 42:6 154:17    19 210:8,13          2022 1:15 7:4
                            179:10 194:4,8      194 6:8                152:4 224:14
             0
                            195:20 212:9        1950s 30:7,10 31:4   20458 224:19
    001 47:2              12-2-21 6:12          1965 108:19          205 6:12
    0091425 138:12        1221 4:5              198 6:10             21 61:13 166:16
    0091426 138:13        1230 3:15             1:30 111:6             205:21 211:12
    03302 1:8 7:10        124 5:14,16 44:12     1:35 113:17          212 3:8
             1              127:14 147:16       1:36 113:19          23 209:2 210:9,12
    1 5:8 7:4 46:1,21       149:21 178:10       1st 5:9              231-7838 4:15
      47:5 80:18 139:2    125 5:18                       2           24 185:13 194:13
      142:1 147:7         126 5:20                                     210:20
                                                2 5:10 46:15 48:5
      167:20 185:16       12:40 110:14                               25 22:14 190:5
                                                  48:10,16 86:1
      205:18 214:14,20    12:41 111:3                                  191:14,16
                                                  139:3 142:5
    1,000 141:5           12th 187:18                                25th 224:13
                                                  143:17 147:7,11
    10 6:6 46:8 54:10     13 1:15 6:10 7:4                           26 22:14
                                                  155:10 163:21
      54:10 112:18          194:1,4 197:19                           27 125:11
                                                  168:15 169:2,18
      152:3,12 154:14       198:3 200:9                              271-0324 3:17
                                                  176:18 185:16
      166:15 205:13         211:17,17                                29201 3:16 4:6,14
                                                  205:4 206:17
      206:5,11,14 208:3   1310 4:13                                            3
                                                  215:2
    10,000 129:15         1338 44:4
                                                2.5 87:14            3 5:12 71:17,18
    10-8-21 5:20          138 6:4
                                                20 61:13 72:16         72:4,7,10 80:18
    100 18:14 80:10       14 6:12 205:3,11
                                                  74:20 205:17,21      82:14 111:6
      148:9                 211:12,17,17
                                                  211:1,16             148:12 151:16
    10:03 1:16 7:3        15 164:14 188:12
                                                2010 61:7 87:19        186:13 206:17,17
    10:58 46:12             208:3 210:21
                                                  97:20 98:2,7,10      216:6
    10th 155:3,17           211:11
                                                  117:16 119:14,15   30 22:17 52:6
      163:18 179:8        152 6:6
                                                  119:18,20 120:4      116:1 124:17
      185:5 186:15        154 6:7
                                                  167:17 171:10,13     133:15
      192:13 216:8        16 164:7 194:5
                                                  207:5,15           31 23:17
    11 6:7 112:18           197:21 213:11,15
                                                2010-2011 119:5      3:21 1:8 7:10
      139:2 152:4         168 188:4
                                                2011 61:7            3:31 193:16
      154:13,20 163:19    169 188:10 190:6
                                                2012 23:8,13 30:21   3:40 193:19
      164:7,8 167:20      16th 192:15 194:2
                                                  31:1               3rd 71:20 72:13
      168:9 179:7,9         199:17
                                                2015 20:13 30:21       79:20 111:18
      205:18 206:16       17 195:20 200:9
                                                2020 207:17            112:6
      212:9                 205:9 210:8,11
                                                2021 6:4,6 12:15               4
    11-10-21 6:7            213:12,16
                                                  71:18 82:12,14
    11-16-21 6:8,10       170 191:15,17                              4 5:13 82:15,20
                                                  124:17 125:11,21
    11:05 46:6            18 190:3 200:9                               95:16 163:20
                                                  138:10 152:3,5
                            208:21 209:2                               168:11 193:19
                                                  154:14 197:21
                                   Veritext Legal Solutions
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3:21-cv-03302-MGL-TJH-RMG    Date Filed 04/29/22    Entry Number 249-1    Page 227 of
                                       271


   [4 - add]                                                                     Page 2

      196:11 202:13     70 185:10             able 39:8 47:2        acknowledgment
      216:16            700 3:15                48:7 55:3 72:6        221:1
    40 3:6              71 185:16               89:21 94:4 101:18   acorn 26:1
    41,278 87:2         72 5:12                 123:6 127:1         act 93:8 106:2
    4493 16:13 22:12    799-9800 4:7            138:14 142:14         108:19,21 109:9
      22:21             7th 23:9,14             184:9 188:14          109:15 110:8
    45 174:12                    8              198:15                123:20 150:12
    47 5:8                                    absolute 171:4          168:13,16 169:18
                        8 5:20 22:14 72:15
    48 5:10 155:2                             absolutely 40:6         170:20 176:19
                          74:20 125:18,21
    4:21 219:21 220:2                           83:4 89:20 127:18     178:13,20 202:17
                          126:4 133:16
    4th 111:12 114:2                            219:10                215:12
                          168:3 179:10
             5                                accent 169:15         action 7:16 9:4
                          194:11
                                              acceptable 92:12        15:16 156:2,3
    5 5:14 123:18       8-3-21 5:12,13
                                              accepted 145:4        actual 47:1,11
      124:2,8 158:12    8-30-21 5:16
                                              accepts 92:8          ad 6:9 24:16 35:20
      188:9 191:15,17   803 4:7,15
                                              access 32:4 48:9        54:7,20 55:10,12
      194:13 200:9      82 5:13
                                                57:8 58:5 94:5        56:7,19 57:13,21
      205:7 206:11,14   864 3:17
                                                123:7 127:15,16       58:4 61:1,10,21
    50 18:14 80:9       8:00 116:18
                                                127:21 131:5,7,14     62:17 70:17 71:21
      173:1 174:4,8     8th 111:12,18
                                                137:1,6,13 184:7      76:4 82:11 108:1
      175:4 183:6         112:6 114:1
                                                185:1 186:20          115:21 121:12
    5th 63:18             120:11 148:13
                                                197:9,12,13,17        123:16 124:16
             6            151:18 153:19
                                                204:16,18             125:10,20 127:6
                          156:12
    6 5:16 80:18,21                           accessible 123:1        127:10 142:15
      124:12,17 125:1            9              183:12                143:5,9,18,19,21
      138:13 188:11     9 6:4 54:10 80:17     accidently 208:1        146:17 147:9
    60 175:11             138:16 164:3,5      accommodate             154:14 158:2
    60s 30:7              188:6 194:11,13       66:14 219:1           159:7,18 161:3
    63 20:8,12 22:12      195:19 213:12,16    accomplished            163:4 173:17,18
      23:5 107:9,13     9-27-21 5:18            189:9                 173:19 186:4
      131:19,20,21      95 165:15,15          account 44:18           187:1,4,10 190:13
      132:3,18 133:1    965-7715 3:8            50:1,2,6,21,21        190:15,18,20
      207:14            99 170:10               51:4,16               192:1,4,9,20 193:8
    65 109:15                    a            accounts 45:8           194:2 195:5,11
    6:00 116:18                                 49:20,21              196:1 197:4
                        a.m. 1:16 7:3
    6:30 154:3 156:12                         accurately 86:14        198:11,12,14
                          46:12,15
      156:12                                    94:16 101:19          199:1 215:4,15
                        ability 80:3 84:19
             7            84:20 146:21        accuse 167:6            216:11 217:13
    7 5:3,18 125:6,15     149:10 171:9        acknowledge           adapt 25:3
      133:16 168:10       183:10 186:9          221:4               add 73:19
      180:3               187:15
                                 Veritext Legal Solutions
    212-267-6868                   www.veritext.com                        516-608-2400
3:21-cv-03302-MGL-TJH-RMG      Date Filed 04/29/22    Entry Number 249-1    Page 228 of
                                         271


   [added - april]                                                                 Page 3

    added 163:15          ago 18:18 19:4          190:15 191:2        answer's 38:8
    adding 114:8            32:7 39:12 81:11      192:16 193:4        answered 139:15
    addition 11:11          134:1 165:11          194:17,20 195:5,9   answering 10:1,19
      13:3 95:4 143:13      209:12                195:13,17 196:7     answers 13:2
    additional 12:5       agree 29:13             199:12,14,16          47:20 49:4
      77:6 140:20           116:12,15 155:1       200:3 201:10,16     anticipated 187:18
      147:21 156:6        agreements              202:8 203:9,11,12   antonio 3:4 8:5
    address 43:18           215:18                209:19,21 210:1     anybody 203:6
      44:2,6 83:10        ahead 16:5 46:17        216:13,16 217:2     apart 95:18 118:3
      191:11                70:12 73:5 79:18    american 24:3         apologies 16:5
    addressed 171:5         117:18 195:14       amount 67:5,6,8         21:10 54:1 70:11
      189:2               al 1:6,9 7:7,8          96:10 100:14          194:3
    addresses 43:21         222:3,3 223:3,3       132:17,20 212:10    apologize 11:7,20
      44:8,12,14          alert 21:12,13        analyses 184:15         21:14 44:16
    adequately 89:21      alexander 1:9 7:8       184:20 197:6          158:19
    adjourned 220:2         138:2 222:3 223:3     204:4               appear 221:7
    adjust 162:6          aligned 201:3         analysis 41:12        appearance 7:21
    administer 7:15       allow 55:8 67:8         148:15 149:5        appearances 7:19
    administratively        88:16 195:15          175:3,5,7,19        appearing 8:15
      50:15                 206:5 213:4           176:17 177:18,21    appears 82:17
    adopt 146:16          allowed 198:16          178:10,14,17        apply 36:17
    adopted 16:13         allowing 114:11         179:4 180:8 183:4   appointed 134:14
      77:2 79:21 82:14    allows 209:16           183:9,14,20 184:3   appointee 43:10
      98:7 127:6,7        alternatives 67:10      185:2 202:16        appointments
      196:1 201:17,18     amend 184:13            203:2 212:16          61:15,15 127:12
      202:9               amended 108:19          213:7,18 214:8      appreciate 219:9
    adoption 111:16         197:5 202:11,16     analyze 37:16         approach 31:6
    advance 73:1            204:2,4,12            92:10 182:14          160:6
      192:4 203:20        amendment             analyzed 32:17        approached
    advertise 112:7         146:19,21 147:2       179:14 180:6          160:12
    advice 11:13 12:10      186:21 187:2,3,11     182:16,19,21        appropriate 87:20
      13:5 68:12            187:14,15 192:10    anderson 50:12,13       88:4,12,13,20 89:6
    affiliated 45:4         192:21 200:5,8,13     60:1                  89:7 91:20
    affiliation 37:5,10     200:15 201:14,20    anderson's 151:1      approved 36:12
      102:21                202:2,5 203:14,17   answer 9:10,16          87:15,16 140:21
    affiliations 7:19       203:17,20 210:16      10:11,15 14:21        141:3
    affirmative 169:3       211:3                 28:1 34:17 38:15    approximately
    affixed 224:13        amendments 67:2         39:8 56:8 59:14       19:15
    african 24:3            146:16 156:19         79:13 112:4 123:3   apps 45:15 55:7
    age 44:17 140:15        167:10 186:5,7,9      139:17 177:21       april 1:15 7:4
      173:14                186:14 187:8          178:1 180:1 204:3     152:4 224:13

                                   Veritext Legal Solutions
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3:21-cv-03302-MGL-TJH-RMG      Date Filed 04/29/22    Entry Number 249-1    Page 229 of
                                         271


   [area - background]                                                            Page 4

    area 63:17 99:21      assessed 149:14       attorney 8:1 11:18            b
      100:7 101:10        assessing 83:19         11:18 42:4 53:20    b 5:5 6:1 57:17
      104:11 105:2,5        150:11 177:11         69:8 131:13          96:14 146:14
      112:2 114:16          215:10              attorneys 9:4          151:5
      126:15 132:1        assessment 31:12        11:13,15,15 13:5    baby 63:5
      134:19,21 136:13      33:10 83:2 84:1       14:10 69:6 94:6     back 13:20 27:2,4
      143:6 158:5,7         97:18 171:7         audibly 9:16           28:1 29:16 30:1
      161:20 162:3,18     assessments 39:17     audio 3:4,13 4:11      32:6,21 36:17
      162:21 163:2,10     asset 150:6           august 71:18,20        39:11 41:3,8,16,17
      166:4 170:8,9       assist 13:1 71:5,8      72:13 79:20 82:14    42:18 45:12 46:6
      175:16 176:9          129:7,12,16 130:7     111:18 112:6         46:15 48:14 51:20
      201:2 216:1,2       assistance 135:10       124:17               52:1 54:3,9 55:15
    areas 84:21 85:13       184:8 213:3         authorized 7:15        55:19 56:4,14
      89:17 133:8         assisted 185:4        available 57:15        61:12 63:11 77:1
      143:10              associated 77:4         68:3 71:8,21         77:2 79:6 87:21
    arrangements            207:8                 78:18,21 114:15      89:16 92:2 93:14
      57:4                assume 10:2 20:16       119:3,9 120:7        95:16 96:9 97:3
    arrived 16:6,8          39:19 52:19 69:16     121:10 123:8         97:15 103:8
    articulate 102:11     assuming 140:10         139:10 140:3,6,11    104:14 106:16
      214:8                 166:10 212:11,13      140:21 146:16        108:5,16 111:6,9
    aside 14:9 188:14     asterisk 152:21         154:15 189:6         112:21 113:19
      195:3               attached 5:6 6:2      average 107:17,18      115:15 117:15
    asked 33:3,6,14         47:6 48:11 72:5       132:2 216:3          119:4 120:10,20
      44:21 48:20 49:6      82:21 124:9 125:2   avoid 141:7            121:14 126:18
      49:9 56:15 58:15      125:16 126:5        aware 15:2 16:5        131:21 133:20
      139:16 218:10         138:17 152:13         27:12,20 28:5        146:14 147:19
    asking 14:1 21:14       154:21 194:9          29:9 30:14,16,16     158:3 162:12
      27:18,20 73:14        198:4 205:12          31:1 33:13 35:7,8    165:12 166:3,10
      98:2 119:20 125:5     221:8                 44:15 67:19 68:3     170:6 171:10
      135:10 169:20       attempt 44:11           70:9 96:1 99:18      172:2 181:12,13
      211:11                110:3 217:16          106:20 118:5         182:19 188:1
    asks 98:9             attend 116:14           119:11 120:5         189:18,21 193:6
    aspect 115:9            117:5                 121:16 146:12        193:19 196:3,19
      116:20              attendance 17:1         149:16 154:7         197:10 201:1
    aspects 40:5 95:11      65:16 135:7           161:3 174:10         207:13,20 208:2
      146:3               attended 16:21          175:7 182:11,18      209:11 211:9,15
    assess 31:4 76:20       197:11                194:17,20 195:1      212:19,20 214:2
      91:12 96:6,7        attending 7:18          202:15               214:15
      115:9 148:6         attention 28:15       awful 26:14           background 19:6
      149:20 181:8          134:7 153:21                               38:7

                                   Veritext Legal Solutions
    212-267-6868                     www.veritext.com                        516-608-2400
3:21-cv-03302-MGL-TJH-RMG       Date Filed 04/29/22    Entry Number 249-1    Page 230 of
                                          271


   [backgrounds - brawley]                                                          Page 5

    backgrounds 40:3      beginning 7:21           130:18,20 131:3,6     34:1 66:4
    bad 108:14 203:17       46:14 47:1 54:9        131:20 136:5        bit 13:12 15:12
      208:14                64:3 65:12 67:17       140:16 144:14         19:5 20:3 54:4
    baked 135:17,20         72:16 74:21 80:20      149:19 154:5          56:11 60:20 71:11
    balance 63:9            106:8 111:5            155:4 157:10          71:13 75:7 79:16
    balanced 105:13         115:18 164:8           158:15 159:19         98:5 111:9 117:18
      106:11                167:20 168:2           166:19 167:4          117:20 126:11
    balancing 108:6         171:16 178:5           169:9 174:13,14       133:5 144:11
    ballpark 22:15          179:10 193:18          175:5 178:2,11        158:16 178:16
      52:7 58:12            208:21                 183:8 185:9 194:7     214:6 217:4
    bamberg 201:11        begins 84:13 86:7        195:7 199:8         black 22:16,18
    bamberg's 201:14        105:8 153:1 190:4      200:14 201:12,15      27:17 28:7 29:10
    bankruptcy 18:3,9     behalf 3:2,11 4:2        202:1,4 203:5         33:18 34:1 39:1
      18:10,13,15           4:10 8:4,6,8,9,13      204:7 206:2           140:14,14 153:3
    baptist 35:12           18:4,5 167:8           207:20 208:19         173:3,4,9,14,15
      42:15                 198:13 201:20          209:20 210:4,7        174:4,11 175:4
    based 39:19 41:11     behavior 101:2,9         211:7 214:2,5         181:9 182:1,3,12
      56:8 62:11 85:12      102:1,8,14,20,20       215:8 216:15          183:6 214:1
      94:13,14 95:13      behaviors 101:7        believed 24:20        blanking 63:20
      96:5 108:19         beings 139:7             183:21                68:17
      135:18 171:14         179:11               beneficial 77:13      blinked 37:1
      172:5 179:14        believe 10:16          benefit 121:11        block 39:2,3 67:4
      180:6 200:21          12:11 13:15 14:5     benefits 191:19         95:5,10 129:15,15
    basic 9:6               14:6,7,11 15:11      best 32:3 35:19       blocks 212:13
    basically 84:20         16:7,14 17:8,11,11     36:4 56:5 60:16     blue 153:3
      137:14                18:2 19:1 21:21        108:14 184:1        blurrier 152:10
    basing 39:5             22:1,4,14,19 23:1      192:10              blurry 152:10
    basis 39:9 40:21        28:21 29:17 34:19    better 31:15 98:11    board 30:2
      59:12 64:21 81:12     34:20 35:2 37:20       139:13 150:7        boards 42:17 43:2
      88:3 90:13 92:18      38:11 39:9 41:5        153:11,13 189:19    body 187:14 201:8
      167:7                 42:16 44:21 47:13      192:3 204:9           206:21 217:14
    bass 131:2              49:5,11 54:10          209:14              bolts 14:15
    bates 73:16 138:12      55:9,13 57:10        beyond 95:7           born 19:6
    bear 59:15 124:10       58:7 61:18 75:12     big 24:20 39:13       bouncing 204:9
      129:13 133:20         75:14,20,21 76:13      63:14 89:1,5        boundaries 105:9
      136:11 147:6          77:12,21 78:18         98:10                 105:10,17,18
    becoming 26:2           79:5 86:15 90:8      bill 16:13 17:7       box 93:13
      43:6                  102:6 104:10           22:12,21 28:18      brain 168:20
    began 212:21            105:16 111:21          31:6 32:18 33:3     brandon 63:3
    begets 38:2             112:9 116:11         bills 25:19 26:4      brawley 15:2
                            123:10 130:1,14        31:5,12 33:14,20      209:18 213:12

                                    Veritext Legal Solutions
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3:21-cv-03302-MGL-TJH-RMG        Date Filed 04/29/22   Entry Number 249-1     Page 231 of
                                           271


   [brawley's - chairmanships]                                                      Page 6

    brawley's 210:15        219:13                 26:15 27:1,3,9       cell 52:13,17 53:12
      211:2,10 213:20     bureau's 105:11          28:2,4,9,14 29:13    census 60:16,17
    break 10:17,20        burr 4:4                 30:1 31:8 32:14        66:11 88:1 89:3
      46:4 74:5,6,8,10    burr.com 4:8             35:5 37:6,15,21        89:10,16 90:3,19
      82:1,2 85:12        business 17:20           38:10,12 39:10,21      91:9,13 95:5,9
      110:13,15,21          18:1,2,6,12,14,17      41:19 43:9 45:1        105:10 212:13
      111:9 193:10          52:17 105:2            64:20 71:19 73:12    certain 16:12 58:3
    breaks 72:21          bvap 174:4,12,16         82:10 86:13,19         67:5,6,8 88:17
    briefed 169:1           175:11,13,20           89:13 90:19 91:13      92:13 103:6 136:4
    briefly 123:14        bvaps 175:4 183:6        103:12 126:8,18        159:19 173:14
    bring 13:10 49:8                c              132:2 152:5          certainly 25:7
      64:13 159:6                                  154:14 168:6           26:8 27:2,4 28:2
                          c 1:9 3:1 4:1 5:1
      209:17                                       171:15 174:12          29:13,16 31:14
                            7:1,8 86:1 88:15
    brings 24:15                                   210:3,6 222:2          66:15 67:11 71:7
                            103:5,5 222:3
    broad 40:16 85:2                               223:2                  75:8 77:18,19
                            223:3
      91:2,6 102:17,18                           carolina's 29:12         93:3 98:10 105:6
                          cake 135:17,20
      104:1,5,10,16                                124:1,15 125:9         105:20 107:19
                          calculation 94:15
      106:10 111:11                                164:12,14,20           110:2 117:1
                            97:11
      147:12 166:5                                 165:6                  135:14 156:2
                          calculations 95:13
      202:20                                     carolinians 27:17        157:2 168:20
                          call 59:1 160:21
    broader 32:13                                  28:7 29:11 30:9        172:12 183:9
                            208:8
    broadest 16:2                                  35:21                  184:13 187:5
                          called 76:14 172:2
    broke 111:17                                 carries 139:2            198:14 208:8
                          calls 53:14 160:15
    broken 95:20                                   194:11                 217:11,15
                          candidate 22:4
    brought 15:15,18                             case 1:7 7:10 8:16     certificate 224:1
                            39:2,3 173:4
      16:1 28:15 30:5                              11:14 12:10 13:21    certify 224:5
                          candidates 21:2,7
      88:10 134:6 146:4                            14:13,19 15:3        cetera 18:18 28:4
                            22:2,9,9
      153:21 157:1                                 18:19 34:11 36:4       127:13 205:1
                          capability 140:16
      181:17                                       49:10 57:2 74:16     chair 60:6 62:17
                          capable 64:18
    brown 30:1                                     77:4 86:8 92:6,7,9     64:8 65:9,15 66:6
                            187:11
    brunell 34:18,19                               119:17 167:3           66:20 67:15 68:13
                          capacity 17:18
      34:20 70:2,14                                171:9 192:4,7          79:5 92:1 102:13
                            43:1,5,8 53:20
    brushed 30:11                                  198:21 203:1           116:7 133:2 170:5
                          capitol 26:11
    buckets 128:3                                  206:5 224:9            170:19
                          care 121:6
    building 150:8                               cases 30:5 92:13       chairman 24:6,9
                          careful 85:20
    built 107:1                                  category 25:17           24:16 59:4 61:19
                          carefully 171:3
    bullet 139:2                                   93:5 101:6 102:7       62:5 74:21 140:21
                          carolina 1:2,5,14
    bunch 101:4                                    103:18 157:16          144:8 193:5 198:9
                            2:4 3:16 4:6,14
      102:16 106:4                               caucus 24:7,8,11         198:10,19 203:16
                            7:7,10 11:16 13:6
    burchstead 4:3                               caught 83:12           chairmanships
                            16:16 19:8 23:11
      8:9,9 94:8 113:12                                                   24:13,14
                            25:6,7,11,21 26:13
                                    Veritext Legal Solutions
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3:21-cv-03302-MGL-TJH-RMG      Date Filed 04/29/22    Entry Number 249-1    Page 232 of
                                         271


   [challenge - committee]                                                         Page 7

    challenge 66:19         195:16 198:16       colleague 8:5         comission 43:10
    challenges 16:12      chosen 87:13          colleagues 88:7       comment 77:14,20
    chance 82:4,17        chris 45:20 46:18       160:4                 78:16
      86:4 139:4 219:17     48:2                collect 120:12        comments 58:12
    change 81:2,9,13      circle 159:21         collected 121:3         58:15 99:13
      81:15,16,16,17      circulate 94:5        collecting 76:10        120:18 121:7,17
      107:19,20 113:8     circumstances         college 19:16,19        121:20 122:3,6,8
      176:14                88:19                 19:20 130:13,14       122:16 145:20
    changed 23:1 38:6     cities 117:13         colloquy 78:19          151:11,12 156:5
      113:14              civil 36:14 165:10    color 21:2,7 22:9       189:13 197:14
    changes 66:3 97:5       165:20                22:10 107:2           204:17,21 211:2
      162:9 166:3         claim 168:17          columbia 1:3,14       commission 8:10
      171:14 186:17       claims 15:17,19         2:4 3:16 4:6,14       43:9 219:12,14
      202:19,20,21          16:1 91:13            7:10 54:11 68:2     commissioning
      204:8 215:18        clarification 9:21      111:13 148:2          183:13
    changing 47:19        clarify 174:2         combat 25:7,10        commitment
      49:3 171:13           214:17              combated 25:20          64:15
    chapters 17:5         clarity 32:20         combination           committee 6:9,11
    characterization      class 33:4              62:14 156:20          24:6,15,16 28:10
      18:9                classify 159:10         162:20 214:7          28:15,21 33:6
    charge 76:10          clear 62:6 170:4        215:3                 35:20 39:16,20
      127:11 132:10         173:7               combined 163:15         40:3,9,13 41:2
    charged 26:8          clearance 120:3         181:21                50:15 54:7,20
    charleston 19:16      clearer 209:16        come 17:10 34:4         55:10 56:7,20
      19:20 20:1,2        clearly 9:16,21         36:1 46:6 57:17       57:13 58:1,4 60:6
      26:13 165:16        click 130:10,10         91:14 101:5 107:6     61:1,10,14 62:1,3
      176:10                134:18 218:5,5        108:13 110:2          62:18 63:2,9
    checks 51:9           clicked 208:1           114:12,16 119:3       64:17 65:7,9,15,18
    chesterfield 78:11    clicking 134:21         120:19 133:6          68:16,19 69:3,9,11
    chief 71:2 128:14     climb 63:14             137:7 170:10          69:13 70:7,18
      128:20 130:6        close 86:19 115:18      189:20 191:8          71:19,21 72:1,13
      131:12                128:7 217:21          197:14 208:9          73:9,13 76:4
    chiefly 150:13        closed 142:19           217:11                79:20 82:11 83:14
    child 63:5            closer 11:21          comes 158:15            83:15,18 84:1
    choices 108:9,14      closes 141:18           192:8                 88:8 93:15 94:18
    choose 135:3,3          215:3               comfortable 94:1        96:4 99:10 100:1
    choosing 101:11       club 42:14,16         coming 36:18 57:9       108:1 111:19
      102:2 146:13        coffee 46:9             76:15 89:16 141:5     112:7 115:21
    chose 58:6,8 76:7     cohesion 177:13         163:1 171:10          116:8 120:12,17
      79:20 117:19        collaborated            185:17 190:17         121:6,10 122:1,4,5
      184:14 190:14         160:9                                       123:2,12,16

                                   Veritext Legal Solutions
    212-267-6868                     www.veritext.com                        516-608-2400
3:21-cv-03302-MGL-TJH-RMG       Date Filed 04/29/22    Entry Number 249-1   Page 233 of
                                          271


   [committee - conduct]                                                          Page 8

      124:16,16 127:6      communicate 70:5      compared 172:8        148:10 200:1
      127:10,20 132:12       119:2 143:5           180:20 182:2      components 144:1
      133:2 138:20           145:15                204:5               167:18
      142:15 143:6,9,18    communicated          comparing 213:1     composition 40:8
      143:19,21 145:5        192:19              comparison 185:1      40:13 178:7
      146:15,17 147:9      communicating         comparisons           216:21
      148:5,14 150:10        65:18 146:11          212:3             computer 52:21
      151:10 154:15,16       158:3 167:7 216:1   compelling 110:8      71:2,6
      157:7,18 158:2,21    communication         competing 100:4,6   computers 126:15
      159:2,7,17,18          59:16 70:9 218:3      100:12 107:10     concentrated
      161:4 163:4 167:5    communications          151:8               107:15
      167:8,11 169:3         56:6 138:3 161:5    compile 99:10       concept 37:7
      173:12,16,17,18        218:2,6,11          compiled 99:15        106:2,3 177:15
      173:19,21 174:15     communion 35:13         122:3 141:15        206:20
      175:2,6,12 176:17    communities 36:2        142:21            concepts 104:21
      176:21 177:3,9,19      36:3 81:6,15        compiling 99:14     conceptualizing
      178:7,9 179:13,17      98:17,21 99:8,11    complaint 14:20       186:12
      180:6 183:4,8          99:17,21 100:4,6    complaints 134:6    concern 41:6
      184:5,7,11,14          100:12,20 101:3     complete 221:6        95:12 115:8
      186:1,6,14 187:1,4     103:6 104:8         completely 188:2      116:13 211:6,16
      187:10,17 189:12       105:12,15,19        compliance 97:21    concerned 27:21
      189:19 190:11,14       106:9,15,18 107:2     108:20 109:15     concerning 203:11
      190:15,18,19,20        107:10 136:8          110:7 134:20        215:13
      191:5,11 192:1,5,5     151:8 168:8           135:1 176:18      concerns 25:5
      192:9,14,20 193:8      183:19                178:13 215:11       26:21 27:8,10,12
      194:2,18 195:11      community 25:4        compliant 107:20      28:11,12,14 76:15
      195:16 196:1,20        34:1 42:12 101:9    complicated 153:8     88:5 98:6 129:10
      197:4,21 198:6,11      102:18 103:9,10       158:6,8             134:5 155:5,17
      198:13,14,15,18        103:13 104:11       complied 135:11       160:13 161:15
      199:1 201:7 202:1      136:16                135:16 148:7,16     189:2,3 211:5
      202:10,15 203:15     compact 97:20           149:6,14 150:11   concert 137:12
      203:21 204:11,21       98:7,8 108:4          178:19 202:17       142:10 176:7
      215:5,15 216:12        168:7 183:15          204:5             concludes 219:19
      216:18               compactness 81:5      complies 109:8      conclusion 108:14
    committee's 82:12        81:15 93:19 94:13     168:5             condense 165:14
      83:2 111:10            94:19 95:2,8,14     comply 5:14 93:8    conditions 88:17
      121:12                 96:2,7,21 97:11       108:8,18 123:19   condolences 59:3
    committees 43:3          149:21 150:2          133:18 134:3      conduct 41:12
      123:17 125:10,20       183:18 201:1          148:7               52:5 76:20 148:15
    common 43:20           compare 160:3         component 65:20       175:2 178:9
      99:3 163:1             184:9 213:4           94:21 100:13

                                    Veritext Legal Solutions
    212-267-6868                      www.veritext.com                      516-608-2400
3:21-cv-03302-MGL-TJH-RMG      Date Filed 04/29/22    Entry Number 249-1    Page 234 of
                                         271


   [conducted - corrections]                                                       Page 9

    conducted 32:16       connecting 36:17      consultant 69:19      control 63:6
      178:18 180:8          142:12 143:7          70:3,4              controls 57:7
      202:16                207:12,13           consultants 59:8      convened 61:10
    conducting 127:11     connection 37:18        69:12,18            conversation
      149:5                 38:3,5 39:14        consultation 70:6       55:16 59:13
    confederate 26:6      connects 164:16         157:5               conversations
      26:11,16            cons 180:16,17        consulted 117:1         14:3,4 15:8
    confer 74:9           consider 17:2           157:20 158:9          137:19 169:4,10
    conference 1:5 7:7      24:18 29:21 32:1    consulting 75:11        203:10,12 204:1
      16:16 17:5 126:8      32:10,11,12 67:10   consumed 180:16       conversing 162:17
      181:6 210:3           70:16 81:14 135:5   cont 4:1 6:1          conveyed 197:7
      212:18 213:21         184:13 190:15       contact 79:8 157:7    coordinate 54:14
      222:2 223:2         consideration           215:17                65:13
    conference's 181:1      41:10 100:17        contacted 193:7       coordinating 68:1
      181:8 182:17          106:14 122:7        contained 36:2          118:12
      211:13,18,21          135:11 142:10         184:10              coordination
    configuration 97:1      146:3 165:9,21      content 11:12           118:16
    confines 54:13          190:11,16             12:18 13:4 47:11    copies 79:2 140:20
      105:4 131:11        considered 33:14        49:1 73:14 124:3      141:6 197:14
    conflict 99:20          100:10,21 104:8       131:17 176:15       copy 50:3 57:17
      100:3 108:2           105:7,12 109:12     contention 213:20       123:11
    conflicts 146:8         115:14 199:12       context 29:15         core 135:14 207:8
      151:7 157:18          202:9                 30:10 32:1,4 36:6     207:9,16,18
    conform 68:11         considering 33:20       36:8,15,16 40:6     corner 145:12
    conformed 68:9          174:16 186:16         42:18 101:17        correct 12:11
    congratulations         195:6 216:14          102:9 137:12          21:18 22:19 23:19
      59:3                considers 168:8         173:5,7 174:4         50:11,18 63:3
    congressional 5:21    consolidate 165:15      178:7 198:10          72:8 87:12 90:6
      23:9,12,14 62:4     constantly 155:11     contiguity 183:19       107:16 113:10
      63:15 64:21 82:13   constituents 34:4     contiguous 108:4        128:5,12 129:12
      125:19 158:12         51:2 53:19            168:7 200:20          129:20 141:9
      168:3,11            constitution 81:3     continue 12:6 74:8      154:5 155:4 169:7
    conjunction             123:20 168:6,6      continuing 219:3        190:7 195:7 196:9
      149:11              constitutional        continuity 210:18       202:11,12 204:14
    connect 133:7           110:4 177:4         continuous 205:15       210:7 213:10
      143:11              constitutionally      contour 96:18           214:12 215:8,14
    connected 18:16         92:17,20 109:19     contracted 205:6        216:15,19 221:6
      37:8 120:1 143:10     110:9               contrast 184:9        correction 222:5
      159:8,10 166:11     constraints 117:11      213:5                 223:5
      201:6               consult 160:7         contrasting 213:1     corrections 221:7


                                   Veritext Legal Solutions
    212-267-6868                     www.veritext.com                        516-608-2400
3:21-cv-03302-MGL-TJH-RMG       Date Filed 04/29/22    Entry Number 249-1    Page 235 of
                                          271


   [correctly - days]                                                              Page 10

    correctly 12:15         115:17 123:14          79:11,12,21 80:20     172:3,4,14 176:4
      26:3 45:7 54:8,12     129:19 161:3           81:1,9,20 82:7,12     177:6 178:4
      57:16,18 62:19        163:17 188:2           83:2,19 88:15         181:20 182:10
      77:20 78:12 79:13     190:2 209:20,21        102:14 108:2,13       190:1 193:14,20
      105:15 112:12       course 29:5 33:8         108:20 111:16         202:7 216:4
      130:4 141:1,4,21      34:7,8 35:19           127:7 133:19          217:19 218:13
      156:1 157:3 161:1     55:11 69:2 77:20       135:15,16 148:4,7     219:2
      165:14 169:4          88:11 90:5 112:15      148:16 149:7,15     cut 36:20
      181:14 186:19         117:7 135:2            179:15 180:7        cv 1:8 7:10
      189:17 192:19         137:19 138:7           208:20 215:10       cycle 61:5 87:17
      200:17 209:9          157:2                criterias 207:21        119:6,10,14
      211:8 212:12        court 1:1 7:9,13       critiques 88:5                 d
    correlated 37:6,15      8:17 9:14 10:6,10    cross 39:20 40:16
                                                                       d 7:1
      37:21 38:1            11:5,9,20 12:6       crossover 177:15
                                                                       daniel 130:21
    counsel 7:6,17          19:2 35:1 53:4,8       177:18,21
                                                                       danielle 1:21 2:14
      8:21 10:8 11:19       92:8 113:7,10        cultural 35:6,7,9
                                                                         7:14 224:3
      12:9 13:16 14:13      135:18 161:6,12        35:10,14,16,17
                                                                       data 60:17,18
      15:8 49:6,10 57:1     169:11,13 177:20       36:3 102:16
                                                                         66:11 89:10 90:19
      68:18 71:7 75:11      178:3 202:3,6        culture 35:11,11
                                                                         99:16,18 139:8,10
      75:13 131:12          218:21 224:3           36:7,9,13,14
                                                                         139:18 140:2,6,11
      144:17,17 147:10    courtroom 9:11         current 22:11
                                                                         140:14 164:13
      149:10 150:13       courts 206:5             44:12 107:9
                                                                         166:8,12 177:7
      159:20 169:5        covered 42:21            136:12
                                                                         197:6 204:16,18
      170:1,9,11 171:1    covid 66:15 79:7       currently 19:11
                                                                       date 64:14 98:12
      176:8 177:1           89:2,9,11,14,16,20     20:15 126:21
                                                                         189:6,21 221:14
      178:21 182:14         91:2,5 117:11        cusick 3:3 5:3 8:2
                                                                         222:21 223:21
      184:9 203:3 205:7   create 62:3 111:19       8:3 9:1,3 11:10
                                                                       dated 82:14
      213:3,9 215:5         155:13 186:20          12:7 25:18 31:21
                                                                       dates 54:14,16
      216:12 224:8          190:19 191:3           35:4 46:16 53:9
                                                                         61:8 76:17
    count 89:10           created 83:8,18          72:18 73:7 74:13
                                                                       daughter 45:14
    counties 117:14         87:2 99:16 138:20      74:19 81:18 82:9
                                                                       david 34:13
      208:6,11,18 209:6     179:3 180:11           85:7,15 91:7 94:2
                                                                       davney 161:1
    country 42:16           212:15                 94:7,11 98:3
                                                                       day 45:15,16
    county 78:11          creating 109:4           109:6 110:6,12
                                                                         105:21 127:11,11
      105:9,17 138:4        142:5 143:17           111:1,7 112:21
                                                                         161:8,18 169:15
      145:10 158:14       creation 61:10           113:5,9,16,20
                                                                         188:20 189:1
      165:16 209:12,13      67:11 109:12           120:2 135:21
                                                                         190:21,21 191:3
      209:13 212:12,14    criminal 19:4            149:3,12 152:14
                                                                         218:8 219:9
    couple 13:15 28:8     criteria 5:13 31:10      152:19 153:6,10
                                                                         224:13
      28:19 55:9,10         71:14 75:5,10          161:13 169:16
                                                                       days 52:6 64:4
      57:3 73:11 84:4       77:21 78:10,18         170:3 171:20
                                                                         133:11,15,16
                                    Veritext Legal Solutions
    212-267-6868                      www.veritext.com                        516-608-2400
3:21-cv-03302-MGL-TJH-RMG       Date Filed 04/29/22    Entry Number 249-1    Page 236 of
                                          271


   [days - different]                                                             Page 11

      155:15 188:14        define 30:18 35:10    department 27:3,5     determinations
      190:20 218:7           36:9 96:13 98:21    depend 160:6            67:1 146:7
    deal 66:17 97:5          101:5,9               175:15 203:3        determine 66:6
      98:10 119:21         defined 99:21         depending 162:14        74:8 95:14 100:14
      189:21               definitely 41:16        216:2                 101:19 175:3,13
    dealing 93:16            108:7 115:13        depends 65:11           175:19 179:1
    deals 86:4 93:19         170:4               deponent 221:1          183:5 198:17
      217:6,10             definition 38:18      deposed 15:3          determined 66:7
    dealt 17:19 26:5         85:2 96:14 97:10      17:15                 99:19 183:20
      28:18,19 43:15         99:1 102:17         deposition 1:13         188:17
    dean 11:17 12:9        degree 47:13,14         2:1 7:5,11 8:14     determining 58:13
      55:13 57:11 59:20      137:13 167:16         9:5,15 13:13          150:6 162:10
      59:21 67:13 68:17      177:13 182:9          14:12,14 15:6,10    developing 84:2
      75:16 76:1 77:1,7    delayed 88:1 89:2       17:14 28:2 73:1       144:6 147:10
      80:16 118:15,19        115:21                92:5 103:16 178:6   development 25:1
      123:4 132:9          delegation 137:8        219:7,20 220:1        83:5,6,7
      150:19,20 179:19       137:16 138:1        depositions 9:20      deviation 86:5,10
      203:8                  145:8,10,15 146:5     18:16 48:13           86:11,21 87:8,18
    debate 28:13             160:8,10            depth 47:13             88:2,16 92:8,19
    decades 27:5           delegations 142:11    dequit 130:15           93:7 95:18 107:21
    december 205:4           157:19 159:1,3      describe 15:21          129:5,10 134:4,20
    decide 78:8,12           215:16 217:5,5        38:20 67:14 71:4      140:18 145:17
    decision 26:19         deligation 137:8        126:14 131:9          163:13 206:2,6,8
      64:8 69:14 90:1        137:10                184:18              device 53:1
      91:20 109:4 116:7    delineate 184:18      described 56:12       differ 181:4
      116:7,8,11,21        democrat 62:8,9         63:6 167:15 170:2   difference 89:1,5
      117:2 217:14         democrats 38:10         170:6 185:21          183:11 213:5
    deck 68:21               38:14               describing 106:11     differences 180:17
    decrease 175:13        demographic           description 31:15       180:18 181:19
    decreased 85:14          139:7,10 140:2,6      147:12 189:19         184:10,18 212:5
    decreasing 84:20       demonstrate             192:3 204:10          217:16
    dee 96:18 161:20         89:21 91:4            209:14              different 16:21
    defendants 1:10        demonstrated          desire 191:2            29:6 37:12 40:1,2
      3:11 4:2,10 5:8,10     36:5                desired 191:12          40:2,5,18,18 41:5
      8:8,13 45:19         dennis 11:17 12:9     desktop 52:21           41:18 45:15 55:10
      46:18 48:2             14:7 59:17 75:15    detail 71:12            56:6 63:12 69:1
    defending 8:15           76:1 131:7 144:13   details 30:15           84:21 85:12 90:1
    defense 3:5 8:3          150:17 163:7,8      determination           92:21 97:15 99:3
      34:21 35:3 43:9        169:8,9 203:8         64:9 94:15 97:2       102:16 104:1
    deference 171:2          215:6                 116:17 117:13         105:6 112:1,15
                                                                         128:9 146:3

                                    Veritext Legal Solutions
    212-267-6868                      www.veritext.com                        516-608-2400
3:21-cv-03302-MGL-TJH-RMG       Date Filed 04/29/22    Entry Number 249-1    Page 237 of
                                          271


   [different - draft]                                                             Page 12

      148:19 151:11         204:17 211:16          162:16,17 163:11      48:7,8,18,19 71:17
      162:20,21 167:18      214:21                 165:15,18,19          72:2,9,10 73:16
      180:10 181:5,7,18   discussing 186:16        170:13,14,17,18       76:8,11 78:16
      182:15 184:10,19      194:3                  171:8 172:16,20       79:17 80:8,10,11
      188:2 190:21        discussion 47:12         172:20 173:8,13       80:13 81:21 82:7
      207:21 212:3,5,21     80:5 88:11 113:18      174:3,6,7 175:10      82:17 83:17 95:20
    difficult 33:1 43:7     151:9 163:9            175:17,21 176:3       124:6,7,19,21
      43:12 64:5,10,13      165:17 195:10          178:17,17,19          125:5,12,18
      64:15,16 110:1      discussions 11:12        179:3,3 182:12        138:14,18 149:13
      145:16 162:1          12:19 44:10 49:1       197:3 201:2,3,4       149:16 154:18
    digest 75:7 79:16       54:19 62:12,14         207:14,15             185:11
      80:4 189:19           131:18 151:2         districting 208:10    documents 5:9
    diligence 203:18        170:1 176:16         districts 16:12,14      14:17,21 15:9
    dilution 84:13,16       195:4 203:8            86:18,19 87:4         46:20 48:15 49:8
      85:3,9              displace 162:6           95:19 97:19 98:6      49:10,12 72:19
    diminishes 209:13     disproportionally        119:15 126:20         73:7 75:6 83:21
    direct 70:9 200:8       28:6                   131:5 133:6,8,21      94:4,6 119:13
      210:10              disproportionately       134:2 137:16          121:3 122:2,21
    directed 129:7          27:16                  142:9 147:16          123:7,8 126:2
    direction 129:3       dispute 16:3             149:21 157:13         184:21 213:3,7
    directly 45:17        disputes 16:7            160:3,10 162:1,6      219:6
      119:21 170:10         215:18                 163:1,14 165:15     doing 42:1 60:16
      189:13              disputing 15:15          170:21 171:11         118:9 203:18
    disagree 217:12       district 1:1,2 7:9,9     172:8 173:10        downloaded 154:3
    disagreements           20:6,8,12 22:12        174:11,16 175:1,1   dr 34:13 70:14
      146:5                 23:5,10,12,14,15       175:3 176:11,14     draft 6:6 75:9 76:6
    discovery 14:21         23:17 24:19 34:2       178:10 180:13,14      77:11 79:17 127:1
      219:5                 59:4 62:5 63:15        180:21 181:10         142:6 143:2,3,20
    discrepancies           64:21 86:13 95:3       182:1,1 200:20        145:2,19 147:8,14
      154:4                 105:11 107:9,10        201:6 204:8           147:14,15 148:13
    discrimination          107:13 127:1,2         206:20 207:10         149:18 151:17
      29:10 30:9 31:3       129:6 131:19           213:5 214:1,3,3       152:3 153:1,18
      32:2 103:17           132:18 133:1,7         217:6,18              155:2,13,18
    discuss 14:12,15        134:3,11,16 136:3    diverse 62:7,7          156:11 157:12,21
      50:10 53:12 60:19     136:18 137:5,10      divide 106:18           159:1,13 166:2
      75:8 118:8,10         140:8,9 146:6          208:13                167:10 177:8,11
      169:20 180:2          148:6,15,15,16       dividing 208:11         178:18 183:15
    discussed 63:7          149:5,5,6,14 150:4   division 1:3 7:10       190:15 191:2
      88:10 90:14           150:7 157:8          doctors 168:19          196:8,15 197:7
      115:14 116:9,9        158:12 160:5,9       document 47:1,3,4       215:7 216:5
      159:20 164:10         161:15,16 162:11       47:8,9,10,20 48:5

                                    Veritext Legal Solutions
    212-267-6868                      www.veritext.com                        516-608-2400
3:21-cv-03302-MGL-TJH-RMG        Date Filed 04/29/22    Entry Number 249-1    Page 238 of
                                           271


   [drafting - esquire]                                                            Page 13

    drafting 79:11           51:9,15,21 55:15     effort 62:2           encompass 102:8
      84:2 212:16            55:20,21 56:12       efforts 61:6 67:14      103:15
    drafts 133:6 136:9       57:8,9,12,15 58:3      86:9 112:6          encompassed
    draw 132:16 133:6        58:7 74:15 101:3     eight 19:15             104:18
      134:2,2,3 135:10       112:10 151:12        either 17:4 21:1,4    encompasses
      137:5 140:8 142:9      218:10,17 222:1,1      34:6 45:8 49:7        63:19
      163:11 170:21          222:1 223:1,1,1        57:16 58:4 60:21    encompassing
      171:7                earlier 13:18            87:9 114:15 130:8     25:3 168:9
    drawers 70:17,17         24:13 62:2 87:21       134:18 137:7        encourage 112:2
    drawing 100:15           92:5 95:1 103:16       145:3 148:7 182:8     121:1
      107:9 109:5 129:1      113:14 129:9           185:3 189:12        encouraged
      129:2,6 134:11         141:11 167:14          203:10 209:10         120:14
      135:10 146:12          185:21 196:3           212:11 213:8        ended 138:5
      148:6 156:14           200:19 206:4         elect 173:4             155:14
      160:1 216:20           207:4                electability 213:21   ends 80:21 141:12
    drawn 89:4 129:5       early 30:7 61:12       elected 20:5,12         168:3
      134:1 136:1,3        easier 58:9 74:13        25:5 26:20 27:11    engage 81:12
      137:1 141:8,14         74:16 91:18 93:21      27:15 30:21 37:20   engaged 28:9,10
      142:3 157:9,13         113:3 120:20           43:2,13 45:4        engine 106:1
      162:11 173:14          153:3 158:5 159:6      49:17 52:13,16      englea 130:21
      214:18               easiest 73:17            65:2 107:6          englee 130:21
    draws 213:21             144:18               election 8:10         ensure 148:15
    drew 44:14 136:10      easily 48:9 94:5         21:19 22:9 23:18    entail 56:9 108:21
      137:2 160:4,4        easy 105:1               24:9 28:14,16         134:13
      183:5                echo 11:6                37:12 61:17 115:2   entailed 18:10
    driven 66:10           economic 25:1            198:9 219:12,13     entire 41:18
      163:14 172:11          102:15 103:19,21     elections 20:17         108:13 137:8
    driver 67:4 109:4      education 25:1           21:16                 144:18 149:17
    drives 161:19            30:2 111:19          element 100:8         entitled 77:19
    driving 106:1          educational 3:5        elements 100:9        equal 95:17
      109:7                  8:4                  elijah 20:21 21:4     equated 168:18
    due 64:2 150:21        effect 85:18           eliza 4:18 7:12       equipment 128:16
      203:18               effective 172:15         130:15                130:11
    duly 8:19                173:8,9 174:2,6,10   emanuel 26:14         equity 33:10 148:3
    duty 5:14 9:10           182:1                emergency 21:13       era 29:20,21 30:2
      81:16 123:19         effectively 181:10     employed 42:3         erica 3:13 8:12
              e              183:6                  224:9               errata 221:8
                           efficiency 133:4       employment 20:4       especially 95:16
    e 1:21 3:1,1 4:1,1
                             141:6                  20:5 41:21 104:13     150:21
      5:1,5 6:1 7:1,1
                           efficiently 127:8      enactment 22:20       esquire 3:3,4,12
      34:6 49:19,21
                                                                          3:13 4:3,11
      50:1,2,7,9,19 51:3
                                     Veritext Legal Solutions
    212-267-6868                       www.veritext.com                       516-608-2400
3:21-cv-03302-MGL-TJH-RMG         Date Filed 04/29/22    Entry Number 249-1    Page 239 of
                                            271


   [essentially - federal]                                                           Page 14

    essentially 50:14          150:3 166:4         experience 114:9        106:4,7,13 117:13
      63:19 131:13             180:12 181:3          199:7               failed 202:2,5
      132:2 134:17             200:18 207:14       experienced 26:12     fair 18:9 21:16
      141:15 144:4           examples 32:17        expert 34:10,21         39:7 40:7,11
      146:11 154:2             85:3                  35:2 38:17            45:14 51:11 53:11
      167:7 188:14,21        excess 86:12          explain 86:7 180:8      83:1 87:6 88:15
      189:6,7 192:2          excessive 212:10        206:19,21,21          99:8 106:6 123:21
      204:8 207:6,16         exchanges 51:16       explained 39:1          124:14 125:8
      209:14 210:14          excuse 24:15            63:11                 127:14 128:11
      212:8 215:21             76:12               explaining 109:11       132:17,19 142:1
    establish 92:12          exhibit 5:8,10,12       109:14                147:12 148:4
      93:12,16                 5:13,14,16,18,20    explanation             154:4 157:11
    established 127:9          6:4,6,7,8,10,12       148:19 195:8          167:9,12 173:6,11
    establishing 97:7          45:19 46:1,1,21     explanations            194:16 196:6
      115:15                   47:2,5 48:5,6,10      136:3                 217:5
    estate 18:8,11             48:16 71:17 72:4    expressed 65:6        fall 62:15 102:7
    et 1:6,9 7:7,8             72:7,9 80:18          155:19 160:20       falls 25:17
      18:18 28:4 127:13        82:14,20 94:5         161:17              familiar 33:11
      204:21 222:3,3           123:18,18 124:2,8   extent 37:13 49:16      35:6 36:14 37:4
      223:3,3                  124:12,17 125:1,6     61:11 96:12 129:9     82:19 86:6 93:10
    ethic 85:4,9               125:15,17 126:4       132:13 133:10         125:14 126:3
    ethics 24:6                138:10,13,16          156:13 176:16         170:12 172:15
    ethnic 84:13,16            152:2,12 154:13       199:5                 177:15 206:7,9
    evaluating 203:9           154:20 163:19       eyes 89:6,8 109:15    family 43:14
    evening 35:15              179:7 194:1,8                  f          far 18:8 29:16
      218:4                    197:19 198:3                                37:19 62:7 64:19
                                                   face 21:19 22:5
    eventually 133:7           205:2,3,11                                  101:15,16 134:20
                                                     55:5,5,8,8 59:17
    everybody 76:15          exhibits 73:3                                 163:14 173:1
                                                     59:17
      94:4                     110:16 126:12                               182:20
                                                   facebook 45:6
    evidence 105:12          exist 171:14                                farm 78:11
                                                   facetime 55:7
    exactly 40:14              174:13                                    fashion 89:5
                                                   facetimes 55:9
      100:3                  existed 29:13,17                              199:21
                                                   facilitating 143:3
    examination 5:2            52:3 80:12 171:11                         father 17:20 18:4
                                                   fact 117:16 178:13
      8:21                     171:13                                    favor 26:3,7,10
                                                   factor 89:15 101:4
    examined 221:5           existence 119:18                            favorable 191:20
                                                     103:5,19 109:7,11
    example 35:12,15           120:5 176:8                                 192:6 196:4
                                                     109:13 115:19
      54:18 85:8 93:4        existing 206:20                             feasible 115:10
                                                   factored 41:16
      100:11,15 101:8        exists 30:14 39:10                            116:3
                                                   factors 99:19
      103:10,14 107:13         44:20 182:13                              federal 81:4 84:6
                                                     100:21 101:5
      108:3 115:20           expectation 73:3                              92:7 97:21 108:17
                                                     102:17 104:2,8,13
      145:10 146:13            195:9                                       108:18 168:7,12
                                                     104:19 105:8,20
                                      Veritext Legal Solutions
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3:21-cv-03302-MGL-TJH-RMG      Date Filed 04/29/22    Entry Number 249-1    Page 240 of
                                         271


   [federal - full]                                                               Page 15

       206:5             firm 7:12 50:5          folk 75:16              215:20 217:8
    feedback 76:9,11     first 12:14,17 14:5     folks 34:8 40:18      forman 4:4
       77:14 117:3,6,7      20:4,11,18 26:5        53:15,17 54:14      former 50:13
       121:18 131:18        30:20 45:21 46:20      64:9 67:10,21       forms 204:18
       133:17 159:4         48:4 49:21 61:12       69:5 75:17 79:7,9   formula 94:14
       160:15               61:15 71:12 80:19      90:4 112:14,16        95:13 96:5
    feel 9:21 45:15         81:7 84:8 96:20        114:4,11,18         forth 48:14 54:3
       49:8 94:1 124:4      103:19 108:8,17        115:14 118:11         97:6 197:3
       125:4 188:19         111:12,18 115:21       133:12 135:9        forthcoming
    feels 125:14 126:3      123:18 128:8           136:8,11,12           194:17 218:16
    fell 172:1              141:12 151:20          140:17 141:5        forums 112:8
    fellow 58:18            152:20 155:2,13        142:8 143:18        forward 31:2 36:1
    felt 64:18 80:2         157:12 163:20          145:5 155:19          60:18 68:8 122:7
       155:20 191:1         180:19 182:2           156:5,7,13 157:16     146:18,20 184:1
    fewer 214:6             199:17 206:19          160:16 163:3        forwarded 57:12
    field 170:7 177:5       208:5 215:2            168:18 191:8          57:14 58:8
    fifth 3:6            fit 93:5 145:13           203:15 216:11       found 34:3 36:3
    figure 46:5 144:20   fits 196:21             follow 5:16,18          44:18 45:3 87:20
    filed 7:8            five 46:7 86:11,21        80:11 90:12           88:13,20 159:5
    fill 64:16              87:1,3,7,11,14         124:13 125:7          207:15
    filled 63:21 64:7       88:12,17,21 92:2,9     205:13              four 21:20 32:21
    filling 65:7            92:11 93:1 135:6     follows 8:20            33:9 73:9 126:12
    final 111:12            193:10               footprint 136:18      fourth 20:15 21:21
       116:21 117:2      flag 26:6,11,16         forces 162:5            72:1,9,10
       125:17 156:14        215:13               forefront 26:19       framework 80:1
       157:3,21 166:2    flaw 77:21              foregoing 221:5       free 9:21 49:8
       214:9,11 216:20   floated 132:11,12         224:4,5               124:4
    finalized 115:17     flood 77:9              forgetting 215:4      front 13:8 39:13
       151:17            floor 3:6 90:15         forgive 147:19          44:1 46:21 47:4
    finally 45:16           93:16 212:2,4        forgot 79:9             48:8 57:21 58:6
    financial 224:10     florence 19:8,12        form 25:12 31:13        128:19 139:16
    financially 7:16        31:8 32:13 33:19       53:6,15,15 85:5       174:14 187:19
    find 44:21 52:4         42:4,13,14,15,16       90:21 98:1 109:1      199:5 202:14
       54:15 56:20          43:15 54:3 118:21      109:21 119:16         212:7 213:19
    finding 66:13,17        119:2 138:4            140:11 147:5        fruition 181:18
    findings 70:14       flow 127:8                148:17 149:8          193:7
    fine 11:1 110:20     flowed 68:6               169:19 172:9        full 55:21 56:1
       142:12 143:14     flowing 133:3             176:1,20 181:5,11     80:19 84:7 86:8
       145:14            focus 160:5 163:17        182:5 184:15          90:15 106:11
    finish 10:20         focused 140:17            189:15 192:2          139:8 140:19
                            160:8                  197:2 199:21          142:6 146:18

                                   Veritext Legal Solutions
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3:21-cv-03302-MGL-TJH-RMG       Date Filed 04/29/22    Entry Number 249-1   Page 241 of
                                          271


   [full - groups]                                                               Page 16

      156:13 167:1           193:1 199:4          193:14 194:10,13      196:12 201:1
      187:12,14 191:13     give 35:12 38:7,18     195:14 203:18         203:14,15 205:7
      192:5,11 193:6         45:18 47:7 67:9      204:20 210:8          209:11 212:19
      195:14,16 196:15       79:17 80:7 93:2      211:9,11 213:11       219:20
      196:19 197:5,7,10      100:11 110:3         214:15              good 7:2 8:2,7 9:2
      198:15 199:5           115:20 145:9       goal 106:5              39:20 46:10 65:16
      204:13,18 217:1        156:6 157:7        goes 37:19 62:8         74:4 95:9 99:1
      217:13,14              166:21 176:6         97:3 106:11,16        109:11,14 111:8
    fully 62:18              187:4 190:13         129:14 134:20         112:20 136:13
    fund 3:5 8:4             194:10 205:14        146:17 147:18         181:13 196:21
    fundamental              208:1 209:12         191:15 196:3          203:16 218:4,4
      171:4                  210:11               197:3 214:2           219:18
    fundamentally          given 57:4 64:6,14     216:21              gotten 27:3 188:20
      89:17                  88:1 89:2 105:13   going 7:2 9:5           218:21
    further 100:2            105:18 155:7         10:20 11:12 12:18   gov 50:21
      108:11 120:21          171:2 188:20         13:4 14:2 16:6      govan 160:19
      214:15                 192:6 195:13         31:17 35:12,14        201:21
              g              199:18 221:7         37:17,18 41:8       govan's 161:15
                           giving 27:19 189:2     47:11 48:21 54:2      162:2
    g 7:1
                           glad 120:17            54:8 56:10 61:16    governor 36:12
    gadsden 4:13
                           gmail 50:10 51:16      65:19,19 68:8,12    governor's 59:10
    gallery 113:8,9
                             51:21                70:13 72:19 73:4      59:11 131:4
    general 21:19 22:1
                           gmail.com 50:7         73:8,13 75:4 80:1   goyak 130:19,19
      22:9 33:20 57:6
                           go 16:5 18:19          80:2,11,15 81:19    grabs 158:17
      71:9 168:19,20
                             19:19 20:1 27:2      84:7 87:20 89:1     grace 129:21
      207:1
                             28:1 29:6,16 30:1    92:2 96:9 109:3     grad 130:13
    generally 14:18
                             39:11 46:10 48:14    110:17 112:1,18     gray 4:12
      111:14 114:20
                             52:1 56:4,13,14,17   114:3,12 118:1      great 28:3 77:17
      138:7 207:2
                             58:6,9 64:18         123:14 124:2,11       107:13 119:21
    geographic 132:1
                             66:13 70:12,19       126:18,19 129:16      193:12
      166:1
                             71:7 73:5,13 74:5    129:19 131:17       greater 105:13,18
    geographical 62:3
                             95:16 99:3 101:15    134:10,12 138:9       182:3
      94:21 95:4,6,21
                             101:16 102:17        143:12 147:20       grew 19:9 107:16
      100:7,13 136:18
                             103:8 110:15         148:20 150:1          158:5
    geographically
                             111:1 113:16         152:2 154:8,12      ground 9:6
      62:7 96:12 118:2
                             118:21 120:20        162:1,15,17,18      grounds 26:7,17
    geography 40:5,18
                             122:6,11 123:12      163:17 169:14       group 32:18 33:4
      95:5,8,10,10 96:13
                             126:16 129:19        176:15 181:12         85:11 103:12
      96:15,19
                             137:17 146:19        182:8 183:12          144:21
    getting 36:11
                             162:12,16 166:10     187:8 192:21        groups 32:11,15
      104:4,14 145:6
                             186:20 187:1,3       193:3,4,21 194:21     41:5 42:12 43:14
      167:6 178:15
                                    Veritext Legal Solutions
    212-267-6868                      www.veritext.com                       516-608-2400
3:21-cv-03302-MGL-TJH-RMG      Date Filed 04/29/22    Entry Number 249-1    Page 242 of
                                         271


   [groups - helpful]                                                            Page 17

      84:18 99:4 148:19   guesstimate 158:9     happened 141:13         164:5 179:8
      155:11              guidance 34:1           154:1 161:16          184:12 185:5,8
    growing 162:5           131:18 133:17       happening 150:8         186:12 187:18
    growth 161:21         guide 83:19,21        happens 143:15          188:5 189:11,12
      164:17,17,18,20     guided 83:2,14        happy 47:7 73:20        189:13 191:6
      165:4 175:16,16     guideline 5:13          74:5 81:21 110:14     198:10,18 199:2
    guess 12:20 17:3        92:15 207:18          110:15 160:20         199:12,17 205:5
      22:7 25:19 30:6     guidelines 71:14        161:2,7,10            209:17 219:17
      32:16 33:2 39:7       75:5,10 76:21       hard 12:1 29:7        hearings 17:1,4
      42:21 49:21 52:7      77:15 78:3,17         79:2 123:11           28:11 36:18 41:4
      52:16 53:10 57:8      79:3 81:1,20 82:7     147:14 158:1,8        45:11 65:15 66:8
      60:11 61:6,9          82:12 83:1 84:5       182:6 202:21          67:6 69:2 72:1
      63:16,21 64:21        87:6 133:19           219:1                 73:9 77:20 78:4
      66:6,7 70:6 71:4      179:14 180:7        harmful 121:15          79:4 88:6 90:5
      74:2 76:10 80:6       206:7 208:16,17     hats 150:21             99:6 111:10,13
      81:8 87:19 91:12      215:11              head 9:17 30:12         112:7 114:1,3,6
      95:12 96:17 98:4    guiding 208:5,8         52:12 56:14 63:18     117:4,12,14,17
      99:5,19 101:5,7,8   gullah 103:10           146:12 151:13         118:6,12 119:5
      102:7,12 106:6                h             152:1 165:5 176:7     120:11,12 121:21
      107:8 108:1,6                             heading 123:19          122:17 187:21
                          h 1:13 2:2 5:2,5,7
      117:12 119:8,19                           hear 10:5,8 37:2        197:12 199:19
                            6:1,3 7:5 8:19
      127:3,9 129:12                              41:9 113:3 119:4    heavily 66:9 158:6
                            45:19,20 46:18,19
      130:2 131:16                                122:12 160:13         170:8
                            48:2,3 106:7
      132:21 133:10                               178:1 181:1         hectic 63:8
                            220:1 221:4 222:1
      134:9 136:7 137:2                         heard 9:8 12:8        heed 41:8
                            223:1
      138:6 139:1                                 19:21 21:15 27:16   held 2:2 7:11
                          hager 71:1 128:6,6
      141:10 142:21                               28:8,16 33:12         24:12 115:12
                            128:8,8 143:18
      143:7 144:5                                 34:5 35:8 37:11       116:18 117:14
                            147:9 215:3
      148:11 149:4                                38:17,19 41:4       help 26:17 39:4
                            216:12
      152:20 160:1                                52:8 70:4 76:1        51:8 66:1 77:1
                          half 42:9 86:12
      162:8,10 171:17                             78:9,11 91:3          99:7 104:11
                            87:1,9,10 166:18
      172:5 175:10,18                             103:7 104:17          112:13 126:11
                          halfway 125:3
      182:9 183:11                                118:14 128:9          143:6 144:11
                          hand 75:17 79:3
      184:17,20 186:14                            143:18 156:9          147:5 182:14
                            143:5 167:15
      190:9,21 191:19                             160:18 177:17         213:4,4 214:8
                            189:9 224:13
      194:11 198:8                                186:15 224:5        helped 142:15
                          handful 157:16
      212:15,15                                 hearing 6:7,13          184:18 218:1
                          handle 44:19
    guessing 18:14                                17:10 35:20 73:8    helpful 49:9 74:17
                          hands 68:21
      19:16 42:6 157:15                           78:20 90:14 112:3     98:18 121:15
                          happen 41:15
      159:20 183:2                                151:20 154:16         152:15 167:3
                            51:19 85:17,19
                                                  155:3,17 163:18       186:12 194:5
                            137:12 217:12
                                   Veritext Legal Solutions
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3:21-cv-03302-MGL-TJH-RMG       Date Filed 04/29/22    Entry Number 249-1    Page 243 of
                                          271


   [helpful - idea]                                                                Page 18

      200:8 201:18          127:10 142:15        homelessness            133:1 134:11
    helping 67:18           143:5,9,18,19,21      43:16                  137:5 138:12
    helps 12:4 124:5        146:17 147:9         honest 137:21           141:20 146:20
    hereunto 224:12         154:14 158:2         honestly 114:8          147:1 148:5 149:6
    hesitate 93:2           159:7,18 161:3        139:12 214:15          152:5 154:14
      122:18 176:6          163:4 173:17,18      hope 71:16 74:9         155:13 156:10,16
    hey 111:8               173:19 186:4          174:1                  157:11,20 159:13
    high 162:15 167:6       187:1,4,10 190:13    hopefully 13:21         164:11 167:10,16
    higher 37:17            190:15,18,20          46:21 98:5 128:5       168:10 173:13
      91:18 92:18 93:6      192:1,4,9,20 193:8    138:9 179:8            175:8,10 178:18
    highlights 25:2         194:2 195:5,11       horry 145:9             180:3,9,14,21
    highly 37:21            196:1 197:4          hours 154:6 155:2       183:17 184:1,16
    highways 106:14         198:11,12,14          190:10 191:1,12        185:3 186:8,17
      106:17 107:1          199:1 215:5,15        192:11 193:5,13        187:2,14 190:10
    hill 20:21 21:4         216:11 217:13         218:7                  190:17 194:18
    hire 69:11             hold 24:4 117:12      house 5:8,10,21         195:10 196:12,15
    hired 69:17             122:15 135:4          6:11,12 8:13           196:15,19 197:7
    historic 105:2          177:3 198:7 200:7     11:15,16,18 16:12      197:11,21 198:6
    historical 103:4,7     holding 18:5           16:13 17:9 20:6        198:18 202:10,14
      104:18 165:19        hollingsworth          20:12,18 22:12,12      202:15 203:21
      166:5                 3:12 8:11,12 10:8     22:21 23:5,9 24:5      204:11,13,15,18
    historically 92:11      10:11 11:4 12:2       24:6,9 25:13 26:1      205:4 207:19
      102:16 165:18         14:6,7 25:12          26:5,6,11,16 28:20     212:2 213:2 214:5
    history 20:4 27:4       31:13 53:4,6          33:5 36:12 39:20       216:17 217:1
      29:10,12,13,16        72:18 74:2,17         42:2 43:17 44:12     house's 71:13
      30:8,11,17,18 31:3    81:19 82:2,6 85:5     45:19 46:18 48:2       155:2
      31:11,11,14 32:2,6    85:10 90:21 94:2      50:1,1,9,21 52:21    housed 121:3
      32:21 56:20           94:9 98:1 109:1       56:7 57:10,17          137:4
      103:16 164:13         109:21 110:13,20      58:18 60:8,12        hundreds 122:19
      165:8,8,10,11         113:1,13 119:16       61:14 69:17 70:7       122:19
    hit 106:5               148:17 149:8          71:19,20 72:13       hurting 26:15
    hoc 6:9 24:16           152:14 153:6,9        82:10 83:7 86:13     hypothesis 182:9
      35:20 54:7,20         169:19 172:9          86:19 88:7 90:14     hypothetical 85:8
      55:10,12 56:7,19      176:1,20 181:11       93:15 107:9,13         93:3 110:2,3
      57:13,21 58:4         182:5 189:15          112:11,12 117:21       175:10
      61:1,10 62:1,17       193:12 215:20         119:6,15 120:1       hypotheticals
      70:18 71:21 76:4      217:8 218:14,20       122:4 123:16           93:12
      82:12 108:1           219:3,11,15           125:10,19,20                   i
      115:21 121:12        holy 35:15             126:7 127:15,19
                                                                       idea 41:9 112:11
      123:16 124:16        home 63:11             128:2 129:3 131:5
                                                                         195:13
      125:10,20 127:6                             131:13,14,19

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3:21-cv-03302-MGL-TJH-RMG       Date Filed 04/29/22    Entry Number 249-1    Page 244 of
                                          271


   [ideal - interest]                                                             Page 19

    ideal 86:10            inaudible 106:19      influence 116:8         179:11,15 186:3
    identical 97:11          146:10                145:18                186:16 188:17
    identifiable 99:11     include 44:7,14       influences 103:5        189:10,18 191:6
      105:14,19              55:7,12 75:19       inform 31:4,11          191:11 192:16
    identification 47:5      102:14,20 103:20    information 14:1        198:18 199:4,19
      48:10 72:4 82:20       104:1,3 106:13        67:21 70:6 77:9       216:7,9
      124:8 125:1,15         129:13 136:2          98:13 118:16        inquiries 112:14
      126:4 138:16           158:13 163:3          119:21 164:13       instance 146:10
      152:12 154:20          168:13 195:15         166:8 169:21          183:13 186:21
      194:8 198:3          included 43:3           182:21 183:12         218:6
      205:11                 147:8 196:18          190:12 192:7        instances 32:15
    identified 73:1        includes 101:14       informed 64:11        institutional
      99:13 155:11           147:8 150:15          164:11,12             136:17
      218:18                 184:4               infrastructure        instructs 10:11
    identify 99:7          including 32:15         24:21               instrumental
      102:19 136:8           41:5 81:5 96:15     ingram 3:4 8:5          67:18 68:5,8
      211:5                  121:12 164:10       initial 66:7 75:9     intact 206:20
    identifying 106:9        183:17                135:12 136:21       intensive 178:14
    ii 84:6 108:16         inclusion 195:15        142:6 143:3,20      intentionality
    imagination 110:5      income 103:20           144:6 145:1,19        85:17
    impact 27:17 28:6      incorporate             147:10,13,14,15     intentions 191:6
      28:7 31:7 32:5,11      183:21                148:12 149:18       interacted 16:15
      32:18 33:3,10        incorporates            153:18 156:10,18      16:17,19 89:10
      35:18 119:15           164:9                 157:6,11,21         interacting 133:12
      208:12               increase 98:13,14       159:13 167:9,10     interaction 12:17
    impacted 31:20           134:21 175:13         177:8,11 178:18       17:2
      89:12,19,20 91:2,5   increasing 209:7        180:21 183:15       interactions 17:4
    impacts 31:16          incumbency 44:10        186:13,17 189:13      128:21 131:16
    importance 65:18         100:17 211:5,16       196:2,8,14 201:19     133:11
    important 25:15          211:20                211:10 215:7        interest 36:2,3
      39:18 40:4,15        incumbents            initially 43:1          65:3,7 80:21 81:6
      62:6 65:16 78:9        160:14 211:18         112:17 114:2,6        81:15 98:17,21
      79:17 80:3 88:1      indigent 43:9           136:2 160:14          99:8,11,17,21
      174:21 199:10,13     individual 102:12       187:17                100:4,6,12,20
      219:16                 129:14              input 33:21 34:8        101:3,9 102:18
    imposes 170:20         individuals 11:19       47:11 48:21 69:15     103:13 104:9
    impressed 72:6           20:19,20 21:1         76:21 77:11 78:2      105:15,19 106:9
    improved 27:5            36:18 40:1,2 41:5     78:3,5,8 129:1        106:15 107:11
    improvements             101:10 138:3          147:9,21 156:4        136:8 151:8 168:8
      27:7                   159:11 167:17         157:19 162:13,18      183:19 224:10
                                                   164:10,10 167:17

                                    Veritext Legal Solutions
    212-267-6868                      www.veritext.com                        516-608-2400
3:21-cv-03302-MGL-TJH-RMG       Date Filed 04/29/22    Entry Number 249-1     Page 245 of
                                          271


   [interested - kirby]                                                             Page 20

    interested 7:17          172:13 174:19          13:9 15:13 17:15      195:10,14,16
    interests 105:12         211:20,20              19:7 20:11 22:11      196:12,16,20
      106:12              issued 52:19,20           24:4,18 26:20         197:5,11,13,21
    intern 130:2,9,16        53:1                   29:9 37:4 44:21       198:6,15,18 199:5
      130:17,18,20        issues 27:15,16           45:1 46:17 53:11      202:14,15 203:21
      131:3 134:15           28:5 30:2 95:4         72:12 73:11,15,21     204:11,15,21
    interns 71:4 130:1       114:9 153:17           74:20,21 82:5,15      216:18
      130:7,12 218:1,11      162:4,8 165:13         101:3 106:20        jump 120:10
    interrogatories       issuing 191:20            110:17 111:8          131:1
      5:11 48:4,18        it'd 51:11 62:7           113:21 124:4,18     jumping 103:9
    interstate 107:1         110:1 133:14           125:11 126:1,14     juncture 144:7
    interstates 106:14       143:6                  138:14 152:9          212:1
    introduce 81:19       item 29:7 75:4            153:12 154:18       justify 92:21
      209:20              iteration 159:15          163:21 172:6                 k
    introduced 194:18        187:9                  185:14 188:7
                                                                        keep 154:10
      194:21 195:4        iv 85:21 86:1             193:21 194:6
                                                                          161:21 162:6
      196:7 199:16                   j              198:1 218:18
                                                                          166:1 192:6 208:6
      200:4 201:17,20                               219:8 220:1 221:4
                          j 4:20 34:13                                    215:4
    introducing                                   jordan's 45:20
                          james 45:19 46:18                             keeping 206:20
      209:19                                        46:19 48:3
                             48:2                                         208:17 209:6,15
    introductory                                  judge 9:11
                          jay 8:16                                      kept 89:16 132:1
      164:4                                       judged 94:13
                          jcusick 3:9                                     189:1
    invested 17:21                                  96:21
                          jennifer 3:12 8:11                            key 122:9 150:5
    investor 18:17                                judgment 74:3
                             11:4 73:17                                 kind 25:1,3 55:5
    investors 18:2,12                             judicial 42:10
                          jhollingsworth                                  56:13 62:15,19
      18:14                                         217:13
                             3:18                                         63:6 65:20 73:1
    invites 205:21                                judiciary 6:11
                          jimmy 69:1                                      74:3 81:11 91:11
    involved 30:19                                  24:9,16 28:10,21
                          jmc 1:8                                         92:10 93:11 95:1
      61:6,16,18 68:20                              43:10 50:15 57:10
                          job 109:11,14                                   116:2 122:10
      79:9 107:8 118:11                             57:18 68:7 69:4
                             212:4                                        127:11 134:18
      142:5 143:19                                  69:17 70:8 71:19
                          john 3:3 8:3 9:3                                135:6 141:6
      144:3 148:19                                  82:11 88:7 90:15
                             113:1                                        143:15 147:11
      162:10 186:16                                 121:6 122:4
                          joined 8:4                                      159:6,10 162:13
      187:7 195:4 203:7                             123:12,16 124:16
                          joint 64:8                                      164:17 170:6
    involvement 79:10                               125:10,20 132:12
                          joints 143:7                                    181:16 191:7
      123:21 124:14                                 146:18,18 154:14
                             159:10                                       200:18,21 207:4
      125:8 208:10                                  173:16 175:8
                          jolie 130:15                                    216:6
    involves 178:13                                 184:2 185:3 186:6
                          jones 20:21 21:6                              kinds 165:9
    isaac 22:5                                      187:12 190:11,17
                          jordan 1:13 2:2                               king 201:20
    issue 34:7 91:10                                191:13 192:5,12
                             5:2,7 6:3 7:5 8:15                         kirby 160:18
      107:5 116:1 154:6                             193:6 194:18
                             8:19 9:2 10:3 11:3
                                    Veritext Legal Solutions
    212-267-6868                      www.veritext.com                         516-608-2400
3:21-cv-03302-MGL-TJH-RMG      Date Filed 04/29/22    Entry Number 249-1    Page 246 of
                                         271


   [knew - lens]                                                                 Page 21

    knew 18:17 78:16       134:9 136:20                   l           leadership 24:5,11
     88:2,21 89:6          137:11 138:1,13      labeled 125:18          39:19 60:8,12
     93:17 97:8 136:13     139:3,18 141:3,10    lack 31:15 164:17     leading 171:12
    know 9:17 10:18        143:4 146:9,13         175:16 189:19       league 181:4 210:5
     14:14,16 21:1,4,11    147:10,15 148:3        192:3 204:9           211:7,21
     24:2 29:2 32:4        148:11 150:1,7,20      209:14              leave 71:9 188:17
     33:7,18 34:13,15      151:1,5 152:6        laffitte 4:12           191:9 192:10
     34:17 35:7 36:20      154:17 155:7,12      lake 95:3 96:16       leaving 142:7
     37:11 38:9,15,16      156:4,6 157:17,18    lancaster 63:17,19    left 42:10 156:4
     39:7 40:14 43:3       158:11,15 159:14     landing 152:6           189:17
     44:7,10,13,20 47:2    161:7,9,18 162:20    largely 107:15        legal 3:5 8:3 11:13
     48:6 49:8 51:13       163:8 164:5          larger 209:13           13:5 68:12 77:16
     54:14 55:4 56:18      166:16 168:18        late 61:13 64:14        91:19,21 98:9
     57:6 58:7,11          177:7,8 178:5          66:11                 131:12 144:17
     60:15,20 61:11,21     181:18 182:7,13      latitude 87:4           207:15
     63:14 64:19 65:5      182:18 184:7,9,17    law 18:9 19:16,21     legality 16:3,9
     65:5,11 66:3,11,14    185:5 186:11           20:1,2 24:10 50:5   legally 87:16 88:2
     67:5,13,15,20         187:20 188:11          61:17 68:10,11        89:21 97:8 203:4
     68:16,18 69:17,19     189:8 190:9 193:2      77:4 80:11 81:4,4   legislation 16:9,10
     72:3,16 73:10,17      193:5 195:8            81:13 84:6 89:7,8     17:8 25:10,17
     76:15 78:5,7,19       196:10,14 199:5        92:6,7,9 97:21        26:1,2 28:11,19
     80:15 81:5 82:16      199:18,21 201:1,3      108:8,17,18 115:2     29:7 31:7,18,19
     86:3 88:14,18         201:7 203:1,21         119:17 168:7,12       32:10,20 33:7
     89:9 92:2,9 94:4      204:3,15 206:4         170:7 198:9 206:5     51:4 66:3 151:4
     96:18,20 98:11,12     208:7,7,15 211:11    lawrence 1:21           191:21 192:4
     99:2 101:15,16,16     215:18 216:2,5,7       2:14 7:14 9:14        197:1,2 203:13
     101:17,18 102:2,9     216:11 217:9,13        10:10 224:3           212:3
     102:10 103:8          217:20,21 218:15     laws 28:14,16         legislative 24:18
     104:4 108:5,7,10      219:8                  29:17                 29:5 51:5 68:9
     108:12 110:1,13      knowing 30:15         lawsuit 15:13,14        82:13 126:7
     110:14,17 112:2,9     122:15 155:8           15:15 16:7,11       legislator 16:20
     112:11,16,17         knowledge 47:21         18:7,10,21            17:6 35:5 50:20
     113:13 115:1,8        61:16 112:4          lawsuits 30:3           134:10
     116:6,21 117:10       136:17 157:1         lawyer 42:8 110:4     legislators 53:18
     117:18 118:12,20      167:13 170:7           168:18                53:19 58:18 90:7
     119:17,20 120:7,9     200:21 203:6,7       lawyers 177:2,4         90:8,12 127:14,16
     120:14 121:14        known 9:19 25:8       layer 114:9 148:21      137:1,2,4,7 145:2
     122:18 123:3,5       knows 9:19            laying 198:12         legitimately 39:14
     127:13 129:21        kurby 138:2           lazar 44:4            lengths 77:17
     130:9,12,15                                ldf 8:5               lens 171:17 183:18
     132:14 133:3,10

                                   Veritext Legal Solutions
    212-267-6868                     www.veritext.com                        516-608-2400
3:21-cv-03302-MGL-TJH-RMG        Date Filed 04/29/22    Entry Number 249-1    Page 247 of
                                           271


   [lessens - majority]                                                             Page 22

    lessens 208:11            211:12 212:9        locations 115:11        212:16
    letter 124:12             213:12,15,15          115:17 117:11,15    looks 109:16
    letter's 125:6         list 11:17,19 43:18      118:17              loosely 206:9
    letters 73:12,14          43:20 53:19,20,21   loe 138:2             lost 158:7
       123:15 124:11          69:20 93:12 99:10   logistically 64:5     lot 34:5 54:2 66:9
    level 103:20 217:3        101:4 106:11          64:10 66:2            81:14 104:1
    life 19:14 63:6           128:1               logistics 60:3          107:19,20 132:15
    light 219:4            listed 47:1 145:1        67:18 151:3           136:16 137:11
    liking 41:21           listen 78:6            long 42:5 84:9          143:14,15,16
    limit 86:9 116:13      listened 41:7,7          105:3 138:6           150:21 163:16
    limited 132:3          listing 72:10            155:12 188:5          167:18 183:9
       155:18 168:17       literally 64:3           201:5 219:9         lots 58:11 75:16
    linda 50:12,13            114:12              longer 74:7 193:4     lucas 4:20 8:16
    line 39:6 41:20        litigated 87:20        look 32:3 47:7          45:19 46:18 48:2
       64:6 67:12 72:16    litigation 12:13         56:17 58:7 74:5       59:19 60:14 61:19
       74:20 80:21 81:7       13:4 45:17 49:13      74:11 82:17 89:19     62:12 75:19,20
       81:8 86:8 108:10    little 11:6 12:3         96:4,10,11 97:14      140:21 144:10
       108:11 109:5           13:12 15:12 19:5      100:13 106:3        lunch 73:19 74:5
       117:19 141:21          20:3 33:1 43:7        108:13 119:1,8,21     74:10,10 82:1
       147:20 163:20          56:11 60:20 71:11     120:21 121:14         110:21 111:4,17
       164:8,14 166:16        71:13 75:7 79:16      136:15 137:4                 m
       167:20 168:3           98:5 104:4,15         154:11 171:9
                                                                        mail 34:6 49:19,21
       180:3,3,5 185:13       108:11 111:9          172:13 180:10
                                                                          50:1,2,7 51:3,9,15
       187:19 188:1,6,9       117:18,20 126:11      181:6 190:3
                                                                          55:15,20 56:12
       190:3,5 191:14,15      133:5,16 139:13       193:21 203:15,19
                                                                          57:8 58:3,7 74:15
       200:9 205:9,18         144:11 145:16         210:20
                                                                        mailed 151:12
       206:17 210:20,21       158:6,7,16 178:16   looked 44:2 77:1,2
                                                                        mails 50:9,19
       222:5 223:5            214:6 217:4           88:18 96:9 97:15
                                                                          51:21 55:21 57:9
    lines 36:10 38:14      live 19:11 28:3          98:11 101:20
                                                                          57:12,15 112:10
       45:2 60:19 80:18       126:18 158:5,7        107:19 117:15,17
                                                                          218:10,17
       89:4 100:15         lived 161:21             117:20 118:21
                                                                        main 3:15 4:5
       105:10,11,18        lives 63:17              126:20 132:4
                                                                        maintain 43:12
       107:21 146:6        lividity 16:9            171:3,5 177:9
                                                                          172:7,11
       157:8 164:7         llc 3:14 4:12            181:5 183:18
                                                                        maintained
       171:14 175:11       llp 4:4                looking 13:20 32:6
                                                                          175:14
       179:10 185:16       lobbyists 59:6           40:3 45:12 57:8
                                                                        maintaining 162:1
       188:11 191:16       local 17:4               62:16 94:3 95:2
                                                                        major 65:20
       194:13 195:20       located 126:16           119:4 134:17
                                                                        majority 38:9,11
       200:9 205:17,21        194:7                 152:7 160:3
                                                                          170:12,14,18,21
       206:17 208:2,21     location 115:16          162:20 174:19
                                                                          171:8,11 172:8,19
       210:8,10,11            116:14                181:14,18 182:19
                                                                          174:5,21 176:11
                                     Veritext Legal Solutions
    212-267-6868                       www.veritext.com                        516-608-2400
3:21-cv-03302-MGL-TJH-RMG     Date Filed 04/29/22    Entry Number 249-1   Page 248 of
                                        271


   [majority - member]                                                         Page 23

     176:13 180:12,21     213:21 214:14,20     mathematical         meat 17:14
     181:15,21 214:3,6    215:2 216:20,21       94:14 95:13 96:5    media 7:4 44:17
    makeup 22:12          218:1,3              matter 7:6 64:13      44:18 45:13 46:14
    making 32:8 60:15    mapping 99:17          105:14               111:5 112:8
     65:13 67:20 68:5    maps 5:21 44:14       mattered 40:8,12      193:18
     76:14 127:12         66:21 67:2,8 83:3     41:1                medicine 168:19
     151:4 202:18         83:5,7,8,10,15,19    mburchstead 4:8      medium 114:18
    map 6:4 56:16         84:1 125:19 129:1    mean 16:17 25:2      meet 60:7,11
     63:18 66:1 67:7      129:2 131:19          26:15 27:10 28:2     149:11
     68:4 69:3 70:17      132:16 133:1,18       31:14 36:7 37:14    meeting 5:12
     70:19 71:1,5,11      135:10,13 136:1       39:21 41:14 42:18    12:14 54:16 55:18
     95:2 96:11 123:8     136:21 137:4,5        50:16 52:20 60:13    60:7,10 67:19
     123:10,13 126:7      140:1,7,13 141:8      66:16 73:7 78:10     71:18,21 72:13
     126:10,13,15,19      141:14 142:2,21       80:9 81:10,11        76:14 79:18,21
     127:4,5,7,8,12,15    144:21 145:3,5,18     83:8 84:17 86:16     111:18 114:16
     127:16,21 128:13     145:20,21 146:3       87:17 90:16 95:15    115:21 116:5
     129:1,11 130:3,4     148:6 154:3 160:2     95:15 96:9,15        120:15,19 135:6
     131:5,7,9,11,16      179:16 183:5,14       97:18 100:3,4,5      156:3 159:2
     132:6,15,17,19,21    184:4,7,10,19         101:2,21 103:5       190:10 191:12
     133:12,14 134:6      185:2 204:6           104:20 106:17        192:13 195:9,14
     134:13 135:9         214:18                108:4 109:8,10      meetings 13:15,17
     136:6,15 137:6,17   mark 173:1,2           116:20 119:19        54:10,11,12,15
     138:5,6,11,20       marked 46:17           133:14 140:11        55:14 60:13 68:2
     139:14 140:12        47:5 48:2,4,10        143:14 145:7,20      78:15 112:18
     141:11,18 142:2,6    71:17 72:4 82:20      164:15 165:8         115:11 116:3,13
     142:18 143:8,11      123:18 124:8,12       170:16 176:2         116:18 120:15
     143:17 147:7         125:1,6,15 126:4      183:19 185:20        121:4 136:14
     148:13 149:17,18     138:10,16 139:1       189:5 204:19         153:21
     150:11 151:3,17      152:2,12 154:13       205:20 206:15,21    megan 130:19
     151:21 153:1         154:20 194:1,8        209:7 217:10        member 20:9 42:2
     155:3,6,12,13,18     197:18 198:3          218:4                42:12,14,15,15
     156:14 157:4,5,6     205:11               meaning 188:18        43:8,14 56:15,19
     157:14,21 158:12    marking 82:10         meaningfully 80:7     58:3 62:4 102:12
     159:1 160:2,14      maryland 2:15         means 9:9 126:12      115:3 118:18
     174:13 176:11        224:21                141:3 166:11         129:4,7,14 130:9
     178:18 180:4,9      mass 21:12             169:6                130:10 131:13
     183:16,21 186:2     match 145:17          meant 132:18          136:2,15,17
     186:19 189:3        materials 13:10       measure 94:18         137:11 143:6
     197:2 202:16,19      111:20                95:8 96:1            146:18,20 150:5
     204:2,5 210:2       math 95:17,20         measuring 97:10       157:7 174:18,19
     211:13,18 212:16                                                179:11,15,20

                                  Veritext Legal Solutions
    212-267-6868                    www.veritext.com                      516-608-2400
3:21-cv-03302-MGL-TJH-RMG     Date Filed 04/29/22    Entry Number 249-1    Page 249 of
                                        271


   [member - necessarily]                                                       Page 24

     186:21 187:2,4,10   mentioned 14:16       minus 86:12 87:10     mountain 63:14
     187:12 192:9         33:18 40:20 45:10     87:14 88:17            96:17
     198:6,8,14           67:13 85:4 87:7       206:11               move 93:18 155:7
    members 16:19,21      89:9 92:5 115:8      minute 63:4 74:3      moving 15:20
     17:5 27:12 34:1      119:4 132:14          165:11 193:10          66:12 115:16,19
     41:13 43:20 44:7     136:20 218:18         209:11                 122:7 143:14,16
     54:7,21 55:10       mess 114:10 115:1     minutes 46:7          multiple 54:11
     56:6 57:13 58:8     messages 54:5          116:1                  190:19
     58:18 61:11,21       56:1 218:10,17       mishear 174:1         multitude 116:3
     63:1 65:17 68:16    met 34:19 69:21       mislabelled           municipality
     68:19 69:8 71:5,6    88:17 132:3           100:19                 105:9,17
     76:4 77:11 84:18     145:10 192:11,14     missing 51:10         murphy 45:20
     112:11,12 116:8      192:15               mistake 203:4           46:19 48:3 59:20
     121:10 122:5,8,15   method 51:1           mistaken 148:1          61:19 62:12 141:1
     123:1 126:16        methods 182:11        mix 17:19               144:5,8 193:5
     128:1 133:6 134:2   michael 4:3 8:9       mixture 62:9          mute 171:21
     135:5 137:7 143:9   middle 10:19          molded 157:2                    n
     145:21 146:6,16      84:12 92:16          moment 12:2
                                                                     n 3:1 4:1 5:1,1 7:1
     148:5 149:9 155:1   mike 24:1              24:17 39:12 45:18
                                                                     naacp 1:6 3:5 7:7
     155:17 156:21       mind 9:15 35:13        47:7 59:16 72:3
                                                                       8:3 16:16 41:6
     157:13,20 158:2,3    35:16 75:2 88:3       72:17 81:11,18
                                                                       73:12 126:8
     158:9,21 159:17      93:20 94:21           82:15 84:7 86:2
                                                                       180:13 210:3
     159:18,19 160:1      104:21 106:16         98:18 110:12
                                                                       222:3 223:3
     160:10 161:3         116:2 128:20          113:16 124:18
                                                                     naacpldf.org 3:9
     162:13,15,17,18      129:13 133:20         125:12,21 153:14
                                                                     name 8:2 9:3 11:7
     163:5,10,15          136:11 172:20         166:14,21 167:2
                                                                       21:5 22:6 69:21
     164:11 167:16        176:10 179:9          167:21 191:16
                                                                       70:1 115:1 128:6
     173:21 184:5         201:9                 193:9,15 194:13
                                                                     name's 7:12
     186:6 190:13,17     minds 136:17           195:19 200:11
                                                                     names 20:20 68:17
     190:18 192:19       minimize 84:19         205:8,9 209:1,3,18
                                                                       69:20 129:19
     193:7 195:5,15      minor 166:2            210:9,11,21
                                                                     natural 95:10
     197:11,13 199:11    minority 32:11,14      213:11,13
                                                                       96:13,15 110:13
     204:1,16 215:5,16    32:18 33:4 84:13     moments 211:15
                                                                     naturally 106:17
     216:1,12             84:17 85:4,9         month 138:8
                                                                     nature 15:1 67:12
    membership 24:7       170:12,14,17,21      moore 14:7
                                                                       77:16 180:11
     40:12 62:18 186:4    171:8,11 172:8,16    morning 7:2 8:2,7
                                                                       218:7
    memory 13:20          172:19 173:5,8,9      8:14 9:2 218:4
                                                                     navigating 71:6
     29:4 76:6 147:20     174:3,5,10,21        motivated 29:18
                                                                     near 118:3
     181:13               176:11,13 180:12     motivating 109:13
                                                                     necessarily 100:10
    mention 19:21         180:21 181:15,21     mount 165:16
                                                                       144:12 172:11
     85:16 208:5          214:3,6

                                  Veritext Legal Solutions
    212-267-6868                    www.veritext.com                        516-608-2400
3:21-cv-03302-MGL-TJH-RMG       Date Filed 04/29/22    Entry Number 249-1    Page 250 of
                                          271


   [necessary - offline]                                                          Page 25

    necessary 16:9         newton 63:3,16          84:6 93:18 111:6      129:4 130:5,8
      74:7 179:1 200:1       64:11 158:11          150:3,5 156:7,8       180:11 184:7
      203:2                nexsen 3:14 11:4,8      157:20 163:12         185:6 197:1,13
    necessitate 209:6        11:11 12:13,14,16     165:15,18,19        occasion 116:10
    necessity 172:12         13:3 75:16 76:2       166:1,3 172:7       occasionally 51:9
    need 9:18 27:18          144:16 150:15         176:6 180:20          60:19
      44:4 48:12 55:3        169:6,10,12           193:19 209:7,8      occasions 91:17
      74:8 84:9,9 86:2       182:16 183:2        numbering 138:12        137:9 143:8
      94:3 107:18,20         185:3 204:1 213:9   numbers 17:7            208:10
      113:7 123:12           215:6                 84:20 89:12         occupation 104:3
      145:13 162:16        nexsenpruet.com         166:12                104:8,15
      175:19,20 188:19       3:18                numeral 84:5          occur 33:17 58:5
      192:5 193:6          night 114:15            85:21 93:18 98:16   occurred 17:12
      207:13 219:5         nine 63:12              100:16 108:16         153:20 154:1,7
    needed 41:8,9 67:5     nodding 9:17          numerals 100:19         203:5
      173:13 193:1         non 14:10 51:15       nuts 14:15            occurs 149:1,2
    needs 25:4 162:16        69:8                         o              199:3
    negative 89:18         noon 154:17                                 october 66:8 78:4
                                                 o 5:1 7:1
    neighbor 145:8,15      normal 54:13                                  99:7 111:12 114:2
                                                 oath 7:15 9:9
      160:8                normally 191:20                               120:11 125:21
                                                 object 10:8 25:12
    neighbored             notarial 224:13                             offer 129:8 133:17
                                                   31:13 85:5 90:21
      137:17               notary 2:14 224:1                             146:19,21 147:2
                                                   98:1 109:21
    neighborhood             224:20                                      186:5,7,9
                                                   119:16 148:17
      105:2,5              notebook 212:2                              offered 17:11
                                                   149:8 169:19
    neighborhoods          noted 10:9                                    116:16 117:17
                                                   176:1,20 182:5
      104:18               notes 136:3                                   189:6 200:4,8
                                                   189:15 215:20
    neighboring 137:9      notice 2:13                                   201:10 216:17
                                                   217:8
      137:10 160:10        noticing 8:1                                offering 92:1
                                                 objected 53:6
      215:17 217:7,17      notified 145:2                              office 14:14 59:10
                                                 objection 10:9
    neighbors 142:11       november 141:13                               59:11 131:4
                                                   85:10 109:1 172:9
      200:19                 148:13 151:18                             officer 224:4
                                                   181:11
    neither 224:8            153:19 154:14                             offices 23:4,7
                                                 objections 7:20
    nephew 59:11             155:3,16 156:12                           official 20:5 25:5
                                                 obligation 172:7
    never 34:19,20           163:18 179:8                                26:20 27:11,15
                                                   172:11
      69:21 168:17           185:5 186:15                                37:20 43:2,13
                                                 obligations 169:3
      199:7,7                187:18 192:13,15                            45:5 49:17 52:14
                                                   169:18
    new 3:7,7 63:5           194:2 197:20,21                             107:6
                                                 observing 62:15
      162:16,16              199:17 216:8                              officials 52:16
                                                 obtained 169:21
    newspapers 37:13       nuanced 202:20                                65:2
                                                 obviously 32:14
      112:8                number 7:4,10                               offline 172:1
                                                   62:9 83:8 89:15
                             46:15 63:20 79:19
                                                   96:11 97:5 123:13
                                    Veritext Legal Solutions
    212-267-6868                      www.veritext.com                        516-608-2400
3:21-cv-03302-MGL-TJH-RMG       Date Filed 04/29/22    Entry Number 249-1   Page 251 of
                                          271


   [offset - paragraph]                                                          Page 26

    offset 201:5          operational 71:2       orangeburg 162:3    overview 71:10
    oh 70:13 113:5        opinion 64:12,16         166:4               78:21
    okay 47:16 84:11        78:7 89:1 90:5,10    order 75:7 79:16              p
      94:12 98:20 111:2     91:14 92:1 93:4        85:13 102:19
                                                                     p 3:1,1 4:1,1 7:1
      137:15 139:5          101:13 206:12          126:21 127:2,7
                                                                     p.m. 111:3,6
      141:10 152:7,14     opinions 89:11           173:14 192:6
                                                                       113:17,19 116:18
      153:6 158:19          90:18 155:21           218:21 219:5
                                                                       154:17 193:16,19
      159:12 161:12         217:17               organization
                                                                       219:21 220:2
      164:1 166:17,20     opponent 23:21           17:10 43:11,15
                                                                     pace 132:2
      185:12 188:5,13     opportunities          organizations
                                                                     page 5:2,7 6:3,6
      190:8 191:18          136:2 147:21           42:17 58:19,21
                                                                       9:7 26:18 43:17
      194:15 195:21         186:7 188:3          organizing 143:2
                                                                       43:21 45:6 58:9
      200:12 205:16,19      199:19               original 156:16
                                                                       58:10 60:21 72:15
      206:18 208:4        opportunity 32:9         180:14
                                                                       74:20 75:19 80:9
      209:4 210:17          67:9 73:5 76:7       originally 62:4
                                                                       80:10,17,17 81:20
      211:4,14 213:17       78:6 112:3 114:12      188:13
                                                                       82:6,16 86:1
      214:9 219:19          114:14,17 122:6      outcome 7:17
                                                                       147:5 152:6
    old 158:12              135:2 146:19           224:11
                                                                       163:20,20 164:3,5
    older 45:15             147:2 148:1 156:5    outlined 167:14
                                                                       166:15,15 167:19
    once 70:19 90:17        156:7,8 172:16,21    outside 15:8 17:3
                                                                       167:19 179:9
      120:21 141:18         173:3,8,10 174:3,5     23:4 29:3 40:20
                                                                       185:10,16 188:4
      146:14 147:13,14      174:6,6,11 175:1       42:1 43:2 45:4
                                                                       188:10 190:4,6
      147:16 148:12         176:2,13 180:14        50:9 54:13,20
                                                                       191:15,17 194:11
      184:6 198:20          181:9,16 182:1,3       58:17 77:7 83:9
                                                                       194:11,13 195:19
      212:20                184:12 186:4           123:1 127:19
                                                                       200:9,9 205:7,13
    one's 123:18            187:13 191:2,8         133:1 143:19
                                                                       205:18 206:16
    ones 58:13 137:1        192:8 199:2            144:2,2 165:3
                                                                       208:2,3 210:8,13
      145:3 160:4 195:3     205:14 214:1,3,6       178:15 200:4
                                                                       210:19,20 211:1
      209:21                217:15               overall 65:17
                                                                       211:11,16 213:11
    online 120:7          oppose 201:9             86:10 101:6
                                                                       213:15 222:5
    open 67:7 68:5        opposed 195:11           140:18 181:10
                                                                       223:5
      78:1 127:12         opposition 20:16       overarching 41:8
                                                                     pages 139:2 194:5
      133:15 156:5          21:20 22:1           overestimate
                                                                     paired 211:18
      188:18 189:18       option 112:18            177:2
                                                                     pairing 160:13
      191:9 192:7           114:7 116:13         overlaps 49:16
                                                                     pairings 211:6,17
    opened 154:18         options 114:4,19       overly 155:9
                                                                     pairs 159:7
      186:1                 115:5,10 118:6       oversaw 69:15
                                                                     panel's 219:4
    operate 80:2 91:3     oral 117:3 121:21        127:3 143:1
                                                                     paragraph 75:2
      128:16 130:11         185:6                  156:14
                                                                       84:7 94:12,20
    operates 192:2        orally 189:4           overseeing 127:4
                                                                       96:21 109:14
                                                                       139:2 140:20
                                    Veritext Legal Solutions
    212-267-6868                      www.veritext.com                      516-608-2400
3:21-cv-03302-MGL-TJH-RMG       Date Filed 04/29/22    Entry Number 249-1     Page 252 of
                                          271


   [paragraphs - places]                                                            Page 27

    paragraphs 93:20         208:19                88:12,16,19,21       personally 49:15
    paralegal 51:8         particularly            92:2,3,8,10,10,11    perspective 35:18
    parameters               122:14                92:12,18 93:1          40:17 120:20
     145:13                parties 37:18           148:9 170:10           129:3
    part 9:19 38:21          224:9                 173:1 174:4,9,12     pertaining 58:16
     40:19 55:13 63:19     parts 40:1 64:19        175:4,11 183:6         59:5 119:18
     66:19 75:20 78:2        64:20 98:14,15        206:6,11,14          phase 141:17
     78:19 95:20,21          133:8 142:18        percentage 37:17         143:17
     97:1 99:5 103:16        143:4,15,16 159:8     37:18 85:14 91:18    phases 65:12
     106:8 133:21            162:4,7               167:7 170:17           142:13,17
     136:13 142:7,8,16     party 7:16 8:16         172:20 174:8         philip 138:1
     144:9,12 150:4          18:21 20:9,10       percentile 22:14       phone 34:6 52:13
     152:18 160:19,21        37:9,15,17,21       perfect 27:3 46:7        52:17,17,17 53:2,3
     161:2,10 162:2          38:14 40:6,18         159:12                 53:12,14 54:4
     163:9,10 164:19         58:19 59:3 62:8     perform 56:4             55:2 56:2 60:4
     164:20 165:1          pass 66:4               173:15 175:3,20        160:15,21
     181:19 183:20         passed 18:4 22:13       182:12               phrase 9:20
     187:6 201:2             26:1                performed 181:10       physical 115:11
    partially 39:6         passing 66:3            183:6                  116:14 118:17
    participants           path 197:1            period 30:5 62:20        120:11
     113:15                patterns 102:8,14       63:13 79:7 81:2      physically 117:14
    participate 17:21        164:12,15,21          81:10 112:5 156:4    picture 32:13
     32:9 40:16 64:12        165:4,7               165:13 176:12        piece 28:19 31:6,7
     65:14 90:10 102:5     pdf 152:16              188:17 189:18          31:19 32:19 33:7
     114:18 142:15         pdfs 74:15 94:3,6     periods 29:19            148:8 158:18,20
     188:15                pee 96:18 161:20      permissible 92:17        191:21 192:3
    participated 66:9      people 10:5 26:15       92:20 93:7 109:19      209:12
     67:11 133:9 157:1       26:16 31:8,8          110:10               pieced 147:17
     163:8                   32:13,14 40:16      person 28:3 34:6       pieces 17:8 28:10
    participating            44:13 65:14 78:16     56:10,10 60:2          29:6 183:21
     101:12                  105:1,4 112:2,2       71:3 86:17 106:3       202:19
    participation            117:1,4 118:3         114:12,14 116:4      piecing 142:8
     40:21 101:21            120:18 126:17         116:12 117:5           157:21 187:7
     116:13 167:13           129:15 133:3          118:15,20 128:15     place 28:3 44:5
     177:10 178:8            145:1 163:13          128:15,20 130:6        62:16 64:6 93:11
    particular 25:16         165:1 166:13          198:11 206:1,12        121:1 127:13
     29:7,8 33:21 39:2       187:5 189:2         personal 17:17           135:16 137:3
     41:6 56:15 64:20        203:12                26:19 43:1,5,17,21     138:7 147:16
     85:11 91:2 97:17      percent 86:11,12        44:2,6,8 50:2,5      places 63:12 66:18
     103:11 114:15           86:21 87:1,2,3,7      51:3 52:17 53:12       118:2,3
     170:7,8,9 177:5         87:11,14,14 88:12     56:2 79:8

                                    Veritext Legal Solutions
    212-267-6868                      www.veritext.com                         516-608-2400
3:21-cv-03302-MGL-TJH-RMG          Date Filed 04/29/22    Entry Number 249-1    Page 253 of
                                             271


   [plaintiff - preferred]                                                           Page 28

    plaintiff 46:20            180:15 181:3,15       40:11 41:1,12          216:21
      48:16 71:17 82:14        182:15 183:1,15       178:6,10             portions 16:13
      138:13                   184:16 189:14        policies 6:5 28:6     position 24:11
    plaintiffs 1:7 3:2         199:15 212:3,21       138:11,19              42:10,19 64:6,17
      5:9,11 7:6 8:4,6         213:1                policy 92:17,20       possession 122:4
      8:21 9:4 15:18         play 182:8              105:14               possibility 61:20
      45:21,21 46:19         played 115:19          political 20:9 36:7   possible 65:14
      47:16 48:3,5,17        playing 67:13           36:9,11 37:5,9         86:20 89:4 112:20
      72:9 80:18 124:2       pleadings 13:20         40:5 58:21 102:21      190:14 206:17
      124:17 125:6,17          14:18,20 15:9         139:7,18 140:2       post 157:3
      163:19 179:7           pleasant 165:16        politics 30:19        posted 121:8,9
      194:1 197:19           please 7:20 8:18       polls 37:12 182:8       149:18 156:12,15
      205:3,6                  9:16 21:3 124:4      pop 48:13 56:14         156:18 159:16
    plan 47:19 49:3            129:20                74:11 141:19           179:17
      95:7 97:4,6,12,20      plus 86:12 87:10       population 22:18      potential 32:18
      98:2 109:8 141:19        87:14 88:17           33:19 86:4,10,20       92:18 142:2
      141:20 143:20            206:11                87:5,8 88:16         potentially 10:6
      144:6 145:2            pod 159:6               89:13 91:19 92:8       93:12,13
      147:11 156:8,11        point 41:3 62:21        92:19,21 93:7        practical 66:10,12
      156:17 157:12            63:2 79:19,20         95:17,18 96:11         67:12 188:16
      159:13,15 164:8,9        97:4,5,7,7 108:5      97:6 98:14,15          199:1
      167:10,14,21             115:15 124:6,20       106:1 107:17,21      practically 32:7
      168:5 172:8 177:8        125:13 126:6          108:8 126:17,21        53:2 182:7 191:4
      180:12,15,21             131:21 133:21         129:10 132:1         practice 33:20
      181:1,4,6,7,9,21         134:18 141:17         134:19,21 135:1        76:12,13 110:5
      182:2,2,17 183:17        144:21 146:14         135:12 140:14,15       168:19,21
      184:13 186:2,3,5,7       147:1 148:20          140:18 148:3         practiced 42:8,8
      186:9,13,18 187:9        149:17 150:4          158:7 161:19         practitioner 42:4
      187:21 189:14            159:5 160:20          162:7,9,15,19          42:5
      196:2,8,15 197:4,8       184:11 194:16,21      163:14 164:16,18     pre 29:20,21 61:8
      198:13,13 202:10         196:1,6,14 197:3,5    164:20 165:3           120:3
      204:12 211:8,21          202:18 204:19         166:11 171:14        preceding 180:3
      211:21 212:18            207:5,5,14,16         172:12 173:14        precinct 105:10,18
      213:2 214:5 215:7        212:4,5               175:15 176:9,12        212:12
      216:5,7,14             pointed 91:9            176:14 206:6,8,10    predominant
    planned 191:7            points 40:20            216:3                  109:13
    plans 96:2 97:1            142:12 143:11        populations 201:6     predominate
      108:18 109:12            212:17 213:19        portion 15:5 16:14      109:18,20 110:9
      121:18 167:18            214:20                88:14 96:14          prefer 82:2
      168:4,10,11,11         polarized 38:16         109:17 139:21        preferred 173:4
      179:12 180:4,9,10        39:10,13,17 40:7      158:17 166:7

                                       Veritext Legal Solutions
    212-267-6868                         www.veritext.com                        516-608-2400
3:21-cv-03302-MGL-TJH-RMG       Date Filed 04/29/22    Entry Number 249-1     Page 254 of
                                          271


   [preparation - proposing]                                                       Page 29

    preparation 14:17     principles 80:12         55:11 57:20 58:12    production 45:21
    prepare 15:10           81:17                  59:5 60:2,18 61:9      46:20 47:16
      120:18 187:1,3      print 57:15 58:13        61:18 64:3 65:12     productions 219:4
    prepared 13:13          140:9,11 153:4         66:4,15 67:16,17     products 184:17
      75:9 76:16 77:17    printed 58:3,8           68:9,10,20 69:3,12   professional 17:17
      80:4                  140:1,6,10 141:8       69:18 70:17,19       progress 185:18
    present 4:20 7:17     prior 28:1 76:13         71:8 77:3,8 78:1       185:20 186:10
      65:14 69:1 98:13      77:2 87:15,17          79:10 81:12,13       promise 43:15
      161:8 208:13          95:7 97:1,4,6          83:10 87:19 88:1       169:15
    presently 171:14        115:15 117:15,20       89:2 90:9 97:16      promotion 92:17
      171:15                119:19 131:21          105:7 106:21         pronounce 129:20
    preserve 136:9          150:4 190:21           119:20 124:1,15      properly 168:8
      174:21                191:1,9 192:11         125:9 126:19         proportion 107:17
    pretty 48:9 54:11     priorities 24:19         127:8 132:6,11       proposal 26:7
      61:12 80:10 95:9      25:3 106:9             133:5,13 134:6,12      146:15 147:8
      98:10 99:1 107:14   prioritize 87:13         135:2 136:21           183:16 197:4
      115:18 132:3        prioritized 87:7         138:5,7 141:11,12      208:13
      136:13 158:6        probably 18:13           142:5,16,18 143:1    proposals 212:6
    preview 15:12           36:4,16 50:21          144:14,18,21         propose 76:21
    previous 97:12,15       55:13 58:11 59:21      146:7,14,17,21         127:2 187:13,15
      97:16 98:6 172:8      60:4 63:8 77:10        147:3 148:20,21        192:10,21
      175:11                90:15 116:20           149:2 150:2          proposed 5:20
    previously 24:12        117:2,6,7 123:6        155:13 156:20          66:21 67:2 75:5,9
      97:8 98:12 117:21     133:15 139:13          158:2,10 159:12        77:14 83:3,5,7,11
    primaries 20:17         145:8 167:4 183:2      161:19 164:9           83:15 125:18
    primarily 51:14         195:2 199:20           167:14 171:10,16       126:7 127:1
      55:4 67:12 77:16      201:5                  181:19 184:12          129:11 131:19
      127:10 129:8        probe 100:1              187:6 190:2            132:16 133:18
      163:9 169:10,11     problem 73:18            192:17 195:18          135:13 140:8,13
      169:12 170:10         89:16                  196:13,14 199:1        141:13 145:3,4,18
    primary 10:5          procedures 6:5           202:14 209:15          149:6 151:21
      20:18 21:17 23:21     127:7,9 130:3          213:1 214:18           157:6 160:14
      50:20 51:1 54:18      138:11,19              217:12                 168:9 169:2
      57:11 59:16 60:2    proceeding 7:20        processes 127:4          179:12 183:5,14
      65:10 67:4 69:4     proceedings 5:12         130:3                  184:6 185:2 187:8
      88:3 118:15,19        71:18 224:4,6        produce 49:10,12         199:11,14 200:16
      135:11 144:1        process 5:15,17,19     produced 149:13          203:9 204:6 210:2
      211:6                 13:1 16:3,7,8 32:9   product 16:4             210:6 217:3
    principle 86:17         35:20 36:5,10,11       137:15 167:10        proposing 133:1
      208:6,8               39:15 40:17 41:17      185:4                  187:11 203:12
                            44:11 51:5 54:9

                                    Veritext Legal Solutions
    212-267-6868                      www.veritext.com                         516-608-2400
3:21-cv-03302-MGL-TJH-RMG       Date Filed 04/29/22    Entry Number 249-1    Page 255 of
                                          271


   [pros - range]                                                                 Page 30

    pros 180:16,17          146:1 147:21         purposes 12:13          73:10 76:16 82:1
    protected 33:4          151:11 155:1,18       30:5 50:3,16 54:7      82:8 83:12 84:8
    provable 91:5           156:4 164:10          60:3 89:20 91:18       98:19 100:20
    prove 89:17,18,19       167:17 168:10         99:2 100:15            110:16 123:15
    proven 97:8             179:15 186:3,11       118:20 129:6           125:5 126:10
    provide 10:10           186:15,16 187:18      198:12 219:2           145:4,7 147:6
      13:21 27:18 32:19     187:21 188:17        pursuant 2:13           154:9 158:20
      44:12 47:10 48:20     189:10,12,13,17      push 184:1 193:6        190:3 205:3
      68:12 70:7 87:3       189:18,20 191:6      pushed 24:21            214:11 218:14
      114:13,17 116:4       191:11 192:16        pushing 60:18           219:7,11,13
      122:9 131:18          197:12 198:17        put 11:15,21 35:8     quick 155:9,20
      155:6 172:21          199:2,4,11,19,19      57:21 64:5 103:18      185:10 193:10
      182:3                 204:16 207:1          108:10 112:10        quickly 139:4
    provided 57:1           214:16 216:7,9        116:2 129:14         quite 44:3 54:4
      67:21 76:6 77:6       224:1,20              151:5 162:15           80:12
      83:9 181:9 183:10    publicize 45:9         184:15                         r
    providing 32:4          67:2 112:8           putting 76:11
                                                                       r 3:1 4:1,3 7:1
      129:1                publicized 66:21       143:1 166:3 215:7
                                                                         222:1,1 223:1,1
    proximate 86:20         148:13                215:9
                                                                       race 24:2 28:4
    pruet 11:4,8,11        publicizing 159:13    puzzle 148:8
                                                                         31:9 37:5,9,9,14
      12:13,14,16 13:3     publicly 44:13                 q              37:21 40:5,18
      75:16 76:2 144:16     120:7 121:7,8,9
                                                 quantifiable            62:10 85:12 103:2
      150:15 169:6,10       149:18 156:15
                                                  157:19                 109:4,7,11,19
      169:12 182:16         159:16 170:5
                                                 quantify 158:8          110:9
      183:2 185:3 204:1     179:17 180:4
                                                 question 9:18 10:1    racial 22:11 32:11
      213:9 215:6           184:4 185:2,8
                                                  10:2,9,19,20 13:10     32:14,18 33:4,10
    pruett 3:14             210:6 216:6
                                                  19:18 21:15 36:13      84:13,16 85:3,9
    public 2:14 27:12      publish 67:1
                                                  39:8 40:10 43:4        140:1,5
      35:20 36:18 41:3     published 121:16
                                                  44:17 53:7 56:16     racially 26:8 29:18
      41:13 45:10 58:19     151:18 157:12
                                                  80:15 83:14 98:5       38:16 39:9,17
      65:15 66:8 67:9       159:15
                                                  112:4,20 113:4,21      40:7,11 41:1,12
      67:20 69:2 77:11     pull 29:7 44:20
                                                  123:4 139:13,15        178:6,9
      77:14,18 78:2,3,5     48:7 56:17 99:3
                                                  167:1 180:19         racism 25:6,11,20
      78:7,12,16,20 79:3    134:16 138:9,14
                                                  191:19 196:3,21      radar 61:12
      83:9 88:6 90:5        152:2 154:8,11
                                                  201:19 217:20        raised 122:9
      99:6,13 111:10,19    pulled 56:19
                                                  218:9 219:15         raising 155:17
      112:3 114:1          pulling 143:20
                                                 questioning 39:6      ran 21:16 22:2
      117:16 118:6,12      pure 38:21 45:11
                                                 questions 9:7,10        23:8,16 30:21
      119:5,9 121:13       purpose 12:19,20
                                                  9:16 10:7,15           50:14 160:19
      123:21 124:14         83:10 134:11
                                                  17:13 41:20 45:17    range 86:10 87:3,7
      125:8 145:18,21       190:9
                                                  48:1 49:7 59:15
                                    Veritext Legal Solutions
    212-267-6868                      www.veritext.com                        516-608-2400
3:21-cv-03302-MGL-TJH-RMG         Date Filed 04/29/22    Entry Number 249-1   Page 256 of
                                            271


   [rates - redistricting]                                                          Page 31

    rates 177:10             reasonable 46:4       receiving 60:17        49:19 50:10 51:17
    reach 51:2 65:2            87:3 88:2             76:9 91:8 124:20     51:21 52:2,8
    reached 145:5            reasons 26:12           125:13 126:2         53:13,16 55:2,17
    reaching 32:20             85:18 97:20 156:2     159:4                56:3,21 57:7,13,20
      64:19                    165:21              recess 46:13 111:4     58:16,17 60:6,8,12
    read 15:19 27:11         rebut 213:20            193:17               61:1,5,6 63:9
      79:14 80:19 84:7       recall 14:17 20:20    recipe 114:10          67:14 68:19,20
      84:9 86:2,2,13           22:2 25:16 33:17    recognize 47:8         69:9,11,12,18 70:7
      93:21 94:15              41:11,14,15 45:10     48:18,19 55:3        71:14,20 72:13
      105:15 109:10            49:18 51:15,18,19   recognizing 60:15      73:9,13 77:3,4,8
      141:1 153:3,3,14         52:10 55:1 59:7,9     163:11 210:15        80:12 81:20 82:11
      164:7 166:10,21          62:21 64:11 69:10   recollect 195:12       82:13 83:14,15,18
      167:2 168:2 179:9        69:13 70:15 72:12   recollection 22:8      84:1 87:17,19
      180:5 188:10             72:14 76:9,17         33:2 54:20 78:2      88:7 92:6 94:18
      190:5 194:12             79:2 83:20 84:3       92:14 112:17         96:2 99:10 100:1
      205:17 209:9             88:5 90:2 91:8,10     124:5 179:20         101:17 102:13
      210:21 221:5             91:10 92:7,9 93:6     188:11 210:2         106:21 108:18
    reading 75:2               93:8 97:13 110:7      211:1,19             109:8,12 111:10
      195:12 208:7             110:11 111:13,21    recommendations        111:19,20 112:7
    reads 86:9 94:13           112:19 114:2          5:16,18 123:20       117:16 119:6,14
      109:17                   117:3 123:3           124:13 125:7         119:14 121:17
    ready 64:18 187:3          125:12 126:6        record 7:3,19          122:1 123:2,16
    real 66:16,16              133:10 134:5,8        46:10,12,15 65:17    124:1,15,16 125:9
      139:4                    136:14 138:5          72:19 84:10 86:3     125:10,20 127:20
    realize 100:18             139:15 151:18         94:1 111:1,2,6       133:18 138:11,19
      156:7                    155:16,19 175:9       113:16,17,18,19      139:11 148:4,5,14
    really 26:14 38:7          177:8,12,14           116:10 119:9         149:6,15 150:10
      60:13 78:5,6 81:2        187:16 192:15         191:9 192:7          151:9 152:5
      81:9 101:17,19           200:3,13 201:10       193:14,16,19         154:16 157:6,17
      102:10 134:18            201:13 208:16         218:15 219:2,21      158:21 159:2,16
      137:6 144:8,17           209:18 218:17       recorded 7:5           163:4 167:11
      145:11,13 201:8        receive 184:6           219:20 220:1         168:10 169:3
      218:9                    189:9 204:4         rector 3:6             170:5,19 171:16
    reapportionment          received 12:10        redistrict 81:9        173:12 174:15
      52:2,9                   34:8 57:21 73:15    redistricting 5:15     175:2,12 176:17
    reason 10:14 39:9          75:6 79:15 112:14     5:17,19 6:4 12:20    177:9 178:9
      102:4 108:12             117:4 121:17,20       13:1,5 15:16 17:3    179:12,14,17
      110:8 191:10             161:4 168:9 175:7     35:18 36:6,8,10,15   180:7 183:4 184:4
      200:21 201:9             185:6 190:12          36:16 39:15,16       187:17 189:12
      210:18 222:5             192:17,17 212:20      40:8,13 41:2         191:5 192:14
      223:5                                          44:11 45:9 49:17     202:10 206:7

                                      Veritext Legal Solutions
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3:21-cv-03302-MGL-TJH-RMG        Date Filed 04/29/22     Entry Number 249-1    Page 257 of
                                           271


   [redistricting - representative]                                                  Page 32

      207:18 208:15        registered 38:9,11        56:5,13 57:16,18    replaced 63:21
    reduced 224:7          regular 59:12             59:2 62:19 69:20    report 149:13
    reelection 23:2        regularly 60:7,8          70:1 76:18 77:19      179:3 191:20
    refer 47:15 48:17      reichenbach 24:1          78:12 79:12 97:17     192:6 196:4
      49:7 94:20 128:14    reichenbach's             100:8 107:3,4       reported 1:21
      140:5 156:11           24:2                    112:12 124:6,7,20     89:12
      167:2                relate 95:3 119:15        124:21 126:1        reporter 2:14 7:13
    reference 101:21       related 7:15 13:20        130:4 135:15          8:18 9:14 10:6,10
    referenced 38:5          26:18 45:17 49:10       137:20 141:4,20       11:5,9,20 12:6
      43:11,12 69:19         49:12 51:16,21          145:6 151:7,11,13     35:1 53:4,8 113:7
      78:20 80:16 81:9       55:16 56:2,21           151:14,20 153:19      113:10 135:18
      96:20 99:12 103:4      57:20 73:10 78:10       153:20 156:1          161:6,12 169:11
      139:18 141:11          91:9 92:6 97:16         157:3 158:1,16        169:13 177:20
      165:10 180:4           119:13 131:5            160:17 161:1,17       178:3 202:3,6
      185:6 188:7            138:3 169:5 186:3       165:13 169:4          224:1,3
    references 211:12        190:2 211:2 224:8       179:5,18 181:13     reporting 205:6
    referencing 39:12      relating 53:15            181:14 183:11       reports 33:13
      92:9 200:19          relative 86:11            186:19 188:1,13       34:10 70:10,14
    referred 116:6         released 89:11            189:16 192:19       represent 20:7,12
      138:18                 90:20                   195:1 200:6,6,17      33:19 63:16
    referring 29:19        relevant 55:16            201:17,19 209:9       136:19 200:20
      49:14 53:17 70:20      58:15 106:19            211:8 212:11        representation
      75:13 166:8 170:6      164:13 165:18           214:5                 124:1,14 125:8
      197:15 206:2           166:8 219:6           remembered 57:3       representative
    reflecting 140:1       relied 148:5 149:9      remembering             8:14 9:2 10:3 11:3
    reforming 28:13          176:21                  200:7 214:4           13:9 15:2,13
    refrain 9:17           religious 102:5         remote 112:19           17:15 19:7 20:11
    refresh 13:19          rely 83:21 150:13         114:3,7,19 115:5      22:11 24:4,18
      48:13 72:2 82:16       170:8 178:21            115:10 116:5,15       26:20 29:9 34:9
      124:5 211:1            182:14                  118:5                 37:4 42:19 43:6,8
    refreshes 76:5         relying 150:3           remotely 7:18           46:17 53:11 59:19
      188:11               remake 80:13            removal 26:6            62:12 63:16 72:12
    regard 29:1            remarks 72:15           remove 134:18           73:11,15,21 74:20
    regarding 12:10          73:10 163:18          removing 26:10          82:4,15 101:2
      19:4 206:8 218:6       164:4 205:8           reopen 219:6            106:20 110:17
    regardless 28:4          212:17                repeat 9:18 13:2        111:8 113:21
      31:9                 remember 12:12            21:3 40:10 113:21     124:3,18 125:11
    regards 18:6             12:15 13:17 19:3      repeatedly 122:12       126:1,14 127:15
    region 103:11            22:6,7 26:3 28:13     repetitive 23:20        138:14 144:5
      158:4 162:14           28:21 29:1,2 45:6     rephrase 97:19          152:9 153:11
      163:15 166:1           52:12 54:8,12           99:20 137:3 138:6     154:18 158:11

                                      Veritext Legal Solutions
    212-267-6868                        www.veritext.com                        516-608-2400
3:21-cv-03302-MGL-TJH-RMG      Date Filed 04/29/22    Entry Number 249-1    Page 258 of
                                         271


   [representative - room]                                                        Page 33

      160:18,19 161:1     research 76:20        review 15:5 47:10       115:4 119:1,5,7
      161:15 162:2          77:6 80:16 81:1       51:20 57:18 58:5      135:3 153:5,7
      163:21 172:6        researched 107:5        58:14 72:19,20        167:6 181:2 196:2
      185:14 188:7        reserve 74:3            73:6,21 77:4 80:3     197:16,19 204:13
      193:21 194:5        resolve 107:10          80:7 82:4 86:4        218:19 219:17
      198:1 200:10,16       108:1 146:6,7         93:20 98:18 119:9   rights 93:8 108:19
      201:11,13,20,21       157:18 215:18         119:13 120:3,5        108:21 109:9,15
      209:18 210:15         217:16                122:6,7,16 124:4      110:8 123:20
      211:2,10 213:12     resolved 151:8          124:18 125:12,21      150:11 165:10,20
      213:20 218:18         154:3,6               137:1 139:4           168:13,16 169:18
      219:8               respect 31:17 32:6      149:17 155:2,6,18     170:20 176:19
    representatives         129:17 131:15         159:17 183:10         178:13,19 202:17
      6:12 11:16 17:9       149:10 170:11         184:8 189:3           215:12
      20:6 23:9 39:21       180:18 193:8          191:16 195:19       river 95:3 96:16
      42:2 43:18 44:13      196:5                 200:11,15 204:21    rmg 1:9
      56:7 82:11 112:1    respond 112:15          206:16 208:2        road 54:3 114:11
      127:20 129:3        response 45:20          209:2,2 210:9         120:21
      136:12 137:18         46:19 48:3 210:15     213:13              rob 4:11 8:7
      146:20 152:5        responses 5:8,10      reviewed 14:16          171:21
      160:17 174:11         49:4                  15:9 34:10 70:14    robby 20:21
      186:8 205:5         responsibilities        75:16 122:16,19     robinson 4:12
    represented 11:2        65:10                 146:2 177:7         robinsongray.com
      64:19 105:10        responsibility          179:13 180:6          4:16
      126:20 134:3          66:20 132:9           184:16 192:18       roger 138:2
      158:13              responsible 12:16       200:12              roland 69:1
    representing 8:13       67:16 127:4 143:2   reviewing 92:6,7      role 20:14 67:13
    republican 20:10        198:11                123:7 124:6,20        67:15 128:13
      20:17 59:3 62:8,9   rest 60:5               125:13 126:2,6        130:2 131:9
    republicans 38:10     rested 117:2            140:13 155:12         132:21 144:6
    request 5:9 45:21     result 78:9 162:8       183:12 211:19         198:5
      46:20 47:16 48:4      176:14              reviews 75:15         roles 24:5,12
      58:2,14             resume 82:3           richland 158:13         198:7
    requested 120:14      retained 12:12,19       158:17              rolled 216:10
      127:17              retaining 12:16       rid 169:14            roman 84:5 85:21
    requests 41:12        retention 12:21       right 12:8 19:10        93:18 98:16
    required 151:9          207:8,9,18            21:12,15 28:17        100:16,19 108:16
    requirement           retired 60:1            43:18 48:5 63:2     room 6:4 7:18 9:3
      149:11 170:21       retirement 151:1        65:6 72:11 73:18      14:3,8,10 56:16
      171:4               return 222:4            75:3 77:18 84:12      66:1 67:7 68:2,4
    requires 66:4           223:4                 87:10 94:7 104:14     69:3 70:19 71:1,5
                                                  104:17 110:14         71:11 123:9,10,13

                                   Veritext Legal Solutions
    212-267-6868                     www.veritext.com                        516-608-2400
3:21-cv-03302-MGL-TJH-RMG        Date Filed 04/29/22    Entry Number 249-1    Page 259 of
                                           271


   [room - sentence]                                                                Page 34

      126:11,14,15,19        164:18,19 206:14     seat 63:21 65:7         217:2
      127:4,5,7,8,12,15      207:6                sebastian 131:2       seek 13:5 33:21
      127:16,21 128:13     says 74:21 92:16       second 14:6 20:3        34:4 39:16 78:3
      128:15 129:1           95:4 96:15 108:17      21:21 37:1 47:1       191:6
      130:3,4 131:5,7,10     140:1,5 154:3          86:8 92:16 94:12    seen 26:8 35:19
      131:11,16 132:7        166:7,19 185:13        96:21 109:17          37:11 47:9 128:5
      132:15,17,19,21        205:21                 140:19 154:2          128:6 159:18,21
      133:12,14 134:6      sc 45:1 138:12           165:7 187:18          198:20 199:7
      134:13 135:9         scenario 64:5            188:20 189:1        segregate 107:1
      136:15 137:17          100:11                 194:10 208:1        segregated 26:21
      138:5,7,11,20        schedule 60:14           213:14                27:8,13
      139:15 141:12,18       66:7 118:1           secondly 50:2         segregation 29:20
      142:2,18 147:7       schedules 54:16        section 39:20           29:21
      151:3 155:13         scheduling 50:4          40:16 95:5,16,18    selected 61:11,21
      157:14 159:11          50:16 51:6,11,14       96:10 168:15          62:17,18
      160:2 186:2,19         51:15 54:8,20          169:2,18 176:18     senate 8:8 23:11
      214:14,20 215:2        60:3 68:6 190:10     see 12:3 13:8 22:5      23:15,17 26:2
      218:1,3                191:1                  25:14 37:7,12         36:12 79:10
    rotary 42:14           school 19:17,21          43:17 47:2 48:6       117:18,21 118:5
    rough 76:6               20:1,2 130:13          52:3 55:3 56:1,14     118:10,11 121:16
    roughly 22:20          schools 26:21 27:8       56:21 63:18 65:3      206:7 219:16
    routinely 33:7           27:13                  74:21 76:7 81:3     send 74:14 156:5
    rtyson 4:16            scope 13:3 51:4          84:14 97:14         sense 39:5 55:6
    rules 9:6 199:4          55:21 56:1 178:15      107:14 111:8          66:12 73:20 74:1
    run 20:18 23:4         screen 48:13 55:5        112:21 113:3,11       89:14 91:2,3,5,6
      128:1                  55:5,8,8 58:6          113:12 119:2,12       91:17 99:14
    rural 208:6,11,17        112:21 126:16          122:6 124:4,19        100:14 101:6
              s              134:16 152:15          125:12 126:1,16       104:6,11 110:19
                             153:7 154:8            126:18,19 139:8       118:4 129:13
    s 3:1,3 4:1 5:1,5
                           screenshot 152:4         140:3,14 143:11       135:7 142:2
      6:1 7:1 222:1
                           scroll 164:2             152:7,15,20 153:2     145:14 160:2
      223:1
                             166:15 185:10          153:2 160:11          173:2 186:10
    s.c. 5:15,17,19
                             188:9                  162:8 163:21          193:10 201:8
    safe 19:13
                           se 49:8                  164:3 166:18        sent 57:19 112:10
    sarah 129:21
                           seal 224:13              167:21 171:11,12      123:15 124:15
    save 135:4,5,5
                           sean 34:15               171:12 176:10         125:9,19 165:15
      140:9
                           search 52:1,5,9          180:16 185:13,18      218:19,20
    saved 141:14
                             55:16,20 56:4,9,10     188:6,6,8 193:9     sentence 80:20
    saw 157:13 159:15
                             56:12,15               197:15 198:1          84:12 86:8 92:16
      160:11
                           season 37:12             200:10 202:21         96:20 105:9
    saying 107:3 141:5
                                                    205:14 211:12         108:17 139:6,8,21
      160:16 161:6,8
                                     Veritext Legal Solutions
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3:21-cv-03302-MGL-TJH-RMG      Date Filed 04/29/22    Entry Number 249-1   Page 260 of
                                         271


   [sentence - south]                                                            Page 35

      140:19 152:21       she'll 119:2          site 153:7 165:12    sort 17:19 22:6
      153:15 154:2        sheet 221:8           sits 26:2 96:12        24:20 43:6 61:17
      166:18 167:1,20     shifted 176:12        sitting 136:14         66:2 68:21 71:2,9
      179:11              shooting 21:11        situation 26:9         75:15 76:6,14
    sentences 84:8        short 46:13 165:13      86:20 105:3          78:20 83:9 85:2
    separate 42:19          193:17              situations 92:13       89:18 101:12
      84:18 217:20        shorthand 2:14          151:12               106:17 107:17
    september 66:8          47:15 48:17 61:1    six 135:6              108:5 112:13
      78:4 99:7 111:11      61:2 156:10 224:1   skill 128:16           114:13 128:14
      111:18 112:6        show 50:4 51:7          139:14               129:5 130:6 133:5
      120:11 125:11         99:17 102:4         slide 165:11           134:2 141:16,17
    served 20:14            113:14 134:14       slight 47:14           142:12,13 143:4,7
      43:13                 180:17 205:8        slightly 181:18        143:10 159:9
    session 29:6 54:13    showed 165:11         small 107:14           160:6 167:14
    sessions 116:16       shows 113:14            131:21 153:3         176:7 180:15
    set 48:1 49:7 59:15   shrunk 162:19           158:18 204:8         212:4
      66:7 81:21 110:16   side 87:9 107:16        208:17             sorts 34:8
      115:10 128:16         118:12,14 119:6     smaller 208:6,11     sought 11:13
      147:5 163:3         sign 134:14 189:6       209:6                189:12
      188:14 214:9        signature 221:14      smooth 159:9         sound 97:9
      216:9,11 224:12       222:21 223:21       social 44:17,18      sounded 161:8
    sets 73:7               224:19                45:13 102:15       sounds 46:10
    setting 200:2         signed 134:12           112:8                93:10 161:7
    seven 32:21 33:9        188:15,21 189:8     software 139:11      south 1:2,5,14 2:4
      180:3,8 183:1         221:8                 140:15,16            3:16 4:6,14 7:7,9
      184:16 185:2        significance          solely 129:2           11:16 13:6 16:15
    sex 28:4 40:5,19        165:19,20 166:5     solo 42:4,5            19:8 23:11 25:6,7
      62:10               signing 132:6         somebody 57:19         25:11,21 26:12,14
    shaking 9:17          similar 48:1 55:19    somewhat 79:7          27:1,2,8,17 28:2,3
    shape 181:5             56:1,4,11 62:20     soon 195:14            28:7,9,14 29:10,12
    share 46:1 48:6         87:4 116:19 161:4   sophisticated          29:13 30:1,9 31:8
      78:15 94:5 123:18   simple 52:1             45:13 142:14         32:14 35:5,21
      137:15 138:10       simply 129:6          sorry 11:5 21:3,10     37:6,15,21 38:10
      152:15 153:7        simultaneously          35:1 70:11 85:6      38:12 39:10,21
      154:8 170:5           143:13                100:17 135:18        41:18 43:9 45:1
    shared 73:12          single 85:11,16         161:6 169:11         64:20 71:18 73:12
      121:7 123:1           174:19                170:13 171:20        82:10 86:13,19
      196:15 216:6,7      sir 10:4                172:1 173:16         89:12 90:19 91:13
    sharp 83:13           sit 42:17 43:2          177:20 202:3         103:11 124:1,14
    sharpen 98:4            93:13 130:8,9         210:11               125:8 126:8,17
      218:9                 134:15 143:10                              132:2 152:5

                                   Veritext Legal Solutions
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3:21-cv-03302-MGL-TJH-RMG      Date Filed 04/29/22    Entry Number 249-1    Page 261 of
                                         271


   [south - staying]                                                              Page 36

      154:14 162:3        specifics 27:19         147:9,10 148:14       79:15 81:4 92:17
      164:12,14,20          29:2,8 68:12          149:10 156:16         92:20 95:19 98:14
      165:6 168:6           151:14                159:19 167:14         98:15 99:4 103:11
      171:15 174:11       spectrum 104:5,16       176:8 179:20          105:14 114:13
      210:2,6 222:2         166:5                 180:14 181:7          116:4 117:17
      223:2               speculate 93:2          182:14 183:17         122:12 126:7,8
    southcarolinaho...    speculating 102:3       184:5,8,13 186:17     133:8,9 143:6
      57:7                speculation 38:21       196:2 197:4 213:3     144:12 145:12
    southern 169:15         45:11 133:14          213:8 215:5           158:4 159:8
    space 68:3            speed 64:18             216:12                160:19,21 161:2
    speak 31:17 58:19     spells 95:9           stage 155:11            161:11,20 162:2,5
      59:1 66:5 81:18     spend 54:2 132:15       157:21 186:11         162:21 163:10,16
      82:4 114:11         spike 66:16             215:15                168:7,10 177:10
      115:19 129:18       spikes 4:18 7:12      stamp 73:16             180:3,9 181:1,6,8
      137:11 143:8        splits 209:7,8          138:12                182:4,17 185:16
      146:2 157:4 166:6     212:10,12           standard 76:12,13       186:1 210:3
      173:19 174:18,20    splitting 84:21         86:5 87:8,13,16       211:13,18 212:17
      189:5 198:16          209:10,12             88:6 92:19,21         213:21 216:1
      200:19 208:12       spoke 41:6 59:21        93:7 98:9 129:9       222:2 223:2
    speaker 8:16            60:4 61:18 69:21      135:6,12 206:1,8      224:21
      11:21 12:5 59:19      90:9 189:8            206:11,12,15        stated 191:20
      60:14 61:19 62:12   spoken 68:16          standing 60:7,9       statement 79:14
      75:19,20 140:21       215:10 217:4        standpoint 91:19        173:6
      144:10,11 210:14    sponsor 25:13,15        91:21 188:16        statements 37:5,7
      210:14              sponsored 25:10       star 152:21 153:2       90:2,13 93:6,9
    speaking 53:2           25:16               start 81:3 87:15        106:21 110:7
      191:4 198:13        sponsorship 25:14       127:9 132:1         states 1:1 7:9 23:9
      203:5 215:16        spot 65:7               201:19                81:4 140:20 168:6
      219:3               spread 66:18          started 133:21        statewide 62:3
    special 23:18           118:2                 154:17                64:3,21 107:18
    specific 17:7 31:19   spring 12:15          starting 97:4,5,7,7     153:1
      32:19 99:18 104:5   squarely 151:5          133:21 135:15       stations 130:5
      104:16 124:3        squeamish 79:7          141:17 150:4        statistical 38:2
      145:6 146:13        staff 50:3 55:12        207:5,5,14,16         94:14 95:13 96:5
    specifically 30:13      58:18 66:21 68:16   state 1:5 2:15 7:7    statistically 37:16
      31:18 32:7 59:13      68:18,19 69:8         7:18,21 8:10        statistics 39:11
      76:17 86:21 91:11     71:7 75:12 118:18     16:16 17:5 25:8     status 145:2 157:7
      97:17 107:4 109:3     122:8,13 127:10       26:6,11,16 35:21    stayed 18:8
      119:20 120:6          127:20 128:2          38:14 40:2 41:4     staying 36:6
      156:4 212:6           141:19,19 143:13      41:18 52:20 54:10     195:19
                            143:21 146:15         63:13,20 66:13

                                   Veritext Legal Solutions
    212-267-6868                     www.veritext.com                        516-608-2400
3:21-cv-03302-MGL-TJH-RMG        Date Filed 04/29/22   Entry Number 249-1    Page 262 of
                                           271


   [stenographically - talked]                                                    Page 37

    stenographically      submissions            sure 21:10 27:6       table 146:4 156:8
      224:6                 122:19 189:20          32:8 33:8 47:18       182:15
    step 147:16,18,19       192:18                 50:4 51:7,13        tabulation 105:11
      196:13,19           submit 120:16            53:14 59:12 60:15   take 10:17 41:9
    stepp 4:12              188:18 191:11          65:13 66:1,11         42:10 46:4 72:20
    steps 91:12 100:1     submitted 121:4,5        67:3,18,20 68:1,5     74:5,11 82:15
      149:20 190:3          122:17 145:21          68:7,9,14 71:9,15     84:6,9 86:2 91:12
    stick 215:4             179:13,16 180:5        75:18 76:15 77:8      98:18 100:1 104:7
    stop 203:2,4            181:4 184:4,6          100:18 101:1          105:1 110:12,21
    stops 41:18             212:21                 106:4 107:12,12       120:17 121:1
    storage 122:21        submitting 5:20          108:5,7 111:1         124:18 125:11,21
    stored 121:3            125:18                 118:1 127:12          127:13 138:7
      184:21              subsection 86:1          133:2,4 135:8         142:9 147:19
    straightforward         88:15 96:14            146:4 147:4           153:14 156:2
      80:10               subsequent 189:14        148:10 151:4          165:9 176:17
    strands 99:3          substance 14:2           153:9 154:10          190:11 191:16
    street 3:6,15 4:5       48:21 200:6            158:3 164:2           193:4,9,10 196:18
      4:13                subways 21:13            169:20 178:8          200:11 213:13
    strength 84:14,17     sufficient 80:7          179:1 182:19        taken 7:6 14:15
      85:4,9                105:1 155:6            192:20 193:3          29:12 46:13 111:4
    stretch 110:4         suggestions 80:4         199:8 209:4           152:4 180:15
    stroke 202:20         suite 3:15 4:5           210:19 211:9          193:17 224:6
    strokes 111:11        summarize 213:5          214:9,12,19         takes 95:18
    structure 37:17       summarizing              215:12              talk 9:7 13:12 19:5
      39:19 71:3            198:12               surgeons 168:20         20:3,4 24:17
    struggle 162:14       summary 122:10         surprise 96:3           59:12 60:20 61:9
    studied 32:17           183:3                surrounding             71:11,13 75:4
    studies 91:9          summer 12:15             175:16                84:4 111:9 118:8
    study 33:3,6          sumter 158:16          swear 8:18              136:20 137:18
      183:13              supervision 224:8      swiftly 155:8           166:12 180:2
    stuff 74:5 143:18     supplemented           switch 201:5            192:15 200:17
    sub 142:17              83:18                sworn 8:19              208:17
    subcommittee          supplementing          synthesis 99:16       talked 31:4 34:20
      17:1 24:9,10          47:19 49:3           synthesize 122:8        62:2 87:21 95:1
      28:11 61:15,17      supported 200:13         122:13                103:15 106:7
      115:2 192:2 198:9     201:13               system 159:6            111:11,17 116:20
      198:21 199:2        suppose 11:15            162:12                117:10 129:9
      203:16,19             17:2 32:5 36:9                 t             147:6 148:3
    submission 99:15        67:3 198:19                                  156:21 157:17
                                                 t 5:1,1,5 6:1 222:1
      120:4 192:8         supposed 50:5                                  158:11 163:4
                                                   222:1 223:1,1
                            51:7,8                                       177:7 178:5,6

                                    Veritext Legal Solutions
    212-267-6868                      www.veritext.com                        516-608-2400
3:21-cv-03302-MGL-TJH-RMG       Date Filed 04/29/22    Entry Number 249-1    Page 263 of
                                          271


   [talked - think]                                                                Page 38

      196:10 204:15         129:4 139:12           57:19 63:1 78:10      51:2,6,13 52:2
      206:3 207:4           185:17 201:7           79:15 90:2 91:4,8     54:17 56:14 60:3
      208:15 209:1          202:19 203:16,19       91:10 99:6,20         60:19 62:15 65:20
      212:20 213:8        telling 129:17           112:19 114:3,7,19     67:15 75:14 77:5
      214:10,13 217:21    temple 42:15             115:5,15 119:9        78:14 81:14 88:9
    talking 10:5 31:18    ten 38:6 41:17           120:13,16 121:2       91:1 97:16 99:2
      55:4,18 61:3          81:2,10,12 88:12       121:13,21 131:21      105:21 112:15
      101:10 111:21         88:16,19 92:3,8,10     132:18 151:12         116:2 137:12
      114:1 146:9           92:12,18 134:1         155:16 182:16         163:1 164:17
      156:16 159:1,2      tend 25:14 34:5          185:7,7 186:15        165:17 169:21
      173:9 199:13,14       38:14 39:1,3           189:17,20 221:5,7     181:16 182:7,14
      200:10 207:3,9      tends 51:8 78:12       testing 182:11          183:9 203:3
      209:10 212:17       tension 108:3          text 54:5,6 56:1,6      204:17 218:7
      213:18              term 16:2 20:15          56:13,20 218:10       219:16
    talks 45:14             22:1 26:5 33:10        218:17              think 12:8 14:20
    target 15:20            33:12 35:6 36:7      textbook 38:18          16:2 21:14 27:2,4
      115:16,19             36:14 38:17 39:4     texting 56:21           27:4 28:16 32:3
    task 189:9              61:14 170:12         texts 56:5 57:1         33:5 35:11 38:1,6
    tasks 50:17             172:15 177:17        thank 8:17 46:11        39:13 42:9 44:18
    technical 24:10       terms 20:14 21:20        53:8 74:17 94:9       45:6,16 46:1 48:9
      50:14 67:21 114:9     32:21 33:9 36:17       94:10 161:12          48:12 50:14 53:1
      128:15,20 129:2       40:12 52:1,8,9         169:13 172:2          54:1 56:18,18
      130:6 136:6           55:20 56:9,10,12       178:3 185:17          57:3 59:1,12,14
      139:14 153:17         104:1,11 181:9         202:6 219:8           60:21 62:21 63:5
    technically 11:17       199:1 214:18         thanks 11:9             63:11 64:12 65:17
      45:12 79:21 102:7   terry 138:2            that'd 66:5 139:12      69:4 70:3 74:1
      142:14 198:8        test 108:6               193:12                75:3 76:16,18
    technician 134:15     testified 17:10        themes 122:9            77:13,16 78:21
    technicians 71:5        18:3,3,5 19:2,3      theory 150:7            80:6,6,9,14,19
    technological           36:1 62:11 90:4        187:6 192:10          82:7 83:11 85:21
      115:9                 103:12 155:10        thing 10:18 55:6        90:15 91:19 94:3
    technology 116:1        187:16 206:4           61:3 88:10 91:11      95:4,9,15 97:3
      116:19                209:5                  93:11 95:6 101:12     99:1 102:10
    telephone 3:8,17      testifies 8:20           110:11 117:8          103:10,21 104:4
      4:7,15              testify 36:1 114:4       122:12 129:5          104:14,15,17,20
    telephonically          174:2 191:8            134:18 141:6,19       106:2,10 109:10
      2:13                testifying 9:9,9         141:20 143:16         109:14 110:12,18
    tell 17:7 31:19         36:19 209:11           208:14 209:10         110:20 112:10,13
      32:20 72:6 78:7     testimonies 214:16     things 12:3 14:21       114:19 115:16,19
      93:3,4,10 110:3     testimony 17:11          24:21 25:1 29:17      116:9,21 117:1,6
      123:6 126:13          28:8 29:1 41:4,11      37:13 40:19 50:4      118:14 120:15

                                    Veritext Legal Solutions
    212-267-6868                      www.veritext.com                        516-608-2400
3:21-cv-03302-MGL-TJH-RMG        Date Filed 04/29/22    Entry Number 249-1     Page 264 of
                                           271


   [think - transitioned]                                                           Page 39

      121:9,11 122:10       thread 217:21            155:6,18 156:6      top 30:12 52:12
      123:11 128:4          three 14:9 21:9,15       157:12 160:5,20       108:17 146:12
      131:12 132:3            42:9 63:13 69:4        162:1 165:13          151:13 152:1
      136:5 137:20            81:8,20 82:6 84:8      176:12 187:19         165:5 176:7
      139:6 141:12,18         124:11 130:5           188:1 189:3         topic 90:16 91:16
      143:4 144:7,11          132:5 214:11           190:14 193:3,6      total 86:4 87:8,10
      145:7,11 147:21       threshold 174:16         199:17 204:7          88:16 89:12 92:8
      149:1 150:1,2,3       tier 141:11 142:1,5      206:19 208:5          92:18,21 135:12
      155:9,21 156:3          143:17 147:7,7,11      212:7 215:3           139:12 206:6,8,10
      157:3 159:12            148:12 151:16       timeliness 64:2        totally 46:8
      160:21 163:9            155:10 186:13       timely 89:5            touches 158:16
      164:16 167:5,12         196:11,11 202:13    times 25:4 32:17       tough 55:2 108:9
      169:10 171:20           214:14,18,20           33:12 36:4 54:8     tour 64:3 115:18
      172:10 173:20           215:2 216:6,16,20      66:15 69:1 77:19      117:19 151:3
      175:15 177:3          tiered 133:5             79:7 90:8 105:6     tradition 35:6,10
      179:6,21 180:12         136:21 158:1           108:2 115:6,7         35:14,16
      184:12 185:4            162:12                 132:5,15 134:4      traditional 197:1
      187:16,20 189:8       tiers 196:10             142:9 144:15          197:2
      191:7 192:18            214:10,13              206:3               traditions 35:7,9
      193:2 198:20          time 7:21 10:17       title 50:14 128:18       35:17 36:3
      199:6,6,10,13,18        12:1 14:5,6 17:9    titled 45:19 46:18     tragedy 26:13,18
      201:18 202:1            17:16,20 19:3          71:18 84:6 93:19    train 161:19
      203:10,11 204:19        23:13 24:13 25:13      124:13 125:7        transcribed 205:5
      206:15 207:3,3,13       26:14 29:19 30:5       152:3               transcribing 9:14
      208:9,21 212:19         33:5 34:3,9 41:17   titles 131:12 198:7    transcript 5:6 6:2
      218:13,14               42:11 44:3 46:4     tjh 1:9                  6:7,8,10 15:5,6
    thinking 42:21            54:2 60:17,19       today 7:13 8:8           47:6 48:11 71:20
      43:1 160:18             61:14 62:20 64:6       10:6,15 11:2          72:5 82:21 124:9
      207:20                  64:14 65:21 67:5       13:10 14:17 30:12     125:2,16 126:5
    third 21:21 48:5          67:6,8,12 68:4         31:5 42:1 72:19       138:17 152:13
      58:19 84:12 86:7        72:20 73:2,19          75:4 92:11 99:2       154:13,15,21
      125:4                   74:12 79:19,20         190:5 206:4           194:2,9 197:20,20
    thomas 1:9 7:8            80:7,13 81:16          214:14                198:4 205:12
      34:18 70:2 128:6        87:21 93:11 103:8   today's 9:5 13:13        211:19 212:1,8
      130:5 134:16            105:3 106:18           14:12 15:10 17:14     224:5
      142:13 222:3            110:18 112:5,14        219:19              transcription
      223:3                   115:6 117:19        told 41:10               205:4 221:6
    thoroughly 101:19         120:18 126:18       tom 71:1               transcripts 73:8
    thought 78:8 79:6         130:8 132:3,4,15    ton 132:19               122:1
      93:4 114:8 192:10       134:14 140:17       tool 114:20            transitioned 65:21
                              141:21 147:1,20                              196:4

                                     Veritext Legal Solutions
    212-267-6868                       www.veritext.com                         516-608-2400
3:21-cv-03302-MGL-TJH-RMG        Date Filed 04/29/22    Entry Number 249-1   Page 265 of
                                           271


   [translates - usually]                                                         Page 40

    translates 45:13          167:19 197:18       unable 10:14         unintentional
    translating 87:1          205:7                117:5                 85:18
    transmitted             turnout 101:14,18     unavoidable 105:6    unintentionally
      196:19 204:12         twitter 44:18         unconstitutionally     85:19
    transparency            two 11:19 12:9         109:18              unit 7:4 46:15
      123:21 124:13           20:19 22:6 24:14    undercount 90:3,6      111:6 193:19
      125:7                   42:9 48:14 49:21     90:19 91:5,9,13     united 1:1 7:8 23:8
    travel 190:19             52:11 56:13 63:13   underlying 15:15       81:4 168:5
      191:3                   81:7,8 86:12 87:1    16:8 86:17 104:21   unnecessarily
    tree 78:11                87:9,10 100:12       105:21 106:2          73:2
    tremendous 26:13          111:13 113:15       understand 9:12      unopposed 21:17
    trende 34:15              128:3 132:4          9:18 10:12,15       unrolled 187:21
    trial 18:19 19:4          142:13,17 143:4,9    15:17,20 25:11,20   unsophisticated
    tried 13:19 56:5          150:5 156:8 159:7    37:14 39:4 55:21      128:17
      118:1                   159:11 160:15        61:2 68:15 90:13    unsuccessfully
    true 59:19 221:6          176:13 187:20        92:19 108:20          23:8,10
    trust 18:4,5,6,8,10       188:14 190:10,21     126:11 171:18       unusual 203:13
      212:1                   191:1,12 192:11      172:18 173:21       update 157:8
    trusting 212:8            193:4,13 200:5       176:18 207:7        updated 44:4
    truthfully 9:10           213:6 214:11         214:10              updates 159:3
    try 9:16 12:3 31:6      twofold 109:2         understanding        upheld 87:16
      32:12 45:18 63:9      type 53:1 59:4         12:1 15:14,21       upload 45:18
      85:12 114:10            92:13 104:13         16:11 18:16 30:4      73:20 74:4,14
      134:21 147:4            159:20 161:4         30:8 38:4,13          82:3,7
    trying 50:13 54:14        192:17               70:16 99:6 128:21   uploaded 46:6
      63:5,18 65:13         types 15:17 50:17      145:9 161:14          71:16 73:4 123:17
      66:1,10,11,13 71:8      78:13                164:4 168:15          153:18 185:7
      86:18 89:3 102:18     typewriting 224:7      169:2,17 170:4,20   uploading 73:18
      106:2,3 136:9         typically 166:12       171:2,6,19 172:6    upstate 96:16
      144:20 155:7            199:3 203:14,17      173:13 174:20       use 45:8 49:20
      157:18 158:20           203:20               175:18 178:12         51:3 52:16,18
      177:1 214:4           tyson 4:11 8:7,7       195:18 218:16         54:18 61:2 73:2
    tsg 205:5                 9:19 94:3,8,10      understatement         88:6,20 91:18
    tune 142:12               172:1                77:10                 112:12 115:5
    tuning 143:14                     u           understood 10:2        150:2 156:10
      145:14                                       11:6                  207:14
                            u.s. 123:19
    turn 12:3 15:12                               undertake 149:20     useful 114:20
                            ultimately 17:21
      25:8 26:17 72:15                            unfortunately        usually 114:10
                              66:2,4 87:20
      75:3 98:16 100:16                            72:8 107:12           128:12
                              88:12 93:15
      139:1 151:16                                unhappy 160:16
                              108:12 116:10,21
      154:12 155:9                                 161:18
                              162:13 217:13,14
                                     Veritext Legal Solutions
    212-267-6868                       www.veritext.com                       516-608-2400
3:21-cv-03302-MGL-TJH-RMG       Date Filed 04/29/22    Entry Number 249-1    Page 266 of
                                          271


   [v - week]                                                                     Page 41

              v           view 113:8 171:17       150:11 164:12,15      193:2,2,5,9 197:14
    v 1:8 222:3 223:3     viewpoint 40:21         164:21 165:4,7        210:19 217:10,11
    varies 35:11          vii 98:16               168:13,16 169:18     wanting 190:13
    variety 99:2 187:5    viii 100:17             170:20 173:14        watching 62:15
    various 13:20         visible 152:8           174:19 176:18        water 46:9 96:16
      14:20 16:21 28:10   visit 132:16            177:16,18,21         way 11:21 32:3
      28:11 43:14 193:7   vital 68:7              178:6,10,13,19        38:7,19 68:6
    vary 180:11           voice 189:3 208:12      202:17 215:11         77:18 81:5 84:18
    vehicle 112:13          209:15,16                     w             88:18 89:9,17,18
    venue 119:2           voiced 27:12 28:6                             102:10 104:7
                                                 waiting 60:16
    venues 66:13          voices 34:5 40:4                              106:4 109:19
                                                 walk 134:9
    verbiage 167:6        volunteer 65:6                                117:8,8 136:4
                                                 wallace 1:13 2:2
    verify 51:9 91:14     vote 25:15 26:10                              141:4 144:18
                                                  5:2,7 6:3 7:5 8:19
    veritext 7:12,14        38:14 39:1,3                                157:13 168:3
                                                  45:20 46:19 48:3
      46:5 72:2 123:17      86:18 93:14,15                              181:5 188:4 191:7
                                                  220:1 221:4
    version 135:4           101:11,11 102:2,6                           192:8 199:9 207:6
                                                 wallacejordan2
      136:6 181:16          105:1 106:3 165:2                           214:18 215:4
                                                  50:7
      184:1,14              206:1,13                                   ways 96:1,5
                                                 want 13:12 15:12
    versions 137:14       voted 25:19 26:3,7                            128:10 134:3
                                                  19:5 20:4 25:7
      162:21                33:8 202:10                                 160:12 181:13
                                                  28:2 46:6,8 68:15
    versus 7:8 30:1         216:17                                     we've 27:4 57:4
                                                  68:18 71:13 72:15
      93:17 181:1         voters 38:10,11                               60:20 68:16 99:12
                                                  72:20 73:2,2,18
      183:14 206:14         39:1,2 173:3,9,15                           103:9 147:6 148:3
                                                  78:7 81:7 84:4
    vi 93:18                174:4 175:4                                 156:21 193:12
                                                  93:18 104:20
    viable 88:2,20          177:10,13 181:4,9                           196:10 204:15,17
                                                  108:7 110:15
      89:6,7 207:15         182:2,3,12 183:7                            214:10,21 215:10
                                                  111:9 118:21
      213:21                210:6 211:7,21                              216:6,10 217:4
                                                  126:10 135:4,8
    video 3:3,12 4:3        214:1                                       218:21
                                                  139:3 140:9 141:5
      7:3,5 46:15 111:6   votes 204:12                                 weaken 205:21
                                                  141:5 153:14
      113:2,6,12 154:13   voting 29:15 30:10                           weakened 206:12
                                                  154:9 163:20
      193:19 194:2          32:1,3 33:14 34:1                           206:15
                                                  164:2 166:14
      197:20 219:20,20      38:16 39:10,17                             wearing 150:21
                                                  167:19 169:20
      220:1                 40:8,12 41:1,12                            web 43:21
                                                  174:1 179:6
    videoconference         84:14,17,19 85:4,9                         website 6:6 67:20
                                                  190:19 200:11
      1:13 2:1              85:13 90:10 93:8                            72:1 79:1 112:10
                                                  205:20 206:16
    videographer 4:18       101:2,7,8,12 102:1                          121:12 154:16
                                                  209:2 210:21
      7:2,13 8:17 10:7      102:6,8,8,13,14,14                         wednesday 1:15
                                                  211:9 214:12
      46:12,14 111:2,5      102:20 105:11                               7:3
                                                 wanted 83:13
      113:17,19 193:16      108:19,21 109:8                            week 13:18 35:15
                                                  110:3 154:11
      193:18 219:19         109:15 110:8                                63:13 75:6 79:16
                                                  165:21 186:20
                            123:20 140:14                               79:18 80:6 141:13
                                                  187:1,3 188:18
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3:21-cv-03302-MGL-TJH-RMG     Date Filed 04/29/22    Entry Number 249-1   Page 267 of
                                        271


   [week - zoom]                                                               Page 42

     191:9                169:12,14 172:10       219:1
    weeks 13:19 52:6      176:2,21 178:2       works 10:21 59:11
    weigh 67:10 76:7      181:12 182:6           92:3 156:11
     78:13 156:5          189:16 202:5           193:11
     195:17 199:11        215:21 217:9         workstation 52:20
     216:9                224:12               worldwide 205:6
    weight 105:13,19     women 181:4           worried 32:8
    weird 113:5           210:5 211:7,21       worries 172:3
    welcome 66:19        wondering 47:8        writing 120:19
    wells 3:13 8:12       126:13               written 57:19
     73:21 74:15 94:8    woodard 34:13           58:11 117:3
    went 9:3 18:2,12     word 39:13 40:14        120:13,16 121:2,7
     18:14 46:17 57:12    65:6 88:20             121:13,17,20
     69:20 77:17         words 81:8,8            122:2 184:15,21
     117:13 118:9        work 10:3 16:20         185:6,7 218:11
     119:1 183:17         17:5 35:5 41:1       wrong 129:20
     186:1                42:1 45:9 49:17        170:13 214:13
    whatever's 93:21      49:19 51:4 52:13               x
    whatnot 66:17         54:16 58:17 63:9
                                               x 5:5 6:1
    wheel 80:13           73:19 92:3,4
    wheeler 200:10,16     93:17 107:6                    y
     200:17               129:16 137:15        yeah 46:7 48:12
    whereof 224:12        142:10 145:7           74:13 107:15
    white 38:13 39:2      152:16 153:11          110:20
    wholesale 202:20      160:11 184:17        year 23:2,10 81:2
    wife 63:4             185:17,20 186:10       81:10,12
    williamson 129:21     188:15 217:10,16     years 18:18 19:4
    wilson 22:5,10        218:7                  19:15 28:8,20
    winds 26:18          worked 66:2 77:7        32:7,21 33:9 38:6
    wise 107:17           80:16 92:3 98:12       42:6,9 134:1
     172:20               146:10 159:12        yep 14:16 128:3
    wish 57:17 108:11     167:5 217:6,9          194:10 196:6
    withdraw 63:4        working 6:6 54:15       202:8
    withdrew 63:1         132:3 141:16         yesterday 21:11
    witness 8:18 11:8     142:6 143:1,20         152:4 219:1
     25:13 31:14 35:2     145:1,12,19 147:8    york 3:7,7 63:19
     85:6,11 91:1 98:2    147:10,15 148:12               z
     109:2 110:1 113:3    151:17 152:3         zoom 7:11 152:6
     119:17 135:20        164:8,9 167:21         152:11
     148:18 149:9         168:5 196:8 215:6
     152:17 161:10        215:7 216:5,13

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3:21-cv-03302-MGL-TJH-RMG    Date Filed 04/29/22   Entry Number 249-1   Page 268 of
                                       271



                            Maryland Rules of Procedure

                      Title 2, Chapter 400, Rule 2-415



          (D) Signature and Changes

          Unless changes and signing are waived by the

          deponent and the parties, the officer shall submit

          the transcript to the deponent, accompanied by a

          notice in substantially the following form:

          [Caption of case], NOTICE TO [name of deponent].

          The enclosed transcript of your deposition in the

          above-captioned case is submitted to you on [date

          of submission of the transcript to the deponent]

          for your signature and any corrections or other

          changes you wish to make. All corrections and other

          changes will become part of your sworn testimony.

          After you have read the transcript, sign it and, if

          you are making changes, attach to the transcript a

          separate correction sheet stating the changes and

          the reason why each change is being made. Return

          the signed transcript and any correction sheet to

          [name and address of officer before whom the

          deposition was taken] no later than 30 days after

          the date stated above. If you fail to return the

          signed transcript and any correction sheet within

          the time allowed, the transcript may be used
3:21-cv-03302-MGL-TJH-RMG   Date Filed 04/29/22   Entry Number 249-1   Page 269 of
                                      271



          As if signed by you. See Rules 2-415 and 2-501 of

          the Maryland Rules of Procedure.



          Within 30 days after the date the officer mails or

          otherwise submits the transcript to the

          Deponent, the deponent shall (1) sign the

          transcript and (2) note any changes to the form or

          substance of the testimony in the transcript on a

          separate correction sheet, stating the reason why

          each change is being made. The officer promptly

          shall serve a copy of the correction sheet on the

          parties and attach the correction sheet to the

          transcript. The changes contained on the correction

          sheet become part of the transcript. If the

          deponent does not timely sign the transcript, the

          officer shall sign the transcript, certifying the

          date that the transcript was submitted to the

          deponent with the notice required by this section

          and that the transcript was not signed and returned

          within the time allowed. The transcript may then be

          used as if signed by the deponent, unless the court

          finds, on a motion to suppress under section (i)

          (j) of this Rule, that the reason for the failure

          to sign requires rejection of all or part of the

          transcript.
3:21-cv-03302-MGL-TJH-RMG    Date Filed 04/29/22   Entry Number 249-1   Page 270 of
                                       271



          (I) Further Deposition Upon Substantive Changes to

          Transcript

          If a correction sheet contains substantive changes,

          any party may serve notice of a further deposition

          of the deponent limited to the subject matter of

          the substantive changes made by the deponent unless

          the court, on motion of a party pursuant to

          Rule 2-403, enters a protective order precluding

          the further deposition.




          DISCLAIMER:       THE FOREGOING CIVIL PROCEDURE RULES

          ARE PROVIDED FOR INFORMATIONAL PURPOSES ONLY.

          THE ABOVE RULES ARE CURRENT AS OF APRIL 1,

          2019.   PLEASE REFER TO THE APPLICABLE STATE RULES

          OF CIVIL PROCEDURE FOR UP-TO-DATE INFORMATION.
3:21-cv-03302-MGL-TJH-RMG   Date Filed 04/29/22   Entry Number 249-1   Page 271 of
                                      271

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          COMPANY CERTIFICATE AND DISCLOSURE STATEMENT

     Veritext Legal Solutions represents that the
     foregoing transcript is a true, correct and complete
     transcript of the colloquies, questions and answers
     as submitted by the court reporter. Veritext Legal
     Solutions further represents that the attached
     exhibits, if any, are true, correct and complete
     documents as submitted by the court reporter and/or
     attorneys in relation to this deposition and that
     the documents were processed in accordance with
     our litigation support and production standards.

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